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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF OHIO
                          EASTERN DIVISION

ROLAND T. DAVIS,                 :
                                 :
          Petitioner,            : Case No. 2:10-cv-107
                                 :
                 v.                Judge Sargus
                                 :
DAVID BOBBY, WARDEN              : Magistrate Judge King
                                 :
          Respondent.            : DEATH PENALTY CASE
                                 :
__________________________________________________________________

                 ROLAND T. DAVIS’ PETITION FOR
      WRIT OF HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2254
__________________________________________________________________

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                                      PREFACE

       Petitioner Roland Davis uses the following abbreviations to reference the

 state-court proceedings:

     Transcript of trial proceedings: (Tr. at ____.);

     Transcript of sentencing proceedings: (Sent. Hr’g Tr. at _____ (July 15,

       2005).);

     Transcript of other proceedings: e.g., ([Type] Hr’g Tr. at ____ ([Date of

       hearing]).);

     Trial motions: (Motion No. x, [Title of Motion].);

     Trial court entries: (Entry No. __, filed _____.);

     Trial exhibits: ([Def.’s or State’s] Ex. ___ [, at ____].);

     Exhibits submitted with the state-court post conviction petition: (Post

       Conviction Pet., Ex. ____.);

    and

     Exhibits submitted with the state-court motion for new trial: (Mot. for New

       Trial, Ex. _______.).




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       PETITION FOR WRIT OF HABEAS CORPUS––28 U.S.C. § 2254

 1.    Comes now Roland T. Davis, pursuant to Article I, § 9 and Article III, of the

 United States Constitution, as well as the Fourth, Fifth, Sixth, Eighth and

 Fourteenth Amendments, 28 U.S.C. § 2241 et seq. (including 28 U.S.C. § 2254),

 and 18 U.S.C. § 3006A and all other applicable law, and respectfully moves this

 Court for a Writ of Habeas Corpus declaring unconstitutional and invalid his

 convictions for Aggravated Murder and sentence of death, imposed by the Court of

 Common Pleas, Licking County, Ohio on July 15, 2005, and order a new trial.

 Davis further requests that he be granted leave to engage in Discovery pursuant to

 Fed. R. Civ. P. 26, et seq. and Rule 6 of the Rules Governing Section 2254 Cases.

 Davis further states that this is his first Petition for Writ of Habeas Corpus and it is

 being filed in compliance with 28 U.S.C. § 2244(d). While Davis’ conviction and

 sentence became final on direct appeal on October 10, 2008, his “properly filed

 petition for State post conviction . . . review” did not become final until June 17,

 2009, when the Supreme Court of Ohio overruled his Memorandum in Support of

 Jurisdiction. 28 U.S.C. § 2244 (d)(1)(A) and (d)(2).

 2.    Should Davis discover additional facts or claims not stated in this Petition,

 he will necessarily seek leave of court to amend this Petition.




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                                     JURISDICTION

 3.    Roland Davis invokes the jurisdiction of this Court under 28 U.S.C. § 2241,

 et seq., including 28 U.S.C. § 2254. Roland Davis, Inmate No. 499211, is being

 restrained of his liberty by Warden David Bobby and the Ohio Department of

 Rehabilitation and Correction at the Ohio State Penitentiary, 878 Coitsville-

 Hubbard Road, Youngstown, OH 44505, on death row. Davis has been under such

 restraint since his transfer to the Ohio Department of Rehabilitation and Correction

 in 2005, following his conviction and sentence.

 4.    Roland Davis petitions this Honorable Court to be relieved of his

 convictions and sentences imposed on July 15, 2005 because said convictions and

 sentences violate the United States Constitution, including the Fourth, Fifth, Sixth,

 Eighth, and Fourteenth Amendments, as well as the various international treaty

 obligations of the United States.




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                             PROCEDURAL BACKGROUND

       A.      Charges, Convictions, and Sentences

 5.         Roland Davis was indicted for one count of aggravated murder, Ohio Rev.

 Code § 2903.01 for the death of Elizabeth Sheeler. He was also charged with four

 specifications of statutory aggravating circumstances, pursuant to Ohio Rev. Code

 § 2929.04(A). In addition, he was indicted on the lesser offense of murder, Ohio

 Rev. Code § 2903.02, one count of kidnapping, Ohio Rev. Code § 2905.01, one

 count of aggravated robbery, Ohio Rev. Code § 2901.01, and one count of

 aggravated burglary, Ohio Rev. Code § 2901.11, all arising out of this single

 incident.

 6.         Davis’ jury trial began with voir dire on June 27, 2005, in front of Judge

 Thomas Marcelain of the Common Pleas Court of Licking County, Ohio.

 7.         The jury returned guilty verdicts on the evening of July 7, 2005.

 8.         The penalty phase began on Monday July 11, 2005.

 9.         The jury returned a death verdict on July 12, 2005.

 10.        The court subsequently sentenced Davis on July 15, 2005.            Davis was

 sentenced to death on Count One Aggravated Murder, ten years each to be served

 consecutively on each count of Aggravated Robbery, Aggravated Burglary, and

 Kidnapping.




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       B.      Counsel

 11.        The trial court appointed Kirk McVay of Columbus, Ohio and Andrew

 Sanderson of Newark, Ohio to represent Davis at trial.

 12.        The trial court appointed David C. Stebbins and Carol A. Wright of

 Columbus, Ohio, to represent Davis on his sole appeal of right to the Supreme

 Court of Ohio.

 13.        The trial court appointed the Office of the Ohio Public Defender to represent

 Davis on his Petition for Post Conviction Relief pursuant to Ohio Rev. Code

 § 2953.21 et seq., and the appeals therefrom. Davis was represented by Joseph

 Wilhelm and Kenneth Lee of the Office of the Ohio Public Defender on his post

 conviction petition and the appeals therefrom.

 14.        Davis was represented by Joseph Wilhelm and Kenneth Lee on his

 Application to Reopen his direct appeal pursuant to Ohio R. App. P. 26(B) and

 Ohio Sup. Ct. R. Prac., Rule XI, § 6.

 15.        Davis was represented by Joseph Wilhelm and later by Ruth Tkacz of the

 Office of the Ohio Public Defender on his Motion for Leave to File a Motion for

 New Trial and the appeals from the denial of the Motion.

               1.    Direct Appeal—Supreme Court of Ohio
 16.        Following imposition of a sentence of death, Roland Davis filed his Notice

 of Appeal to the Supreme Court of Ohio on September 6, 2005 along with a


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 Motion for Leave to File a Delayed Appeal. On September 27, 2005, the Supreme

 Court of Ohio granted Davis’ Motion for Leave to File a Delayed Appeal.

 17.   Davis raised the following issues on appeal in the Supreme Court of Ohio:

             PROPOSITION OF LAW NO. I
             ROLAND DAVIS WAS ENTITLED TO A TRIAL BY
             A FAIR AND IMPARTIAL JURY FREE FROM BIAS
             OR PRECONCEIVED OPINIONS ABOUT GUILT OR
             PUNISHMENT UNDER ART. I, §§ 2, 9, 10 AND 16
             OF THE OHIO CONSTITUTION AND THE FIFTH,
             SIXTH, EIGHTH AND FOURTEENTH
             AMENDMENTS. THE JURY SELECTION PROCESS
             HERE DENIED DAVIS AN OPPORTUNITY TO
             INSURE THAT A FAIR AND IMPARTIAL JURY
             WAS SEATED.

             PROPOSITION OF LAW NO. II
             THE ADMISSION OF STATE’S EXHIBITS 12A.1
             AND 12A.2, WITHOUT IDENTIFICATION OR
             AUTHENTICATION VIOLATED ROLAND DAVIS’
             CONSTITUTIONAL RIGHTS TO DUE PROCESS, A
             FAIR TRIAL, AND THE RIGHT TO THE EFFECTIVE
             ASSISTANCE OF COUNSEL, AS GUARANTEED BY
             THE FEDERAL AND STATE CONSTITUTIONS.

             PROPOSITION OF LAW NO. III
             THE ADMISSION OF TAPE RECORDINGS AS
             EVIDENCE WITHOUT FIRST PRESENTING AND
             AUTHENTICATING THE TAPE RECORDING IN
             OPEN COURT IN THE PRESENCE OF THE
             DEFENDANT DENIED DAVIS HIS
             CONSTITUTIONAL RIGHT TO BE PRESENT AT A
             CRITICAL STAGE OF THE TRIAL AND TO A
             TRIAL IN OPEN COURT IN VIOLATION TO THE
             FIFTH, SIXTH, EIGHTH, AND FOURTEENTH
             AMENDMENTS AND ARTICLE I, § 2, 9, 10 AND 16

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             OF THE OHIO CONSTITUTION. ADDITIONALLY
             THE ADMISSION OF A TRANSCRIPT OF THESE
             UNIDENTIFIED TAPES THAT WERE NEVER
             PLAYED IN THE COURTROOM VIOLATED DAVIS
             RIGHTS TO DUE PROCESS, A FAIR TRIAL, THE
             EFFECTIVE ASSISTANCE OF COUNSEL AND A
             RELIABLE SENTENCING DETERMINATION.

             PROPOSITION OF LAW NO. IV
             THE CUMULATIVE AND GRUESOME
             PHOTOGRAPHS ADMITTED AT TRIAL DEPRIVED
             ROLAND DAVIS OF DUE PROCESS, A FAIR TRIAL,
             AND A FAIR AND RELIABLE SENTENCING
             DETERMINATION IN VIOLATION OF THE FIFTH,
             SIXTH, EIGHTH, AND FOURTEENTH
             AMENDMENTS AND ARTICLE I, SECTIONS 2, 9, 10
             AND 16 OF THE OHIO CONSTITUTION.

             PROPOSITION OF LAW NO. V
             UNQUALIFIED OPINION TESTIMONY
             CONCERNING THE TRUTHFULNESS OF A
             WITNESS OF A DECLARANT USURPS THE
             FUNCTION OF THE JURY AND DENIED DAVIS
             DUE PROCESS, A FAIR TRIAL THE RIGHT OF
             CONFRONTATION, AND THE EFFECTIVE
             ASSISTANCE OF COUNSEL.

             PROPOSITION OF LAW NO. VI

             BEFORE PRESENTING “EXPERT” TESTIMONY,
             THE STATE MUST ESTABLISH THE SCIENTIFIC
             OR OTHER BASIS FOR THE TESTIMONY AND
             ESTABLISH THAT THE “EXPERT” HAS THE
             QUALIFICATIONS AND TRAINING TO RENDER
             AN OPINION. DAUBERT v. MERRILL DOW
             PHARMACEUTICALS, INC. 509 U.S. 579 (1993).
             THE PRESENTATION OF “EXPERT” TESTIMONY
             WITHOUT FIRST ESTABLISHING EITHER THE
             SCIENTIFIC BASIS OR THE QUALIFICATIONS OF

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             THE “EXPERT” DEPRIVED DAVIS OF DUE
             PROCESS AND A FAIR TRIAL.

             PROPOSITION OF LAW NO. VII
             REPORTS PREPARED BY AN EXPERT WITNESS
             AND RELIED ON BY THAT WITNESS DURING
             HER TESTIMONY AND SUBJECT TO CROSS
             EXAMINATION ARE ADMISSIBLE AS EXHIBITS
             WHEN REQUESTED BY THE PARTY OPPONENT.
             THE TRIAL COURT’S EXCLUSION OF SUCH
             REPORTS OF THE STATE’S DNA EXPERT DENIED
             ROLAND DAVIS HIS RIGHT TO A FAIR TRIAL,
             DUE PROCESS AND A RELIABLE SENTENCING
             DETERMINATION IN VIOLATION OF THE FIFTH,
             SIXTH, EIGHTH AND FOURTEENTH
             AMENDMENTS AND ARTICLE I §§ 2, 9, 10 AND 16
             OF THE OHIO CONSTITUTION.

             PROPOSITION OF LAW NO. VIII
             ROLAND DAVIS WAS DEPRIVED OF A FAIR AND
             RELIABLE DETERMINATION OF HIS GUILT OF
             INNOCENCE IN VIOLATION OF HIS RIGHTS
             UNDER THE FIFTH, SIXTH, EIGHTH AND
             FOURTEENTH AMENDMENTS AND SECTIONS 2,
             9, 10 AND 16, ARTICLE I OF THE OHIO
             CONSTITUTION, BY THE TRIAL COURT’S
             ERRONEOUS JURY INSTRUCTIONS AT THE
             PENALTY PHASE.

             PROPOSITION OF LAW NO. IX
             DAVIS WAS DENIED HIS RIGHT TO A FAIR
             TRIAL, DUE PROCESS OF LAW AND A FAIR AND
             RELIABLE SENTENCING DETERMINATION
             BECAUSE THE STATE OFFERED INSUFFICIENT
             EVIDENCE TO SUPPORT A CONVICTION ON THE
             AGGRAVATING CIRCUMSTANCE OF
             KIDNAPPING OR THE CHARGE OF KIDNAPPING.


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             PROPOSITION OF LAW NO. X
             THE FAILURE TO MERGE THE KIDNAPPING AND
             AGGRAVATED ROBBERY SPECIFICATIONS OF
             STATUTORY AGGRAVATING CIRCUMSTANCES
             RESULTED IN THE JURY WEIGHING
             DUPLICATIVE AND CUMULATIVE
             AGGRAVATING CIRCUMSTANCES THEREBY
             DENYING DAVIS DUE PROCESS AND A FAIR AND
             RELIABLE SENTENCING PHASE AS
             GUARANTEED BY THE FIFTH, SIXTH, EIGHTH
             AND FOURTEENTH AMENDMENTS TO THE
             UNITED STATES CONSTITUTION AND ARTICLE I,
             §§ 2, 9, 10 AND 16 OF THE OHIO CONSTITUTION.

             PROPOSITION OF LAW NO. XI
             JURY INSTRUCTIONS AT THE PENALTY PHASE
             MUST CONVEY TO THE JURY ADEQUATE
             INFORMATION TO PROPERLY GUIDE THE JURY’S
             EXERCISE OF ITS DISCRETION. THE
             INSTRUCTIONS HERE FAILED TO PROVIDE THE
             MANDATED GUIDANCE IN VIOLATION OF THE
             FIFTH, SIXTH, EIGHTH AND FOURTEENTH
             AMENDMENTS AS WELL AS ARTICLE I, §§ 2, 9, 10
             AND 16 OF THE OHIO CONSTITUTION.

             PROPOSITION OF LAW NO. XII
             THE PROSECUTOR HAS AN OBLIGATION TO
             SEEK JUSTICE AND TO REFRAIN FROM
             UNFAIRLY SEEKING A CONVICTION OR
             SENTENCE OF DEATH BASED ON IMPROPER
             EVIDENCE, IMPROPER ARGUMENT AND OTHER
             MISCONDUCT UNDER THE FIFTH, SIXTH,
             EIGHTH AND FOURTEENTH AMENDMENTS AND
             ARTICLE I, §§ 2, 9, 10, AND 16 OF THE OHIO
             CONSTITUTION.




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             PROPOSITION OF LAW NO. XIII
             THE REPRESENTATION PROVIDED TO ROLAND
             DAVIS FELL FAR BELOW THE PREVAILING
             NORMS FOR COUNSEL IN A CAPITAL CASE, WAS
             UNREASONABLE, AND AFFECTED THE
             OUTCOME IN VIOLATION OF THE FIFTH, SIXTH,
             EIGHTH AND FOURTEENTH AMENDMENTS AS
             WELL AS ART. I, § 2, 9, 10, AND 16 OF THE OHIO
             CONSTITUTION.

             PROPOSITION OF LAW XIV
             ROLAND DAVIS WAS CONVICTED AND
             SENTENCED TO DEATH IN A TRIAL CONDUCTED
             IN AN EMOTIONAL ATMOSPHERE WHERE THE
             PROSECUTOR EXPLOITED THE EMOTIONAL
             IMPACT OF EVIDENCE ABOUT THE VICTIM IN
             VIOLATION OF THE FIFTH, SIXTH, EIGHTH AND
             FOURTEENTH AMENDMENTS AS WELL AS
             ARTICLE 1, SECTIONS 2, 9, 10 AND 16 OF THE
             OHIO CONSTITUTION.

             PROPOSITION OF LAW XV
             THE DEATH SENTENCE IMPOSED ON ROLAND
             DAVIS IS DISPROPORTIONATE IN VIOLATION OF
             THE FIFTH, SIXTH, EIGHTH, AND FOURTEENTH
             AMENDMENTS TO THE UNITED STATES
             CONSTITUTION.

             PROPOSITION OF LAW XVI
             THE OHIO SENTENCING REVIEW PROCESS AS
             IMPLEMENTED BY THE TRIAL COURT DENIED
             ROLAND DAVIS AN ADEQUATE SAFEGUARD
             AGAINST THE ARBITRARY AND CAPRICIOUS
             IMPOSITION OF THE DEATH PENALTY. THE
             DEATH PENALTY IN THIS CASE IS
             INAPPROPRIATE UNDER THE FIFTH, SIXTH,
             EIGHTH AND FOURTEENTH AMENDMENTS AS

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             WELL AS ARTICLE I, §§ 2, 9, 10, AND 16 OF THE
             OHIO CONSTITUTION,

             PROPOSITION OF LAW XVII
             OHIO’S DEATH PENALTY LAW IS
             UNCONSTITUTIONAL. OHIO REV. CODE ANN.
             §§ 2903.01, 2929.02, 2929.021, 2929.022, 2929.023,
             2929.03, 2929.04, 2929.05, AND 2929.06 ARE
             UNCONSTITUTIONAL ON THEIR FACE AND AS
             APPLIED TO ROLAND DAVIS UNDER THE FIFTH,
             SIXTH, EIGHTH AND FOURTEENTH
             AMENDMENTS OF THE UNITED STATES
             CONSTITUTION AND ART. I, §§ 2, 9, 10, 16 OF THE
             OHIO CONSTITUTION. FURTHER, OHIO’S DEATH
             PENALTY STATUTE VIOLATES THE UNITED
             STATES’ OBLIGATIONS UNDER INTERNATIONAL
             LAW

             PROPOSITION OF LAW XVIII
             A TRIAL COURT MAY NOT SENTENCE A
             DEFENDANT TO MAXIMUM AND CONSECUTIVE
             SENTENCES BASED ON FACTS NOT FOUND BY
             THE JURY OR ADMITTED BY DEFENDANT. THIS
             VIOLATED DAVIS’ CONSTITUTIONAL RIGHTS AS
             GUARANTEED BY THE FIFTH, SIXTH, EIGHTH
             AND FOURTEENTH AMENDMENTS TO THE
             UNITED STATES CONSTITUTION AND ARTICLE I,
             §10 AND 16 OF THE OHIO CONSTITUTION.

 18.   In an Opinion released January 3, 2008, the Supreme Court of Ohio affirmed

 the convictions and sentence of death. State v. Roland Davis, 880 N.E. 2d 31

 (Ohio 2008). A timely filed Motion for Reconsideration was denied. State v.

 Davis, 893 N.E. 2d 512 (Ohio 2008).




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 19.   A Petition for Certiorari was filed in the United States Supreme Court on

 June 6, 2008. The Court denied the Petition for Certiorari on October 10, 2008.

 Davis v. Ohio, 129 S. Ct. 137 (2008).

          2.      Post Conviction Litigation
 20.   Pursuant to Ohio Rev. Code § 2953.21 et seq., Davis, through counsel,

 timely filed his Petition for Post Conviction Relief on June 23, 2006.

 21.   In his Petition, Davis raised the following issues demonstrating that his

 convictions and sentences were void or voidable under the United States and Ohio

 Constitutions:

               First Ground for Relief
               Petitioner Davis’s convictions and sentences are void
               and/or voidable due to excessive security measures used
               throughout his trial, thus violating his right to a fair and
               impartial trial, due process, the presumption of
               innocence, and the right to counsel.

               Second Ground for Relief
               Petitioner Davis’s convictions and sentences are void
               and/or voidable due to the trial counsel’s failure to object
               or request a hearing to determine whether it was
               necessary to use excessive security measures throughout
               Petitioner’s trial, thus violating his right to effective
               assistance of counsel, a fair and impartial trial, due
               process, the presumption of innocence, and the right to
               counsel.

               Third Ground for Relief
               Petitioner Davis’s judgment and sentence are void or
               voidable because the State failed to disclose any and all

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             evidence favorable to the accused. As a result, Petitioner
             was denied his constitutional rights to due process, equal
             protection, and a fair trial.

             Fourth Ground for Relief
             Petitioner Davis’s convictions and/or sentences are void
             or voidable because he was denied the effective
             assistance of counsel in the mitigation phase of his
             capital trial as guaranteed by the Fifth, Sixth and
             Fourteenth Amendments of the United States
             Constitution and Sections 10 and 16, Article I of the Ohio
             Constitution.

             Fifth Ground for Relief
             The judgment and sentence against Petitioner Davis are
             void and/or voidable because the death penalty as
             administered by lethal injection violates his constitutional
             right to protection from cruel and unusual punishment as
             guaranteed by the Eighth Amendment and to due process
             of law.

             Sixth Ground for Relief
             Petitioner Davis’s judgment and sentence are void or
             voidable because Ohio’s post conviction procedures do
             not provide an adequate corrective process, in violation
             of the constitution.

             Seventh Ground for Relief
             Petitioner Davis’s judgment and sentence are void or
             voidable because, assuming arguendo that none of the
             Grounds for Relief in his Post Conviction Petition
             individually warrant the relief sought from this court, the
             cumulative effects of the errors and omissions as
             presented in the Petition in paragraphs one through
             fourteen have been prejudicial to the Petitioner and have
             denied the Petitioner his rights as secured by the United
             States and Ohio Constitutions.

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             Eighth Ground for Relief
             Petitioner Davis’s convictions are void or voidable
             because he was denied his right to be present at a critical
             stage of the trial.

             Ninth Ground for Relief

             Petitioner Davis’s convictions are void or voidable
             because his rights to equal protection and a fair cross-
             section of the community were violated by the under-
             representation of African-Americans from his jury.

             Tenth Ground for Relief
             Petitioner Davis’s convictions are void or voidable
             because pervasive pre-trial publicity about this case
             warranted a charge of venue from Licking County.

             Eleventh Ground for Relief
             Petitioner Davis’s convictions are void or voidable
             because Petitioner was prejudiced by the errors and
             omissions of his counsel in the culpability phase of his
             capital trial.

             Twelfth Ground for Relief
             Petitioner Davis’s death sentence is void or voidable
             because Petitioner was prejudiced by trial counsel’s
             failure to present mitigating evidence from a clinical or
             forensic psychologist.

             Thirteenth Ground for Relief
             Petitioner Davis’s convictions and sentences are void or
             voidable because he is actually innocent of the crimes
             charged in this case.

             Fourteenth Ground for Relief
             Petitioner Davis’s convictions are void or voidable
             because trial counsel rendered prejudicially deficient

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              performance by not raising a challenge to the jury pool
              based on the under-representation of African-Americans
              on juries in Licking County death penalty cases. (See
              Ninth Ground for Relief.)

              Petitioner Davis’s convictions are void or voidable
              because trial counsel rendered prejudicially deficient
              performance by not moving for a change of venue
              following voir dire. (See Tenth Ground for Relief.)

              Petitioner Davis’s convictions are void or voidable
              because trial counsel rendered prejudicially deficient
              performance by not objecting when the jury was
              permitted to view State’s Exhibits 12-A.l and 12-A.2
              outside of Petitioner’s presence. (See Eighth Ground for
              Relief.)

 22.   Davis subsequently filed an Amended Petition for Post Conviction Relief on

 July 20, 2006, in which he raised two additional Grounds for Relief:

              Fifteenth Ground for Relief
              Petitioner Davis’s convictions are void or voidable
              because trial counsel failed to call Damien Turner as a
              witness. Testimony from Turner on this point would
              have established a pattern by law enforcement of
              inducing confessions of jailhouse snitches in exchange
              for consideration.

              Sixteenth Ground for Relief
              Petitioner’s convictions and sentences are void or
              voidable because his trial counsel rendered ineffective
              assistance by not making a cogent challenge to the
              State’s Y-STR DNA evidence.

 23.   Davis attached to his Petition and Amended Petition numerous affidavits and

 exhibits dehors the record that demonstrated his right to an evidentiary hearing and

 to relief, including: six separate Affidavits of Roland Davis; an affidavit of Phillip
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 Elmore; excerpts from the United States Census Bureau for Licking County, Ohio;

 copies of news coverage concerning the arrest and trial of Roland Davis; an

 Affidavit of Ruth Cummings; an Affidavit of Rose Marie Weimer; two letters from

 Richard Hummel; advertising information on the stun device used in Davis’ trial;

 an Affidavit of Robert L. Smith, Ph.D.; an Affidavit of Sharon Scanlon; “Lethal

 Injection Constitutes Cruel, Inhuman, or Degrading Treatment Which is Prohibited

 by International Law” by Douglas Freeman; “Post-Furman Botched Executions”

 by Michael Radelet; an Affidavit of Monique N. Coleman, Psy. D.; an Affidavit of

 Kathy Davis; and an Affidavit of Gregory Meyers, Esq.

 24.   In support of his Petition for Post Conviction Relief, Davis filed a Motion

 for Appropriation of funds for Dr. Robert L. Smith Clinical Psychologist; and a

 Motion for DNA testing; a Motion for Discovery and Evidentiary Hearing.

 25.   In Orders dated November 14, 2007 and January 14, 2008, the Court of

 Common Pleas denied Davis Petition for Post Conviction Relief and overruled all

 of Davis’ motions.

 26.   Davis timely appealed to the Ohio Fifth District Court of Appeals, raising

 three comprehensive Assignments of Error:

             First Assignment of Error:
             Appellant’s right to due process and equal protection was
             violated because the trial court dismissed his post
             conviction petition on procedural grounds.


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             Second Assignment of Error:
             Appellant’s due process and equal protection rights were
             violated because the trial court denied motions that were
             necessary to fully and fairly litigate his grounds for post
             conviction relief.

             Third Assignment of Error:
             The trial court erred in dismissing Appellant’s Post
             Conviction Petition when he presented sufficient
             operative facts to merit relief or, at minimum, an
             evidentiary hearing.

 27.   In an Opinion dated December 23, 2008, the Ohio Fifth District Court of

 Appeals affirmed the judgment of the trial court denying Davis’ Petition for Post

 Conviction Relief. State v. Davis, No. 08CA 16, 2008 Ohio App. LEXIS 5718, at

 *59–60 (Ohio Ct. App. Dec. 23, 2008).

 28.   Davis timely filed a Notice of Appeal and a Memorandum in Support of

 Jurisdiction in the Supreme Court of Ohio, raising four Propositions of Law:

             Proposition of Law No. 1:
             A capital post conviction petitioner’s rights to due
             process and equal protection are violated when the
             petitioner is denied discovery expert assistance, and a
             hearing to fully develop the factual basis for the
             petitioner’s constitutional claims.

             Proposition of Law No. 2:
             It is error to deny a capital post conviction petitioner’s
             claims for relief on the basis of res judicata when the
             claims are supported with evidence de hors the trial
             record.


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               Proposition of Law No. 3:
               It is error to deny relief on the merits to a capital post
               conviction petitioner who has presented claims of
               constitutional errors that are supported with evidence de
               hors the trial record.

               Proposition of Law No. 4:
               A claim of factual innocence is cognizable on post
               conviction review under O.R.C. § 2953.21 et seq.

 29.   The Supreme Court of Ohio denied Davis’ Memorandum in Support of

 Jurisdiction in an Order dated June 17, 2009.

          3.      Application to Reopen
 30.   Davis likewise filed an Application to Reopen his Direct Appeal in the

 Supreme Court of Ohio on April 2, 2008, raising three propositions of law.

 31.   The Supreme Court of Ohio denied Davis’ Application to Reopen in an

 Order dated September 10, 2008.

          4.      Motion for New Trial
 32.   Davis filed a Motion for Finding that Defendant was Unavoidably Prevented

 from Discovering New Evidence within 120 days of Verdict under Ohio R. Crim.

 P. 33 (B) and for Leave to File a Motion for New Trial on October 31, 2008,

 raising the claim that Davis had been denied the effective assistance of counsel by

 counsel’s failure to mount a cogent challenge to the state’s DNA evidence that

 would have proven that Davis was actually innocent of this capital offense.



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 33.   In an Entry dated January 30, 2009, the Court of Common Pleas of Licking

 County Ohio denied Davis’ Motion for Leave to File a Motion for New Trial.

 34.   Davis timely appealed to the Ohio Fifth District Court of Appeals.

 35.   In an Entry dated September 24, 2009, the Court of Appeals affirmed the

 trial court’s denial of Davis’ Motion for Leave to File a Motion for New Trial.

 36.   Davis timely filed a Notice of Appeal and Memorandum in Support of

 Jurisdiction in the Supreme Court of Ohio.

 37.   In an Order dated January 27, 2010, the Supreme Court of Ohio granted

 Davis’ Memorandum in Support of Jurisdiction as to Proposition of Law I.

 38.   As of the filing of this Petition the case is pending argument and decision in

 the Supreme Court of Ohio. State v. Roland Davis, Case No. 2009-2028.




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                             PRELIMINARY FACTS

 39.   Elizabeth Sheeler was an elderly woman who was found dead in her

 apartment in Newark, Ohio on July 12, 2000. Her body was found wrapped in

 bedding in her bedroom. (Tr. at 972.)

 40.   The cause of death was identified as blunt trauma injuries and sharp

 instrument wounds. Tissue and blood samples were collected and preserved for

 possible testing.

 41.   Detective Tim Elliget, a criminalist with the Newark Police Department was

 the primary crime scene investigator. At trial, defense counsel stipulated that Det.

 Elliget was an expert in criminology, crime scene investigation and preservation.

 (Tr. at 1034.) Detective Elliget found no evidence consistent with a forced entry.

 (Tr. at 1038.)

 42.   Sheeler was in the habit of leaving her door partially open and was very hard

 of hearing. Most of her transportation was obtained from friends or from taking

 taxicabs.

 43.   Sheeler spoke with a friend on the telephone on Monday evening, July 10,

 2000 for approximately 2 hours from 8 p.m. to 10 p.m. when they both hung up to

 watch a specific TV show. There was no indication during that call that anyone

 else was in the apartment with Sheeler. (Tr. at 1139.)




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 44.   Sharon Wright, a former girlfriend, met Davis in 1994 while both were

 working for Yellow Cab in Newark. Wright and Davis both became acquainted

 with Sheeler from driving her in cabs. They often helped her with her groceries.

 Wright testified that Davis was not at her house on July 10th or 11th, 2000, but that

 he showed up with a new car and two envelopes full of cash on the 13th. (Tr. at

 1155–57.) Davis told her that he has been running drugs from Florida to Ohio.

 45.   Terri Geer also had a relationship with Davis. She testified that Roland had

 a small pocketknife that he always carried. (Tr. at 1216.) She recalled Davis

 buying her son a new drum set in July 2000. The parties stipulated that the drum

 set cost more than $1200.00. (Tr. at 1220, 1226–27 (Joint Ex. 6).) Geer also

 testified that Roland has a distinctive stutter when he speaks. (Tr. at 1223–25.)

 46.   Wayne Rutherford, a dispatcher for Yellow Cab, recalled Sheeler requesting

 Roland Davis as one of her drivers.

 47.   Susan Fowls, a waitress at Annie’s Place in 2000, testified that sometime in

 2004 she saw a photo of Davis who had been arrested for the murder of Sheeler in

 the newspaper. Fowls claimed that once she saw that photo she recalled that a man

 had come into the restaurant in late spring or summer of 2003 and questioned her

 about whether there were any leads on the Sheeler case. (Tr. at 1256–57.) She

 claimed that Davis was that same man. She did not initially report the encounter to




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 the police. Tari Paxton, the owner of Annie’s Place, confirmed much of Fowls

 testimony. (Tr. at 1282–85.)

 48.   Detective Steven Vanoy, testified that a kitchen towel had been found next

 to a dish strainer in the kitchen. Detective Vanoy testified that DNA analysis

 identified the DNA found on the towel to be that of a male. (Tr. at 1316–17.)

 49.   On March 1, 2004, after receiving information from Florida, Det. Vanoy

 focused on Davis as a suspect. He gathered information on Davis’ background

 trying to verify if he was in Newark in July 2000. He also obtained a DNA sample

 from Davis and submitted it for testing. He claimed that the DNA matched that on

 the towel. (Tr. at 1328.)

 50.   Detective Vanoy went to Florida to interview Davis. The entire interview

 was taped without Davis’ knowledge. Detective Vanoy testified at length about

 this interview, his opinions and his methods of attempting to coerce Davis into

 confessing. (Tr. at 1330–60.)

 51.   After Det. Vanoy obtained the results of DNA testing, Davis was arrested

 for Sheeler’s murder. Detective Vanoy interviewed him a second time in Newark.

 This interview lasted five hours. No attempt to tape this interview was made.

 Davis denied being involved in Sheeler’s murder. (Tr. at 1355.)

 52.   Detective Vanoy conceded that Davis never confessed in either interview.

 (Tr. at 1376–77.) Although Det. Vanoy asked if Dana Davis, one of Roland’s

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 brothers, had ever been to the Sheeler residence, he did not ask about Randy,

 Roland’s other brother. He also did not ask about the relationship between Roland

 and Randy. (Tr. at 1379.)

 53.   Richard Hummel served time in the Licking County Jail for a DUI on

 October 24, 2004. (Tr. at 1389.) Hummel claimed that he met Davis while in the

 jail and while they talked Davis admitted stabbing Sheeler five or seven times and

 stated something about blood on her face and that they had brought him up here on

 DNA evidence. (Tr. at 1394.) Hummel claimed that the state did not give him

 anything in exchange for his testimony.

 54.   Detective Elliget testified about processing the items in the apartment for

 fingerprints. No prints matched Davis. (Tr. at 1429.) There was also no evidence

 of blood in the spare bedroom or the northeast bedroom. Detective Elliget testified

 that he found what he considered to be a “wipe” pattern on several of doorknobs.

 (Tr. at 1431.) In the kitchen, Det. Elliget found blood near the faucet. This was

 subsequently confirmed with a DNA test. In addition, one towel found next to the

 strainer tested for blood. That towel was sent to a DNA expert for analysis. (Tr. at

 1447.) Fingerprints were discovered on one of the plates in the strainer. They did

 not match Davis. (Tr. at 1448–49.)

 55.   All DNA recovered from the victim’s clothing came from the victim.

 Fourteen usable finger prints and three palm prints were obtained from the

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 apartment. No person was ever identified by the prints. They did not match Davis.

 (Tr. at 1498–99.) A cutting from the kitchen towel which had one blood spot on it

 was submitted to BCI. BCI found no DNA. (Tr. at 1540–41.)

 56.    Dr. Ramen Tejwani testified that DNA analysis on the blood found on the

 kitchen towel did not match the victim. Dr. Tejwani did presumptive testing on the

 oral, vaginal and rectal swabs taken from Sheeler. There was a positive

 presumptive test for semen on the oral swab. (Tr. at 1579.) Additional testing

 only found the victim’s DNA on the oral swab. (Tr. at 1580.) No semen was

 found in any of the other blood stains.

 57.    The state also presented Meghan Clement, the technical director in the

 forensic identity testing department at Laboratory Corporation of America

 Holdings, Incorporated. (Tr. at 1655.) Clement testified that there were three

 areas on the fitted sheet taken from Sheeler’s bedroom that contained male DNA

 and that Davis could not be excluded as a possible contributor of that DNA. (Tr. at

 1683–86.) In addition, male relatives of Davis could not be excluded. (Tr. 1686–

 87.)

 58.    The Defense presented one stipulation: that Randy L. Davis, Roland Davis’

 brother, died as a result of an auto accident on Nov. 26, 2002, more than two years

 after Sheeler’s death. During the course of the autopsy a sample of blood was




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 collected and preserved. The sample was available at Licking County Coroner

 Office.

 59.   The jury returned guilty verdicts on all counts and specifications. (Tr. at

 1978.)

 60.   The penalty phase began on Monday, July 11, 2005. The Court merged the

 escaping detection specification with the remaining specifications but refused to

 merge the kidnapping specification with the aggravated robbery specification. (Tr.

 at 2001.) The state moved to admit all evidence, testimony and exhibits from the

 trial phase into evidence and then rested. (Tr. at 2030.)

 61.   In mitigation, the defense presented the testimony of Davis’ aunt, Ruth

 Cummings who described the home life of her sister (Davis’ mother, Marie). Her

 parents were extremely religious and very strict. (Tr. at 2039.) The girls were not

 allowed to socialize in any manner with friends or classmates. There was no

 dating permitted. Davis’ mother, Marie, was never permitted to date. She

 subsequently ran away with Tom Davis who she then married. Cummings

 described the marriage as disastrous. Tom Davis, Roland’s father, was very

 abusive and an alcoholic and not a fit father or husband. Ruth never saw Tom play

 with his children and never saw him help with homework. (Tr. at 2046.) He did

 not support the family financially or emotionally. She recalled her sister calling

 for food and for money for the bills that were unpaid. She recalled seeing bruises

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 on her sister and vividly recalled seeing Tom Davis shove her from wall to wall on

 at least one occasion. She described her sister having to act like a servant to Tom

 Davis. (Tr. at 2048–50.)

 62.   The mental and physical abuse of Marie Davis was ongoing and constant.

 At one point Marie left Tom. Her mother and father took Randy, the youngest

 child (Marie had four children with Tom) but the other children, including Roland,

 were put in an orphanage for several months. Cummings did not recall ever

 visiting the children at the orphanage. (Tr. at 2053–54.)

 63.   When Marie learned Tom had placed the other kids in the orphanage, she

 returned to Newark, got her children and returned to the marriage. The violence

 continued and she repeatedly saw her sister with bruises. (Tr. at 2060–62.)

 64.   Marie left a second time when Roland was eighteen years old. At that time,

 she moved to Florida with Roland, Dana and Todd. Randy continued to live with

 his father, Tom. Cummings described Roland as a devoted grandson to her

 parents. She also described a speech impediment and stutter that Roland had since

 he first learned to talk. (Tr. at 2064.) Roland had hearing problems and at some

 point had surgery on his ears. She believed surgery was put off long after it was

 recommended. She also did not think that the kids were ever taken to doctors or

 dentists. (Tr. at 2066.)




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 65.   Dana Davis, Roland’s younger brother, described an abusive alcoholic father

 who came home drunk every day of the week, accused his mother of messing

 around, and abused her physically. Dana also recalled seeing bruises and black

 eyes on his mother. He estimated that Tom beat his mother four to five times a

 week. Although Tom drove them to church on Sunday, he did not attend. He

 would get so drunk while the family was in church that he would be unable to

 drive them home. Dana recalled the night his mother stabbed his father and was

 taken to jail. She had been ironing when Tom came running into the house, red in

 the face and very drunk. His mother grabbed a butcher knife to protect herself and

 his father ran into it. He also vividly recalled Tom beating Roland with a belt up

 and down the steps. (Tr. at 2087.) He recalled his brothers trying to intervene to

 stop his father from beating his mother but they would get hit as well. He also

 recalled a time when his mother took the kids to visit Tom and his father locked

 them in an attic. Eventually his mother left Tom and took the kids with her to

 Florida. Roland was old enough to work and Dana described how he helped watch

 the younger kids while his mother worked two jobs. Eventually Roland got a job

 and his mother was able to quit one of her jobs because Roland helped with the

 expenses.

 66.   Dana described his brother as someone that took care of him when he was

 younger. Dana explained that Roland gets real emotional, sometimes jealous and

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 angry. (Tr. at 2094.) Given their background, not surprisingly, all the boys had

 tempers and sometimes got into fights. Dana has no relationship with his father.

 He has suffered from problems with substance abuse and trouble with the law, as

 had his older brother Randy. His sister followed his mother’s path marrying right

 out of high school. (Tr. at 2099.)

 67.   Dana also recalled the problem Roland had with his ears when he was

 young. He recalled that Roland’s ear would drain on the pillow. He also recalled

 people making fun of Roland because of his speech problem. (Tr. at 2104.)

 68.   Dolly Sidle was an old friend of the family. Dolly described Roland’s early

 years and his life with Tom Davis. She confirmed that Davis was a mean drunk

 that wanted his beer and wanted to be left alone. She never saw any positive

 interaction with the kids. (Tr. at 2132.) She recalled always seeing Marie,

 Roland’s mother, with bruises—some of which were severe. Dolly noted Roland’s

 speech impediment and recalled that he would stutter more when his father was

 around. (Tr. at 2137–38.) She also knew that the elder Davis’ had financial

 problems and often had to rely on Marie’s parents for help to pay the bills.

 69.   Susan McGuire also had known Roland and his family as he grew up. She

 described Tom Davis as always yelling and screaming at his family, and as surly

 and hateful at times. She knew even as child that he drank daily. (Tr. at 2153.)

 She also recalled Tom Davis abusing Roland and calling him a “retard.” He often

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 cussed him out. Tom Davis would rip the phone cord from the wall and the kids

 would come over to her house to call the police.

 70.   Rose Weimer, Roland Davis’ mother, explained her background. (Tr. at

 2166.) She described her marriage to Tom Davis as “pure hell.” She was

 physically abused, tortured and knocked around. Her parents believed that you had

 to stick with marriage regardless of the problems, and she had a very difficult time

 leaving Tom Davis. (Tr. at 2167–68.) She tried to leave at one point but learned

 her kids had been put in an orphanage so she returned. (Tr. at 2170.) She

 described that her kids attempted to protect her, but were assaulted by her husband.

 Finally after years of abuse and threats she left for Florida. Roland helped with the

 younger kids and helped for a long time to help pay bills. He would buy food and

 pay the rent and was always available if she needed him.

 71.   Rose testified about Roland’s stutter and learning from a hearing test the

 school conducted he had a perforated ear drum. She thought that he had problems

 hearing before the test but Tom Davis would not allow her to spend money on

 doctors for the kids. Roland never complained about anything although he was

 often teased and ridiculed. (Tr. at 2182–83.)

 72.   The jury returned a death verdict.

 73.   On July 15, 2005, the court sentenced Davis to death and ten years

 consecutive sentences on the other felonies. (July 15 Tr. at 33–34.)

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                      PRETRIAL GROUNDS FOR RELIEF

 First Ground for Relief:

 ROLAND DAVIS WAS DEPRIVED OF HIS RIGHT TO A FAIR TRIAL, TO COUNSEL,
 TO PRESENT A DEFENSE AND TO PRESENT MITIGATION AND HAVE THAT
 MITIGATION EVIDENCE CONSIDERED AND GIVEN EFFECT BY THE JURY WHEN
 THE TRIAL COURT ORDERED HIM TO WEAR A STUN BELT DEVICE ON HIS ARM
 WITHOUT FIRST HOLDING A HEARING ON THE NECESSITY FOR SHACKLING.

 74.   It is prejudicial per se to have restraints on the accused, and restraints are

 only to be used as a last resort. Holbrook v. Flynn, 475 U.S. 560, 567 (1986);

 Illinois v. Allen, 397 U.S. 337, 344 (1970); Earhart v. Konteh, 589 U.S. 337, 349

 (6th Cir. 2009). Shackles can interfere with the accused’s ability to communicate

 with counsel and to pay attention and participate during trial, violating the

 defendant’s constitutionally protected rights. Deck v. Missouri, 544 U.S. 622, 631

 (2005); Kennedy v. Cardwell, 487 F.2d 101, 106 (6th Cir. 1973).

 75.   The burden is on the State to make a “clear showing of necessity” before any

 type of shackling is permitted. Kennedy, 487 F.2d at 106; Woodards v. Cardwell,

 430 F.2d 978 (6th Cir. 1970). Before a defendant is secured with a stun belt, the

 State must prove that there is a compelling need for the defendant to be restrained,

 independent of the crime for which the defendant is standing trial. A trial court

 must hold a hearing before determining whether shackling is necessary and what

 type of security measures are reasonable. Holbrook, 475 U.S. at 569. Thus, any




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 decision to order a defendant to wear a stun belt or similar type of restraint must be

 based on an individualized determination.

 76.   The trial court ordered Davis to wear a “Band-It” sleeve on his arm during

 trial. The electrical device can be set off by the officer holding the control, or

 automatically on movement. The device caused Davis to have to wear a sweater in

 the heat of June/July because he could not button his shirt over the bulky device.

 The fact that the air conditioning in the courtroom was broken at various times

 during trial, made Davis’ bulky attire even more noticeably unusual, thus drawing

 attention to the presence of the Band-It. Furthermore, the deputies in control of the

 device constantly taunted Davis to run so they could shock him.

 77.   No hearing was held and there is no evidence in the record of any need for

 restraints or any type of shackles or stun belt-type device. There was no evidence

 Davis had caused or threatened to cause any disruption in the courtroom. In

 addition, there were always two deputies in the courtroom for security purposes.

 78.   The stun belt device distracted Davis throughout the trial and substantially

 interfered with his right to a fair trial, his ability to consult with counsel, and his

 ability to present a defense during the trial. Similarly, being forced to wear the

 stun belt substantially interfered with Davis’ right to a fair trial, to counsel, to

 present a defense, and to present mitigating evidence and to have that evidence




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 considered and given effect by the jury during the penalty phase of his trial. (See

 Post Conviction Pet., Exs. B, N, O, P, Q , R).

 79.   There was no justification to force Davis to be restrained. Along with the

 inherent prejudice that was present because Davis’ stun belt was visible, the

 particular psychological and physical impact that it had on Davis prejudiced him

 during his trial and sentencing. Thus, at both phases of his trial, Davis was

 deprived of a fair trial, due process, the right to the effective assistance of counsel,

 to present a defense, and to present mitigation evidence and have that mitigation

 evidence considered and given effect by the jury, to his prejudice, under the Fifth,

 Sixth, Eighth, and Fourteenth Amendments.

 80.   To the extent that the Ohio courts adjudicated the federal constitutional

 merits of these claims, their adjudications were contrary to, or unreasonable

 applications of, clearly established federal law, and/or based on unreasonable

 determinations of the facts.

 81.   This Court should issue the writ.




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                  JURY SELECTION GROUNDS FOR RELIEF

 Second Ground for Relief:

 ROLAND DAVIS WAS DEPRIVED OF HIS RIGHTS TO DUE PROCESS, A FAIR TRIAL
 AND AN IMPARTIAL JURY CONTRARY TO THE FIFTH, SIXTH, AND FOURTEENTH
 AMENDMENTS WHEN HE WAS FORCED TO STAND TRIAL IN LICKING COUNTY,
 OHIO, AMIDST PERVASIVE PRE-TRIAL PUBLICITY.

 82.   The Fifth, Sixth, Eighth, and Fourteenth Amendments guarantee to the

 accused a public trial by an impartial jury:

               In essence, the right to a jury trial guarantees to the
               criminally accused a fair trial by a panel of impartial,
               “indifferent” jurors. The failure to accord an accused a
               fair hearing violates even the minimal standards of due
               process. “A fair trial in a fair tribunal is a basic
               requirement of due process.”

 Irvin v. Dowd, 366 U.S. 717, 722 (1961) (citing In re Murchison, 349 U.S. 133,

 136 (1955); In re Oliver, 333 U.S. 257 (1948); Tumey v. Ohio, 273 U.S. 510

 (1927)).

 83.   Concepts of due process and a fair trial encompass trials that are not

 overwhelmed by pretrial publicity. See Sheppard v. Maxwell, 384 U.S. 333

 (1966); Rideau v. State of Louisiana, 373 U.S. 723 (1963); Irvin v. Dowd, 366 U.S.

 717 (1961).

 84.   Davis was denied due process and a fair trial by an impartial jury due to

 pervasive pre-trial publicity that flooded Licking County, Ohio. Davis’ case

 received extensive media coverage. (Post Conviction Pet., Ex. J.) Prospective


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 jurors knew of this case by television, radio, newspapers, and word of mouth.

 (See, e.g., Tr. at 196; 208; 545.) As a result of this extensive publicity, many

 prospective jurors knew about the facts of this case. (See, e.g., Tr. at 208; 545.)

 Moreover, several prospective jurors admitted that they had formed opinions about

 Davis’ culpability from publicity they had seen or read. (See, e.g., Tr. at 195; 196;

 211; 212; 221; 284; 285.)

 85.   The trial court denied counsel’s motion for individual sequestered voir dire,

 so voir dire on publicity was done in groups of six jurors. (Tr. at 335–36.) Thus,

 other jurors were exposed to the view points of jurors who had already formed

 opinions based on publicity.

 86.   Moreover, the relatively small size of Newark and Licking County made the

 effects of pervasive publicity more pronounced. Indeed, Licking County had had

 only one prior jury trial that resulted in a death sentence before Davis’ trial. The

 infrequency of capital cases in Licking County, Ohio, doubtless made Davis’ trial a

 matter of high public interest. All of these factors coalesced to create an

 atmosphere in which Davis was denied the presumption of innocence by the jurors.

 87.   The trial court misapplied the law. When reviewing whether to grant a

 change of venue, the court must make two inquiries. First, the court must

 determine whether, due to the pretrial publicity, there is a presumption of prejudice

 such that the trial court should not have attempted to seat a jury. Patton v. Yount,

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 467 U.S. 1025, 1031 (1984). In such cases, the trial court cannot rely upon the

 claims of jurors that they can be fair and impartial. Id. The second inquiry is

 whether the seated jury could remain impartial in the face of the negative pretrial

 publicity, and the measures that were taken to ensure a fair and impartial panel.

 See Estes v. Texas, 381 U.S. 532, 542–44 (1965).

 88.   Prejudice should have been presumed. Media coverage and pretrial

 publicity blanketed Licking County, Ohio. (Post Conviction Pet., Ex. J.) This

 extensive publicity was adverse to Davis and denied him his rights under the Fifth,

 Sixth, Eighth, and Fourteenth Amendments.

 89.   To the extent that the Ohio courts adjudicated the federal constitutional

 merits of these claims, their adjudications were contrary to, or unreasonable

 applications of, clearly established federal law, and/or based on unreasonable

 determinations of the facts.

 90.   This Court should issue the writ.




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 Third Ground for Relief:

 DAVIS WAS DENIED A TRIAL BY JURY DRAWN FROM A FAIR CROSS SECTION OF
 THE COMMUNITY AND EQUAL PROTECTION UNDER THE FIFTH, SIXTH, EIGHTH,
 AND FOURTEENTH AMENDMENTS BECAUSE OF THE UNDER-REPRESENTATION OF
 AFRICAN-AMERICANS ON HIS JURY.

 91.   The Fifth, Sixth, Eighth, and Fourteenth Amendments guarantee a jury with

 a “jury drawn from a fair cross section of the community.” See Taylor v.

 Louisiana, 419 U.S. 522, 527 (1975). In order to demonstrate a fair cross-section

 violation, Davis must establish (1) that the group alleged to be excluded is a

 distinctive group in the community; (2) that the representation of this group in

 venires from which juries are selected is not fair and reasonable in relation to the

 number of such persons in the community; and (3) that the representation is due to

 systematic exclusion of the group in the jury-selection process. Duren v. Missouri,

 439 U.S. 357, 364 (1979).

 92.   To establish a federal equal protection violation to the selection and

 composition of the petit jury, Davis must demonstrate by statistical evidence a

 significant discrepancy in the number of persons of a certain class in the

 community and the number of those persons on the jury venires, which evidence

 suggests discrimination. See Washington v. Davis, 426 U.S. 229, 239–41 (1976).

 While an equal protection claim resembles a fair cross-section claim, the purposes

 are different. The purpose of an equal protection claim is to determine whether the

 disparity in the jury venire is the result of a discriminatory purpose. That is, were

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 members of a discrete group intentionally denied the opportunity to serve on a

 jury? The inquiry in a fair cross-section claim focuses on the representativeness of

 the jury venire. Duren, 439 U.S. at 368 n.26.

 93.   Davis has demonstrated violations of both the fair cross-section requirement

 and equal protection. No African-Americans served on Davis’ jury. (Post

 Conviction Pet., Ex. F.) Similarly, No African-Americans served on the jury in the

 last capital case where the death penalty was imposed in Licking County, Ohio.

 (Post Conviction Pet., Ex. G.) Statistical data on the population characteristics of

 Licking County, Ohio demonstrate that the absence of African-Americans in both

 capital trials was not fair and reasonable in relation to the number of African-

 Americans in the community. (Post Conviction Pet., Exs. H, I.) African-

 Americans are under-represented in Licking County capital juries.

 94.   Davis thus established both a fair-cross-section claim and an equal-

 protection claim of violations of his rights under the Fifth, Sixth, Eighth, and

 Fourteenth Amendments.

 95.   To the extent that the Ohio courts adjudicated the federal constitutional

 merits of these claims, their adjudications were contrary to, or unreasonable

 applications of, clearly established federal law, and/or based on unreasonable

 determinations of the facts.

 96.   This Court should issue the writ.

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 Fourth Ground for Relief:

 THE JURY SELECTION PROCESS IN ROLAND DAVIS’ TRIAL DENIED HIM AN
 OPPORTUNITY TO ENSURE THAT A FAIR AND IMPARTIAL JURY, FREE FROM BIAS
 OR PRECONCEIVED OPINIONS ABOUT GUILT OR PUNISHMENT, WAS SEATED, IN
 VIOLATION OF HIS RIGHTS UNDER THE FIFTH, SIXTH, EIGHTH AND
 FOURTEENTH AMENDMENTS.

       A.      Davis was denied the thorough and adequate voir dire necessary to
               develop the factual bases for challenges for cause and to exercise
               peremptory challenges of jurors who were exposed to extensive
               pretrial publicity or who were biased on questions of guilt,
               innocence, or sentence.

 97.        Where, as here, a small community has been saturated with sensational news

 stories about the facts of a crime, the voir dire must go beyond “general inquiries

 [in order to detect] those jurors with views preventing or substantially impairing

 their duties in accordance with their instructions and oath.” Morgan v. Illinois, 504

 U.S. 719, 734–35 (1992). The relatively small community of Newark, Ohio had

 received substantial amounts of news coverage about this crime. The community

 grief and outrage over the murder of an elderly woman in her home required a

 thorough voir dire to uncover jurors who would not be able to judge the case on

 evidence presented in the courtroom. The voir dire permitted by the court was

 insufficient to uncover these jurors: little or no inquiry was made into the extent of

 the prospective juror’s knowledge of the case or whether the juror would be able to

 put aside that knowledge and fairly try the case based solely on the evidence

 presented in the courtroom. Without this inquiry, the limited questioning about


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 whether the juror had formed so fixed an opinion that it could not be overcome by

 evidence was meaningless. See Morgan, 504 U.S. at 734–35.

 98.   Davis was thus denied his right to a fair and impartial jury able to judge the

 case solely on the evidence presented in the courtroom under the Fifth, Sixth,

 Eighth and Fourteenth Amendments.

          1.     The pretrial media coverage was extensive.
 99.   This crime involved the murder and robbery of an elderly woman inside of

 the apartment she had lived in for over twenty years. The nature of the crime as

 well as the years-long investigation attracted widespread attention throughout the

 community and naturally engendered a great deal of community interest. (See Tr.

 at 1250–75 (testimony of Susan Fowls); Tr. at 1276–302 (testimony of Tari

 Paxson); Tr. at 1310 (testimony of Det. Vanoy (“Q: . . . in this particular case, did

 [Mrs. Sheeler’s] . . . death become publicized around the Newark area? A:

 Highly publicized.”)); Post Conviction Pet., Ex. J.)

 100. Because of the widespread publicity and saturation of the community with

 information about the crime and investigation, Davis was entitled to a change of

 venue. See Irving v. Dowd, 366 U.S. 717, 725–29 (1961); Nevers v. Killinger, 169

 F.3d 352, 364 (6th Cir. 1999); Second Ground for Relief, supra.1


 1
  To the extent that counsel for Davis failed to litigate a Motion for Change of
 Venue and to more fully examine the prospective jurors on these subjects, and did
 not more fully develop the record concerning the level of pretrial publicity, or the
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           2.    The limited voir dire questioning did not elicit any pertinent
                 information concerning the effect of the pretrial publicity.
 101. Counsel were aware of the emotionally charged atmosphere that existed and

 took steps to ensure that the jury was free from the biasing effects of this negative

 and prejudicial pretrial publicity. (See Tr. at 335–36 (referencing Defense Motion

 for Individual and Sequestered Voir Dire).) Despite the publicity, and community

 interest, a change of venue was apparently not considered, by counsel or the court.

 102. The trial court, and counsel, ignored clearly established federal law

 announced by the United States Supreme Court requiring a thorough voir dire that

 detects views that prevent or substantially impair jurors from deciding the case on

 facts presented in the courtroom and failed to adequately question prospective

 jurors on their knowledge of the case and whether and how they could put

 whatever knowledge they had out of their minds. Morgan, 504 U.S. at 734–35.

 103. Where more than forty prospective jurors are aware of facts about the crime,

 (see Tr. at 26–27, 208), a thorough voir dire into the extent of jurors’ knowledge

 was required. Without such inquiry, there could be no factual determination about

 how much the juror knew and whether the juror could actually put that knowledge

 aside and decide the case based on the evidence presented in the courtroom.


 need for a change of venue, counsel’s performance fell far below the prevailing
 professional norms and was therefore, unreasonable and denied Davis the effective
 assistance of counsel in violation of the Fifth, Sixth, Eighth and Fourteenth
 Amendments. See Eighteenth Ground for Relief, infra.

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 Morgan, 504 U.S. at 729 (one factor in “the guarantee of a defendant’s right to an

 impartial jury is an adequate voir dire to identify unqualified jurors”).

 104. Of the forty jurors who had knowledge of the crime, six claimed they could

 not be fair and impartial. (Tr. at 28–29.) Only two of these six were questioned

 individually by defense counsel to determine the extent of their knowledge. (See

 Tr. at 283–85.) This is hardly the thorough voir dire necessary to uncover bias.

 See other subclaims in Fourth Ground for Relief, and Eighteenth Ground for

 Relief, infra.

 105. While jurors with opinions may serve if those opinions are not fixed,

 limiting inquiry into that exposure resulted in a voir dire that was largely

 meaningless in Davis’ trial. The voir dire examination here did not elicit adequate

 information so that counsel could intelligently and knowingly develop challenges

 for cause or exercise peremptory challenges or for the court to be able to rule on

 them. The voir did not provide counsel or the court with sufficient information

 with which to decide those challenges.

 106. Without inquiry into the facts, the voir dire here left the assessment of the

 juror’s knowledge of the facts, his ability to put those facts aside, and the

 assessment of his own biases entirely in the hands of the juror himself.

 107. The limited questioning here did not elicit any pertinent information

 concerning the effect of pretrial publicity, and permitted the seating of a partial

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 jury, a denial of due process in violation of the Fifth, Sixth, Eighth and Fourteenth

 Amendments.

          3.     Roland Davis was denied a fair and impartial jury.

 108. The right to a fair and impartial jury is best effectuated by a thorough voir

 dire of the prospective jurors, see United States v. McVeigh, 918 F. Supp. 1467,

 1469–70 (W.D. Okla. 1996), in part to identify unqualified or biased jurors.

 Morgan, 504 U.S. at 729–30. Because the voir dire was inadequate, Davis’ ability

 to exercise his peremptory challenges in an informed manner as well as his ability

 to develop challenges for cause was denied. See J.E.B. v. Alabama, 511 U.S. 127,

 143–44 (1994).2

 109. Without adequate voir dire “to lay bare the foundation of [Davis’] challenge

 for cause against” prospective jurors who may have harbored prejudices against the

 defendant or who may not have been able to fully consider issues of guilt or

 innocence or give weight to specific mitigating factors or fully consider the

 appropriateness of a life sentence, Davis’ “right not to be tried by such jurors” was

 rendered “nugatory and meaningless.” Morgan, 504 U.S. at 733–34. Leaving the

 assessment of their own bias in the hands of the individual jurors themselves




 2
  Davis had a substantive right to exercise peremptory challenges under Ohio Rev.
 Code § 2945.25 and Ohio R. Crim. P. 24.

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 deprived Davis of his right to a fair and impartial jury. See Morgan, 504 U.S. at

 735.

 110. The amount of publicity surrounding this incident, and the number of

 prospective jurors who had knowledge of specific facts about the case demanded a

 far more comprehensive voir dire examination. Despite this, the trial court and

 counsel for both parties conducted only a cursory voir dire.

 111. Inquiring of the prospective jurors whether they thought that they had any

 opinions that could not be overcome by the evidence simply does not satisfy the

 need for a thorough voir dire required to ensure a trial by a fair and impartial jury.

 In this situation, the failure to conduct an adequate voir dire by only individually

 examining two of six jurors who stated they could not be fair and impartial on the

 subject of pretrial publicity deprived Davis of due process and a fair trial.

 112. As the voir dire procedure continued, and the trial court insisted on

 continuing the questioning of prospective jurors long past regular court hours, (Tr.

 at 759 (“I’m getting punchy. It’s twenty-five til six”); Tr. at 774 (“The Court:

 What was I going to say? The next group, also, they’ve had more chance to stretch

 their legs, they got some food so they will not be as punchy as we are.”)), counsel’s

 examination of prospective jurors became increasingly incoherent and increasingly

 brief. Counsel’s voir dire of the final group of six jurors consisted of three and a

 half pages of statements from defense counsel—without posing one question to

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 any of the jurors. (Tr. at 797–800.) Effective voir dire must encompass a search

 for biased and unqualified jurors. A group voir dire in which counsel for the

 defendant asks no questions of the prospective juror will not yield any information

 that would be helpful to counsel or the court in determining whether or not any of

 the prospective jurors were biased or otherwise unqualified.

 113. Because of the trial court’s and counsel’s own limitations on voir dire, it is

 impossible to determine whether the jury was free from outside knowledge or free

 from bias.3 Davis was thus denied due process and a fair trial by an impartial jury

 in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments. This was

 prejudicial to Davis because the publicity and community interest placed too many

 pressures on the jury to convict and sentence Davis to death to permit fair and

 impartial consideration based on the evidence presented in the courtroom.

 114. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.


 3
  To the extent that counsel for Davis did not more fully develop the record
 concerning the level of pretrial publicity and did not more zealously demand to
 question jurors on pretrial publicity, counsel’s performance was not in keeping
 with the prevailing professional norms and was therefore, unreasonable and denied
 Davis the effective assistance of counsel in violation of the Fifth, Sixth, Eighth and
 Fourteenth Amendments. See Eighteenth Ground for Relief, infra.

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 115. This Court should issue the writ.

    B.     The trial court applied an improper standard in excusing prospective
           jurors who expressed objections to capital punishment but who were
           not unequivocally opposed to capital punishment under all
           circumstances and could fairly consider death as a sentence.

 116. The trial court failed to apply Ohio Rev. Code § 2945.25(C) when

 considering challenges for cause for prospective jurors who had reservations about

 the death penalty. Ohio Rev. Code § 2945.25(C) is the legislatively adopted

 standard for excusing jurors because of their views on capital punishment and

 requires the juror to unequivocally state that he could never impose the death

 sentence. This standard was adopted by the Ohio legislature from the standard

 enunciated in Witherspoon v. Illinois, 391 U.S. 510, 521–22 (1968).

 117. Later, in Adams v. Texas, 448 U.S. 38, 45 (1980), and Wainwright v. Witt,

 469 U.S. 412, 424 (1985), the Supreme Court adopted a lesser standard under the

 federal constitution: if the prospective juror’s views would prevent or

 substantially impair the performance of the juror’s duties in accordance with the

 juror’s instructions and oath, then the juror is subject to a challenge for cause. A

 juror’s general unwillingness to impose the death penalty may be found to

 constitute an impairment under the Witt standard, although the same hesitance

 would not be found to be unequivocal under Witherspoon and Ohio Rev. Code

 § 2945.25(C). Such a juror would be subject to removal for cause under Witt, but

 not under Witherspoon and Ohio Rev. Code § 2945.25 (C).
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 118. The standard in Ohio Rev. Code § 2945.25(C) provides more protection to

 the capital defendant than Witt. Therefore, Davis has a due process right in having

 the state of Ohio apply its own legislative enactments even if those standards are

 more strict than those dictated by the federal constitution. See Evitts v. Lucey, 469

 U.S. 387, 401 (1985). The state is always free to impose higher standards then the

 federal constitution mandates. See Michigan v. Long, 463 U.S. 1032, 1038–42

 (1983). The state cannot set lower standards then the federal constitution

 mandates. The trial court consistently applied the less stringent Witt standard

 rather than the more stringent Ohio Rev. Code § 2945.25(C) standard in excusing

 jurors for cause based on their views on the death penalty. (See Tr. at 567 (Juror

 Spearman); Tr. at 629–30 (Juror Smith); Tr. at 727–28 (Juror Barsky); Tr. at 728–

 29 (Juror Harden); Tr. at 729 (Juror Hanson).)

 119. Roland Davis’ right to a fair and impartial jury chosen from a fair cross

 section of the community under Ohio Rev. Code. § 2945.25(C) (limited as it was to

 those willing to impose a sentence of death), as well as the standards of Ohio Rev.

 Code § 2945.25(C) and Witherspoon were infringed because the trial court

 improperly excused jurors who were otherwise qualified solely because of their

 views on the death penalty.




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 120. Davis was likewise denied due process, a fair trial, and the effective

 assistance of counsel under the Fifth, Sixth, Eighth and Fourteenth Amendments.4

 121. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 122. This Court should issue the writ.

     C.    Trial counsel failed to fully examine jurors about whether their
           opinions on the death penalty would prevent them from following the
           court’s instructions and fairly considering the imposition of the
           death penalty.

 123. Whenever a juror indicated any hesitancy about imposing the death penalty,

 counsel failed to make sufficient inquiry into the juror’s feeling before the court

 granted the state’s challenge for cause. Counsel likewise failed to object or fully

 object to these cause challenges. (Tr. at 566, 567; 611–28, 629; 721–25, 726.)

 Failing to fully question and rehabilitate such jurors denied Davis a fair and

 impartial jury composed of a fair cross-section of the community as well as the



 4
   To the extent that counsel failed to rehabilitate these jurors or to zealously object
 to the trial court’s use of the improper standard and to the trial court’s dismissal of
 otherwise qualified jurors, their performance likewise fell far below the prevailing
 professional norms, and was therefore unreasonable, depriving Davis of the
 effective assistance of counsel in violation of the Fifth, Sixth, Eighth and
 Fourteenth Amendments. See Eighteenth Ground for Relief, infra.

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 effective assistance of counsel in violation of the Fifth, Sixth, Eighth and

 Fourteenth Amendments.5

 124. The primary purpose of death qualification is to identify jurors whose views

 on the death penalty are so strong (in favor of or opposed to) that they cannot be

 impartial in sentencing. Morgan, 504 U.S. at 728–29. Counsel must develop facts

 indicating whether a juror’s views on the death penalty would or would not

 interfere with their impartiality at both phases of the trial.

 125. Improper limitations on voir dire here deprived Davis of the opportunity to

 fully develop (or defend) challenges for cause. Counsel failed to defend against

 the state’s challenges for cause to juror’s because of their feelings about the death

 penalty and Davis was thus denied due process and a fair trial under the Fifth,

 Sixth, Eighth and Fourteenth Amendments.

 126. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.


 5
  To the extent that counsel for Davis did not more zealously demand to question
 jurors on their ability to set aside their views on the death penalty, counsel’s
 performance was not in keeping with the prevailing professional norms and was
 therefore, unreasonable and denied Davis the effective assistance of counsel in
 violation of the Fifth, Sixth, Eighth and Fourteenth Amendments. See Eighteenth
 Ground for Relief, infra.

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 127. This Court should issue the writ.

    D.    The trial court refused to permit counsel to fully examine prospective
          jurors about potential mitigating evidence, about whether they could
          consider a life sentence for someone who had killed an elderly
          woman in her home or whether they would automatically vote for
          death upon a showing of guilt. The failure to fully examine on these
          subjects resulted in jurors who would automatically vote for the
          death penalty and who would not consider mitigating evidence.

 128. Counsel and the court failed to examine prospective jurors as to whether

 they would automatically impose a sentence of death upon a finding of guilt or

 whether they could fairly consider mitigating evidence, or whether they could ever

 consider a life sentence for someone who had killed an elderly woman in her

 home, and whether they could consider specific mitigating evidence. Counsel did

 not question these jurors about their inclinations to impose the death penalty in

 every murder case and were therefore unable to successfully challenge any of them

 for cause.

 129. Counsel and the court failed to fully question jurors who expressed a

 willingness to impose the death penalty for any murder about whether they could

 consider mitigating evidence and consider imposing a life sentence and counsel

 failed to successfully challenge these jurors for cause. (See Tr. at 630–31 (Juror

 Marston); Tr. at 603 (Juror Cronin).)

 130. The court did not permit counsel to question prospective jurors about

 whether they could ever consider mitigating evidence and the imposition of a life


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 sentence under the particular facts of this case, specifically that the victim was an

 elderly woman who was murdered in her home. Here, counsel failed to inquire

 into and therefore discover any such biases on the part of prospective jurors.

 General inquiries about whether the juror “could be fair” or “follow the law” are

 always insufficient to uncover such biases, “their protestations to the contrary

 notwithstanding.” Morgan, 504 U.S. at 735. This failure to uncover these biases

 was particularly critical here where the prosecutor consistently and improperly

 attempted to exploit these facts in seeking a conviction and a sentence of death.

 See Thirteenth Ground for Relief, Sixteenth Ground for Relief, infra.

 131. Counsel failed to examine prospective jurors about this relevant information,

 to develop and exercise challenges for cause, and to exercise peremptory

 challenges against these jurors who could not fairly consider mitigation or a life

 sentence under the factors of this case. This denied Davis the effective assistance

 of counsel, due process, a fair trial, and a fair and impartial jury in violation of the

 Fifth, Sixth, Eighth and Fourteenth Amendments. See Morgan, 504 U.S. at 729.

 132. The court denied challenges for cause for jurors who stated that they would

 automatically impose a death sentence upon conviction for murder. Because these

 jurors could not fairly and impartially consider all possible sentences, they were

 unqualified. The failure to remove these jurors rendered the conviction unfair and




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 the sentence handed down unreliable in violation of the Fifth, Sixth, Eighth and

 Fourteenth Amendments.

 133. Davis was thus denied due process and a fair trial by an impartial jury in

 violation of the Fifth, Sixth, Eighth and Fourteenth Amendments. These rights

 were violated here, and this was prejudicial to Davis because he was entitled to be

 fair and impartial consideration for his sentence. 6

 134. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 135. This Court should issue the writ.

     E.    Comments by the prosecutor during voir dire misled the jurors
           about their role in the determination of sentence and prevented the
           jury from considering compelling mitigating evidence.

 136. The prosecutor improperly indoctrinated prospective jurors about what

 constituted mitigating evidence, about whether the jurors were required to consider

 6
  To the extent that counsel failed to zealously demand the right to fully inquire
 into the juror’s knowledge of the facts of the case and their reactions to those facts
 as well as inquire into the true feelings and abilities to consider mitigation and a
 sentence of life imprisonment, their performance fell far below the prevailing
 professional norms. See Eighteenth Ground for Relief, infra. To the extent
 counsel failed to adequately challenge these jurors, their performance likewise fell
 far below the prevailing professional norms, and was therefore unreasonable,
 depriving Davis of the effective assistance of counsel in violation of the Fifth,
 Sixth, Eighth and Fourteenth Amendments. Id.

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 mitigating evidence, and about the requirements for unanimity for a life sentence.

 The prosecutor likewise improperly explained and listed mitigating factors—

 known to not exist in this case—to the prospective jurors in a manner that

 suggested that these were the only compelling mitigating factors that could justify

 the jurors imposing a life sentence. The prosecutor then argued in closing

 argument at the penalty phase that these mitigating factors that he had discussed

 and listed in voir dire did not exist, and therefore the death penalty was the only

 appropriate sentence. The actions of the prosecutor had the effect of negating and

 preventing the jury’s consideration of proffered mitigating evidence in violation of

 the Fifth, Sixth, Eighth, and Fourteenth Amendments.

 137. Throughout the voir dire, the prosecutor repeatedly told the jurors that they

 did not have to consider any proffered evidence as mitigating. (See Tr. at 365–66;

 Tr. at 374–75; Tr. at 376–77 (“the jury has to be unanimous as to . . . what sentence

 of those four options is appropriate”); Tr. at 476; Tr. at 479–81 (“Just because

 someone says it’s mitigating, if you don’t think it’s mitigating, it’s not

 mitigating.”); Tr. at 490; Tr. at 523–31; Tr. at 600 (suggesting that same crime

 deserves same punishment); Tr. at 604–08; Tr. at 660–62; Tr. at 692 (“[V]erdicts

 would require a unanimous decision.”); Tr. at 742–52; Tr. at 780–93.) Neither

 defense counsel nor the trial court took any steps to remedy these misstatements by

 the prosecutor, leaving the prospective jurors with misinformation about their roles

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 in determining the sentence, about the requirements for unanimity, about what they

 could consider as mitigating evidence and about the power of one juror to

 independently find and weigh mitigating evidence and to prevent the imposition of

 a death sentence.

 138. One of the primary mandates of Eighth Amendment jurisprudence is the

 requirement that the jury be given clear guidance so that it can arrive at a reliable

 and appropriate sentence. Furman v. Georgia, 408 U.S. 238, 309–10 (1972)

 (Stewart, J., concurring). The prosecutor’s actions here mislead the jury (and the

 individual jurors) about their role in determining sentence, in individually finding

 and weighing evidence as mitigation, and in individually determining the

 appropriate sentence. The requirement that the jury’s discretion be limited and

 clearly guided minimizes the risk of the arbitrary and capricious imposition of

 sentences of death, condemned in Furman. The prosecutor’s actions here were

 designed to and did undermine the careful guidance of the jury required under the

 Eighth Amendment.

 139. The prosecutor’s statements incorrectly informed the jurors that acquitting

 Davis of the death penalty required unanimity. These statements were incorrect

 and misleading under Ohio Rev. Code § 2929.03(D) and State v. Brooks, 661

 N.E.2d 1030, 1040 (Ohio 1996), and deprived Davis of his right to a fair and




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 reliable sentencing determination and denied him due process in violation of the

 Fifth, Sixth, Eighth and Fourteenth Amendments.

 140. A second basic principle of Eighth Amendment jurisprudence is the

 heightened need for reliability in the determination that death is the appropriate

 sentence in a specific case. Woodson v. North Carolina, 428 U.S. 280, 305 (1976).

 To ensure the reliability of the determination that death is the appropriate sentence,

 there must be individualized consideration of “mitigating factors [that stem] from

 the diverse frailties of human kind.” Id. at 304.

 141. So that it may properly fulfill this constitutional mandate, the jury cannot be

 mislead as to its role in determining mitigating factors, the unanimity requirements,

 Mills v. Maryland, 486 U.S. 367, 382–84 (1988), or their individual role in

 determining the sentence. The prosecutor misled the jury by telling the prospective

 jurors that any verdict at sentencing would have to be unanimous. Ohio law is

 clear that once a jury concludes that it is not unanimous for death, then the jury

 must continue on to consider the various life sentences. Ohio Rev. Code

 § 2929.03(D); State v. Springer, 586 N.E.2d 96, 100 (Ohio 1992). The

 prosecutor’s statements on unanimity misled the jury, thus depriving Davis of due

 process, a fair and reliable sentencing determination, and an individualized

 sentencing determination.




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 142. The prosecutor’s repeated statements during voir dire mislead the jurors

 about its role in determining the existence of mitigating factors. Under Ohio law,

 each individual juror must determine the existence of any mitigating factors and

 whether those mitigating factors are sufficient so that the statutory aggravating

 circumstances did not outweigh those mitigating factors. Ohio Rev. Code

 § 2929.03(D); Brooks, 661 N.E.2d at 1040–41. Should that individual juror

 determine the existence of mitigating factors and that those factors are sufficient so

 that the statutory aggravating circumstances do not outweigh them beyond a

 reasonable doubt, then that juror is obligated to prevent the imposition of a

 sentence of death by voting for a life sentence. Ohio Rev. Code § 2929.03(D).

 The prosecutor suggested repeatedly that the jurors would be obligated to impose a

 sentence of death, but neither the prosecutor, the court, nor defense counsel ever

 mentioned the individual juror’s obligation to prevent the imposition of a sentence

 of death should that individual juror make the appropriate findings.

 143. In addition, there are seven statutorily listed mitigating factors that must be

 considered as mitigating factors under Ohio Rev. Code § 2929.04(B). Contrary to

 Lockett and basic Eighth Amendment principles, the prosecutor’s statements

 repeatedly informed the jurors that there were no factors that they had to consider

 as mitigating. These statements prevented the jury as well as individual jurors




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 from considering and giving effect to valid mitigating evidence, thus denying

 Davis due process, a fair trial, and a fair and reliable sentencing determination.

 144. The error in these statements was compounded by the prosecutor’s repeated

 discussions during voir dire of mitigating factors (that were clearly not present in

 this case) as mitigating factors that they could consider in imposing a life sentence.

 The prosecutor set these factors up in voir dire as the truly proper factors to be

 considered as mitigation—if they existed—and then during closing argument at the

 penalty phase relied on the absence of those mitigating factors as justifying a

 sentence of death. This intentional set-up of non-existent mitigating factors

 prevented the jury from considering valid and compelling mitigating evidence at

 the penalty phase. The prosecutor set up a list of strong and compelling mitigating

 factors in voir dire as the truly proper mitigating factors that could be considered in

 mitigation. The prosecutor was aware that these mitigating factors were not

 present in this case. The prosecutor’s action in voir dire created an expectation in

 the jurors that the mitigating factors he had discussed would be the mitigating

 factors that they would hear about in the penalty phase.

 145. The prosecutor then exploited this in his closing argument in the penalty

 phase by stating that the mitigating factors that the jurors had all acknowledged

 were important in voir dire were not present here. The prosecutor continued to

 argue that because those mitigating factors were not present, Davis had failed to

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 demonstrate that death was not the appropriate sentence. (Tr. at 2240–42.) The

 prosecutor’s creation of this “strawman” of compelling mitigation during voir dire,

 that he could then knock down during closing argument at the penalty phase,

 prevented the jury from considering other compelling mitigating evidence

 presented by Davis that did not comport with the mitigating factors that the

 prosecutor had told the jury was important. The actions of the prosecutor denied

 Davis due process, a fair trial, and a fair and reliable sentencing determination

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.7

 146. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 147. This Court should issue the writ.

     F.    The trial court failed to excuse jurors who knew too much about the
           crime, the victim or Roland Davis.

 148. Throughout voir dire, many potential jurors explained they had some

 knowledge that might render them unfit to sit as jurors. (See Tr. at 28–29.) The

 7
   To the extent counsel failed to object to the prosecutor’s ongoing misstatements,
 improper questioning and improper argument as outlined in this subsection,
 counsel’s performance fell far below prevailing professional norms and was,
 therefore, unreasonable, thus denying Davis the effective assistance of counsel in
 violation of the Fifth, Sixth, Eighth and Fourteenth Amendments. See Eighteenth
 Ground for Relief, infra.

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 failure to more fully explore these subjects in voir dire and to remove such biased

 jurors denied Davis due process and a fair trial by a fair and impartial jury in

 violation of the Fifth, Sixth, Eighth and Fourteenth Amendments.

 149. Where the vast majority of jurors seated in a case are familiar with the facts

 of the case, a fair trial is difficult. Where a majority of the jurors are acquainted

 with or related to the family of the victim, there is not even an appearance of

 impartiality. The jury that tried Roland Davis was not a fair and impartial panel

 drawn from a fair cross-section of the community.

 150. The most important inquiry in voir dire is not the words the juror uses to

 answer the question “can you be fair,” but how the jury answers all questions

 concerning bias. Morgan, 504 U.S. at 735. General inquiries about whether the

 juror “could be fair” or “could they follow the law” were not enough to uncover

 bias. Clearly, the jurors’ personal relationships with the Sheeler family, as well as

 their knowledge of the case and the history of Roland Davis, prevented them from

 being fair and impartial, especially in the face of the overwhelming community

 grief. The jury was comprised of persons acquainted with the victim or her family,

 persons who were intimately familiar with the facts of the case, and persons who

 were familiar with the history of Roland Davis. Because of this familiarity, the

 jury that tried Davis could not have been fair and impartial.




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 151. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 152. This Court should issue the writ.

    G.     The prosecutor and the trial court impermissibly sought
           commitments from the prospective jurors that they impose the death
           penalty.

 153. Roland Davis had the right to have his guilt or innocence—as well as his

 sentence—determined by a fair and impartial jury. See Irvin, 366 U.S. at 722.

 Davis had the right to a fair and impartial jury at the penalty phase of his trial. See

 Morgan, 504 U.S. at 726–27.

 154. Here, the important principle of basic fairness and impartiality in the

 determination of punishment was violated. During voir dire, the prospective jurors

 were asked to commit themselves to the death penalty. Davis’ fate was therefore

 improperly entrusted to “a tribunal organized to return a death verdict.” See id.

 155. The court, the prosecutor and counsel repeatedly asked the prospective

 jurors whether they could sign a death verdict. (See Tr. at 490–92; 561–66; 596–

 98; 600–03; 654–56; 667–71; 704–07; 707–12; 721; 746–52; 769–71; 782–93; 788

 (“you are obligated to sign a verdict”).) The jurors were never asked whether they

 could sign a life verdict or if they understood that if they individually concluded


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 that the statutory aggravating circumstances did not outweigh the mitigating

 factors beyond a reasonable doubt, they were obligated to sign a life verdict.

 156. The questions on capital punishment improperly skewed the jury selection

 process in favor of the death penalty. Witherspoon and Witt (as well as Ohio Rev.

 Code § 2945.25(C)) prohibit questions that force a prospective juror “to say in

 advance of trial whether he would in fact vote for the extreme penalty in the case

 before him.”

 157. These questions operated to identify and exclude jurors with reservations

 against the death penalty. There was no concomitant inquiry or commitment

 sought to identify and exclude those jurors with reservations against a life verdict.

 Cf. Morgan, 504 U.S. at 729–30. The focus of the voir dire was to ferret-out those

 jurors who were biased against a death verdict, in the absence of a concomitant

 inquiry as to whether the jurors could sign a life verdict, thus conveying the

 impression that the death penalty was the primary (and preferred) sentencing

 option.

 158. The voir dire by the prosecutor also required the prospective jurors to

 commit themselves to “the extreme penalty in the case before [them].”

 Witherspoon, 391 U.S. at 522, n.21. The prosecutor repeatedly asked the

 prospective jurors if they could sign a death verdict. By seeking personal

 assurances from the prospective jurors that they could sign a death verdict before

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 trial, the prosecutor organized a tribunal for death before the first witness testified;

 much less before any penalty phase evidence was adduced. See id. at 522. As the

 Court made clear in Witherspoon, “a prospective juror cannot expected to say in

 advance of trial whether he would in fact vote for the extreme penalty in the case

 before him.” Id. at 522 n.21.8

 159. The improper death qualifying procedures used during voir dire violated

 Davis’ right to a fair and impartial sentencing jury, due process, and a fair trial

 under the Fifth, Sixth, Eighth and Fourteenth Amendments.

 160. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 161. This Court should issue the writ.




 8
   To the extent that counsel failed to object to (and participated in) requiring jurors
 to commit to signing a death verdict and failure to have juror commit to signing a
 life verdict fell far below the prevailing professional norms, and was therefore
 unreasonable, depriving Davis of the effective assistance of counsel in violation of
 the Fifth, Sixth, Eighth and Fourteenth Amendments. See Eighteenth Ground for
 Relief, infra.

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    H.     The court and counsel failed to question a juror about personal
           problems that would distract from performing duties as a juror and
           failed to remove that juror.

 162. During the course of the voir dire proceedings, Juror Wallace twice

 informed the court and counsel that she was being harassed at work for not getting

 off of the jury. On one occasion, Juror Wallace informed the court that her

 supervisor had suggested that she should use white supremacist language in an

 attempt to get off the jury. (Tr. at 826.) On the second occasion, the same juror

 informed the court and counsel that he supervisor had not only again harassed her

 for not getting off of the jury, but that he had fired her because she was going to

 miss work. (Tr. at 1078–79.) The juror reported that she had gone to supervisors

 higher up in the company and that she had been reinstated. (Id.)

 163. On both occasions, the trial court offered counsel the opportunity to voir dire

 the juror. On both occasions, counsel declined to question the juror about these

 bizarre experiences or whether these bizarre actions by her supervisor would have

 any effect on her ability to sit as a juror and to fairly and dispassionately try the

 case based solely on the evidence presented in the courtroom. (Tr. at 826, 1079.)

 164. Juror Wallace served on the jury and acted as foreperson. (Tr. at 2314.)

 165. Counsel have an obligation during voir dire to fully examine the jurors to

 determine if there are any factors about the juror that would disqualify them as a

 juror and subject them to a challenge for cause.


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 166. Likewise counsel have an obligation in voir dire to determine if there are any

 personal matters concerning the juror that would make it difficult or impossible for

 the juror to fully concentrate on the job of the jury—to give full attention to the

 matters being presented in the courtroom and to be able to dispassionately decide

 the case based solely on the evidence presented in the courtroom. Clearly, a

 prospective juror who is being harassed (and fired) from her job for serving on this

 jury, will have some distractions that could interfere with her ability to perform

 adequately as a juror. Counsel and the court had an obligation to voir dire the juror

 on whether any of these matters would affect her ability to concentrate on the trial

 and whether these matters might affect the way she viewed the evidence or the

 outcome. Neither the judge nor counsel conducted any such inquiry, thereby

 permitting a potentially contaminated juror to sit (in fact be foreperson) during the

 capital trial of Roland Davis, in violation of the Fifth, Sixth, Eighth, and

 Fourteenth Amendments.

 167. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 168. This Court should issue the writ.




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    I.     Conclusion

 169. The actions of the trial court, the state, and counsel failed to ensure that

 Roland Davis was tried by a fair and impartial jury. The overwhelming publicity

 about the crime and the community interest required a “careful and searching voir

 dire” to determine what biases the prospective jurors had. This was not done.

 Likewise the trial court applied the incorrect standard for evaluating whether death

 hesitant jurors could fairly consider the death penalty and improperly dismissed

 such jurors. No inquiries were made as to whether strong death penalty jurors

 could fairly consider mitigation and a sentence of life imprisonment. No

 commitments to signing a life verdict were sought even though commitments to

 signing a death verdict were improperly sought. The result was a jury that was not

 fair and impartial and that denied Roland Davis a fair trial and due process in

 violation of the Fifth, Sixth, Eighth and Fourteenth Amendments.

 170. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 171. This Court should issue the writ.




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                    TRIAL PHASE GROUNDS FOR RELIEF

 Fifth Ground for Relief:

 UNQUALIFIED OPINION TESTIMONY CONCERNING THE TRUTHFULNESS OF A
 WITNESS OR A DECLARANT USURPED THE FUNCTION OF THE JURY AND DENIED
 DAVIS DUE PROCESS, A FAIR TRIAL THE RIGHT OF CONFRONTATION, AND THE
 EFFECTIVE ASSISTANCE OF COUNSEL.

 172. Detective Vanoy of the Newark Police Department assisted the prosecutor as

 the state’s representative at counsel table during the trial. (Tr. at 831.) Detective

 Vanoy also testified extensively at the trial, primarily about his investigation of the

 case, his thought processes in focusing on Roland Davis as the primary suspect,

 and his interviews of Roland Davis in Florida and later in Newark, Ohio.

 173. Detective Vanoy testified as to his training and experience including his ten

 years of service with the Newark Police Department which included attending the

 basic police academy; earning a Bachelor’s Degree in Criminal Justice and a

 Master’s Degree in Public Administration; attending a practical homicide school

 and a two-week homicide seminar at the University of Louisville put on by the

 Southern Police Institute; and training in the basics of preservation of evidence

 issues and collection issues. (Tr. at 1304.) Detective Vanoy was neither offered

 nor qualified as an expert on any subject.

 174. Despite his lack of expertise, there was interspersed throughout his

 testimony, Det. Vanoy’s unsupported opinion testimony about the meaning of

 evidence, about why Davis said and did specific things during the interviews,

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 about Davis’ thought processes, and about when Davis was lying and telling the

 truth.

 175. Police witnesses may testify about facts that they have discovered or

 observed. They may testify about statements the defendant made to them (if

 properly admitted). They may even testify about proper police techniques. They

 may not, however, give their unsupported opinions about the meaning of specific

 pieces of evidence, nor may they give their opinions about the defendant’s thought

 processes while being interviewed, nor may they give their opinion about the

 truthfulness of statements made by the defendant. Properly qualified experts may

 give their expert opinion to assist the jury. Police officers who have not been

 qualified may not give their opinion on the ultimate question before the jury.

 176. Detective Vanoy was not qualified to present the entire thought process of

 the Newark Police Department behind the investigation and interrogation, nor was

 he qualified to give his opinion about the truthfulness of Davis’ statements or his

 opinion of Davis’ thought processes during the interrogations. This testimony was

 beyond the scope of any purported expertise of Det. Vanoy and usurped the role of

 the jury to make such determinations about Davis’ truthfulness. Permitting Det.

 Vanoy to give his dissertation and opinion on the interrogation of Roland Davis

 denied Davis due process, the right to confront witnesses, a fair trial, the effective




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 assistance of counsel, and a fair and reliable sentencing determination in violation

 of the Fifth, Sixth, Eighth and Fourteenth Amendments.9

 177. Detective Vanoy was extensively questioned about the investigation into the

 death of Elizabeth Sheeler. He was questioned by the prosecutor about whether

 the police had received information from an out-of-state law enforcement agency

 in 2004 concerning Davis as a suspect in this crime. Without ever revealing what

 this tantalizing bit of information was, Det.Vanoy responded yes, and then

 continued “since Mr. Davis at that point was a potential suspect . . . .” (Tr. at

 1320–21.) This unexplained tip apparently permitted Det.Vanoy to focus all of his

 energies on demonstrating for the jury that Roland Davis was indeed guilty of this

 crime.

 178. Detective Vanoy later testified about his interrogation of Roland Davis in

 Florida. He testified that he surreptitiously tape-recorded the interview. (Tr. at

 1330.)10 Detective Vanoy then continued to testify about the content and details of



 9
   To the extent that counsel failed to object to any of the testimony of Det. Vanoy,
 counsel’s performance fell far below the prevailing professional norms, and was
 therefore unreasonable, depriving Roland Davis of the effective assistance of
 counsel in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments. See
 Eighteenth Ground for Relief, infra.
 10
   Neither the tape of this interview nor the transcript of the tape was introduced as
 an Exhibit or authenticated by Det. Vanoy or anyone else. See Eleventh and
 Twelfth Grounds for Relief, infra. Counsel’s failure to object again fell far below
 the prevailing professional norms, was therefore unreasonable and denied Davis
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 the interrogation, and how and why he asked specific questions and his opinion of

 Davis’ truthfulness in his responses. (Tr. at 1331.) Despite the fact that the tape

 was available for playing in open court, the jury was instead provided with Det.

 Vanoy’s interpretation of the session as well as his opinion of what had occurred

 and why.

 179. Detective Vanoy testified about observing Davis’ reaction when he was

 shown Elizabeth Sheeler’s picture during this interview. He gave an extended

 answer—including his recollection of Davis’ reaction to viewing the photograph

 and his opinion of what Davis’ reaction meant: “Yeah, she kind of looks familiar.

 Not really sure. She may have requested me before. Just very non-committal, very

 wishy washy about it.” (Tr. at 1332–33.) Next Det. Vanoy testified about Davis’

 reactions when he told Davis Elizabeth Sheeler’s name: “And he kind of—she—

 Sheeler. I was thinking maybe Schuler. You know, he was kind of playing around

 with the name a little bit as if he didn’t even know who—he wasn’t putting the

 face with the name.” (Tr. at 1333.) Detective Vanoy then repeatedly opined that

 all of his efforts to get Davis to admit that he knew Elizabeth Sheeler did not jog

 Davis’ memory. (Tr. at 1334–35.)




 the effective assistance of counsel under the Fifth, Sixth, Eighth and Fourteenth
 Amendments. See Eighteenth Ground for Relief, infra.

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 180. The prosecutor and Det. Vanoy continued this dialogue. “He had a lot of

 qualifying statements throughout our contact with him. . . . So, he made a lot of

 qualifying statements and he didn’t commit to a whole lot.” (Tr. at 1337.) This

 line of questioning continued for several pages of transcript, culminating in the

 following lengthy dissertation:

              A:      Again, this came at the very end, towards the very
              end of the interview. And again, I— . . . , as best as I can
              recall it was just kind of like a—just a light bulb went
              off, because it was shortly after Mr. Davis had mentioned
              that, . . . we were trying to accuse him of killing Mrs.
              Sheeler, and I told him, . . . we have to explain why your
              DNA is in there, Roland, and he says, oh, yeah, Ms.
              Sheeler. The first time in the whole interview he called
              her Ms. Sheeler, which is what the majority of the people
              that knew Elizabeth called her, Ms. Sheeler, and that was
              very telling to me. And he then went into the fact that, oh
              yeah, I used to go over there. I mean, it was just—it was
              a 360. Oh yeah, I used to go over there. She’d call me.
              Sweet old lady. I’d go down, I’d knock on the door,
              she’d answer the door. Sometimes, I may have to wait
              for her. There was a table—as you walk into the
              apartment, there’s a table there right on the right.
              Sometimes, you know, she’d get her—lift her
              pocketbook up, take the pocketbook. He couldn’t
              remember what type of pocketbook. Sometimes he
              carried the pocketbook for her. I think he mentioned that
              he may have even locked her apartment door for her and
              then escorted her out to the cab by holding her arm.

              Q:     So, this is entirely different than his first response
              to being shown this woman’s picture?

              A:    Absolutely.

              Q:    His response to being told her name?

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              A:    Correct.

              Q:     His response to being shown—described the
              location of her apartment?

              A:    Correct.

              Q:    His response to being shown a picture of her living
              room?

              A:    Correct.

              Q:    His response to being shown a picture of the
              hallway.

              A:    Correct.

              ...

              A:   What we did from there. . . .You know, we had
              someone who was being very deceptive to us.

 (Tr. at 1348–50 (emphasis supplied).)

 181. The actions of the prosecutor in propounding this line of questions and Det.

 Vanoy in giving his running commentary about the content of the interview and the

 meaning of the responses of Roland Davis to questions and the truthfulness of

 those responses, permitted Det. Vanoy to express his opinion that Davis was lying,

 (“You know, we had someone who was being very deceptive to us”), and why and

 how he got to that belief that Davis was lying. This usurped the role of the jury to

 determine the truthfulness of Roland Davis in his statement to the police.

 Detective Vanoy had not been qualified as an expert in order to give his opinion

 about the truthfulness of Roland Davis. Even if he had been so qualified, giving an


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 opinion that a witness is truthful or not truthful is exclusively within the province

 of the jury. It is never properly the subject of opinion testimony.

 182. Permitting Det. Vanoy to provide his opinions about the content of Davis’

 statements and his reactions to Det. Vanoy’s questions and interrogation

 techniques, and his truthfulness deprived Davis of his rights of confrontation, as

 well as due process, a fair trial, and the effective assistance of counsel in violation

 of the Fifth, Sixth, Eighth, and Fourteenth Amendments.

 183. The right to confrontation as well as the right to a jury trial includes the right

 to have the jury make the critical determinations as to a witness’ or declarant’s

 truthfulness. While statements of a criminal defendant may generally be

 admissible as statements against interest, this general rule does not give the police

 officer who conducted the interrogation, interview, or any other purported experts,

 a free pass to comment on the truthfulness of those statements where they do not

 agree with the state’s theory. The jury would have no opportunity to determine for

 themselves if the declarant is reliable or trustworthy and, accordingly, how much

 weight should be accorded the statements.

 184. Here, the state was permitted to present its interpretation of the statements

 and reactions of Roland Davis and then to present its interpretation of Davis’

 truthfulness through Det. Vanoy. Davis was unable to challenge these assertions

 by Det. Vanoy in any meaningful manner. See Crawford v. Washington, 541 U.S.

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 36, 51 (2004) (“Leaving the regulation of out-of-court statements to the law of

 evidence would render the Confrontation Clause powerless to prevent even the

 most flagrant inquisitorial practices. Raleigh was, after all, perfectly free to

 confront those who read Cobham’s confession in court.”). The statements taken by

 Det. Vanoy from Roland Davis are testimonial in nature. See id. at 52

 (“Statements taken by police officers in the course of interrogations are also

 testimonial under even a narrow standard.”).

 185. While the statements themselves may (or may not) have been admissible as

 statements against interest under the Ohio Rules of Evidence, Det. Vanoy’s

 ongoing commentary and opinion testimony is not admissible. Davis had no

 ability to meaningfully cross examine Det. Vanoy about his opinions about Davis’

 truthfulness or his reactions. The error in permitting Det. Vanoy to present his

 unsupported opinions is compounded by the fact that the tape and transcript were

 available and provided far better evidence of the content of the interrogation than

 Det. Vanoy’s refreshed recollection and commentary. See Eleventh and Twelfth

 Grounds for Relief, infra.

 186. There was no reason for Det. Vanoy to testify as to the contents of Davis’

 interrogation. The tape was available as was a transcript of the tape. Both the tape

 and the transcript were provided to the jury (along with a tape player) during their

 deliberations at both phases of the trial. Clearly, the best evidence of the content of

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 the tape was the tape itself. The second best evidence of the content of the

 interrogation was the transcript of the tape. The least reliable evidence of the

 content of the interrogation was Det. Vanoy’s refreshed recollection. (Tr. at 1337

 (“I obviously did some review before I came in here today.”).)

 187. Nevertheless, Det. Vanoy was permitted to testify about his recollection of

 the interrogation, and give his damning opinion about the meaning of the evidence,

 the motivation and meaning of all of Roland Davis’ responses to his questions, and

 his opinion that Davis was lying during the interrogation. All this was unnecessary

 and improper and highly prejudicial given the existence of the tape. This was a

 police officer testifying under oath that Davis as a liar. Detective Vanoy

 essentially told the jury that Davis was the killer.

 188. Detective Vanoy’s testimony usurped the role of the jury to determine

 truthfulness, and denied Davis the right to confront witnesses, due process, a fair

 trial, and the effective assistance of counsel in violation of the Fifth, Sixth, Eighth

 and Fourteenth Amendments. See Eleventh and Twelfth Grounds for Relief, infra.

 189. Detective Vanoy later testified that after Roland Davis had been arrested for

 the murder of Elizabeth Sheeler, Det. Vanoy again interrogated him. The second

 interview was not recorded. (Tr. at 1355.)11 The prosecutor again requested Det.


 11
    The decision not to record that interview was apparently solely Det. Vanoy’s
 decision. (Tr. at 1375.) This second interrogation lasted five hours. Even though
 it was not taped, Det. Vanoy only testified to one particular set of questions that in
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 Vanoy to give his opinion as to whether Davis had changed his story between one

 interview and the other. (Tr. at 1355 (“Okay. During the course of this interview,

 is there anything significantly different that Mr. Davis tells you than his first

 interview, or the final part of his first interview. . .”).) Detective Vanoy was again

 permitted to give his opinion that Davis had lied in the first interview. (Tr. at 1355

 (“However, one thing that stood out that was substantially different from what he

 had told us in Florida was he admitted that he had lied to Detective Mummy about

 knowing Mrs. Sheeler. And I asked him why had he lied to us about that, and he

 said, because you guys were trying to pin the murder on me. You’re trying to say

 that I killed Mrs. Sheeler.”).) This again permitted Det. Vanoy the opportunity to

 express his opinion that Davis was lying—an opinion that he was not qualified to

 give and that usurped the legitimate function of the jury.

 190. On redirect examination, the prosecutor again attempted to have Det. Vanoy

 explain that Davis had lied in the first recorded statement even though the tape was

 available to play for the jury:

              Q:     . . . [I]f Mr. Davis . . . had made a significantly
              different version of events about anything related to his
              involvement with Mrs. Sheeler, would you have done a
              recorded statement?



 his mind indicated that Davis was lying. Compare this to Det. Vanoy’s lengthy
 testimony about the contents of the first two hour interview which was taped and
 was available on tape and as a transcript.

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              A:     Yes, and we tried to do a recorded statement after
              the fact that Mr. Davis would not give us one.

 (Tr. at 1383.) Not only did this permit Det. Vanoy to again re-emphasize his

 opinion that Davis was lying, it permitted him to state that Davis had refused to be

 interviewed a third time—clearly a comment on Davis’ exercise of his right to

 remain silent under the Fifth, Sixth, Eighth and Fourteenth Amendments.

 191. Additionally, during re-direct examination, the prosecutor asked Det. Vanoy

 if Davis had ever provided information about Randy Davis and Mrs. Sheeler. (Tr.

 at 1383–84.) The prosecutor’s questions clearly commented on Davis right to

 remain silent and shifted the burden of proof from the state to Davis in violation of

 the Fifth, Sixth, Eighth and Fourteenth Amendments.

 192. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 193. This Court should issue the writ.




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 Sixth Ground for Relief:

 THE TRIAL COURT’S REFUSAL TO GRANT DAVIS’ REQUEST TO ADMIT REPORTS
 PREPARED AND RELIED UPON BY THE WITNESS OF A PARTY OPPONENT—THE
 STATE’S DNA EXPERT WITNESS—DENIED DAVIS HIS RIGHT TO CONFRONT
 WITNESSES AGAINST HIM, A FAIR TRIAL, DUE PROCESS AND A RELIABLE
 SENTENCING DETERMINATION IN VIOLATION OF THE FIFTH, SIXTH, EIGHTH AND
 FOURTEENTH AMENDMENTS.

 194. The state presented the testimony of Meghan Clement, the technical director

 of the forensic identity testing department at Laboratory Corporation of America

 Holdings, Incorporated. (Tr. at 1655.)

 195. Clement testified that she was responsible for supervising the technologists

 and the quality assurance and quality control measures in the lab. She was also

 responsible for interpreting all the raw data of all the cases analyzed. (Tr. at 1656.)

 She had been working in the area of DNA forensics for seventeen to eighteen

 years. (Tr. at 1658.)

 196. During cross examination, Clement identified the Lab Corp, Inc. Amended

 Certificate of Analysis. (See Tr. at 1730 (identifying Def.’s Ex. L).) She testified

 that she personally prepared that report document based on the testing she

 personally performed. (Tr. at 1730–31.)

 197. Clement testified that there were three areas on the fitted sheet taken from

 the victim’s bedroom that contained male DNA, based on Y-STR testing. Those

 samples were identified as Items 4.4, 4.6 and 4.7. (Tr. at 1684.) The sample areas

 had a mixed sample of DNA. (Tr. at 1692.)

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 198. At times, Clement testified that Davis “could not be excluded” as a possible

 contributor of that DNA. (Tr. at 1686; 1692; 1696.) This language is more

 scientifically accurate and in accordance with the terminology used in the

 Amended Certificate of Analysis. (See Def.’s Ex. at 2–3.)

 199. At other times, however, Clement misleadingly individualized the test

 results by testifying that the tests “matched” Roland Davis, using this improper

 individualizing language repeatedly throughout her testimony. (Tr. at 1686; Tr. at

 1688–90; Tr. at 1692–93; Tr. at 1695–96; Tr. at 1765.)

 200. Clement dramatically exacerbated this improper characterization of her test

 analysis by explicitly equating an inability to exclude Roland Davis with definitive

 individualized identification of Roland Davis: “Q: You said you can’t exclude

 him, so it matches him. A: That’s correct.” (Tr. at 1686.)

 201. Further muddying the waters, Clement also testified that there was “not

 exactly” a “match” to Roland Davis from the autosomal testing, and that she

 couldn’t exclude him, but immediately followed that statement by asserting that

 “the characteristics do match him.” (Tr. at 1695–96.) She also later testified on

 cross exam that “the major profile of the evidence . . . match[es] Mr. Davis” and

 that “Mr. Davis happens to match the evidentiary material.” (Tr. at 1765.)

 202. Notably, however, Clement testified that male relatives of Roland Davis

 could not be excluded. (Tr. at 1686–87.) Moreover, Clement specifically testified

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 that Roland Davis’ brother Randy Davis “could not be excluded as a source of the

 DNA evidence. (Tr. at 175657.)

 203. This result is reflected on the second page of the Amended Certificate of

 Analysis which was Defendant’s Exhibit L, which provides that “Roland Davis

 and his paternal relatives cannot be excluded as a source of the male genetic

 material in these samples.” (Def.’s Ex. L at 2 (emphasis supplied).)

 204. Clement also testified regarding the specifics of autosomal testing and the

 data obtained from that testing. This resulted in thirteen separate loci or areas of

 DNA that were identified in the sample. (Tr. at 1733.) This is reflected on the

 third page of the Amended Certificate of Analysis which was Defendant’s Exhibit

 L. She further testified that the DNA that was recovered from the fitted sheet was

 not from semen. (Id.)

 205. The thirteen separate loci, as well as the gender DNA that were tested and

 identified on page three of the Amended Certificate of Analysis include D3S1358,

 vWA, FGA, D8S1179, D21S11, D18S51, D5S818, D13S317, D7S820, D16S539,

 THO1, TPOX, CSF, and Amelogenin.

 206. Listed next to each of these loci was a list of the corresponding allele of

 Roland Davis, the corresponding allele of Elizabeth Sheeler, the corresponding

 allele found in sample 4.6 of the fitted sheet and the corresponding allele found in

 sample 4.7 of the fitted sheet. (Def.’s Ex. L at 3.)

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 207. The alleles identified in sample 4.6 and 4.7 did not “match” at every loci

 with Davis. There were additional alleles that appeared in these samples.

 208. Clement testified while reviewing the Amended Certificate of Analysis that

 these additional alleles were all consistent with Sheeler’s DNA profile and the fact

 that 4.6 and 4.7 were mixed samples did not preclude Davis being a major

 contributor. But she also acknowledged, again while reviewing this report, that

 there was additional activity in several of the loci that could be a different allele—

 not attributable to Davis. (Tr. at 1744–45.)

 209. Moreover, Sheeler’s blood had degraded to a point where no alleles could be

 determined for at least four of the loci. (Tr. at 1746.) Clement also acknowledged

 that in certain loci, there was not a clear indication of major profile versus minor

 profile so those loci were not included in the statistical estimate. (Tr. at 1749.)

 210. Defense counsel also cross examined Clement concerning the issues of the

 similarity of DNA profiles of male relatives. Clement testified that there was no

 study she was aware of that compared related individuals across the thirteen (13)

 loci. (Tr. at 1720.) Yet, incredibly, Clement testified on re-direct exam that she

 would not have needed to test Randy Davis’ DNA to somehow exclude him. (Tr.

 at 1757.)

 211. The third page of the report also provided that the statistics about which

 Clement testified were the “probability of randomly selecting an unrelated

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 individual with a DNA profile consistent with the major profile obtained from 4.6

 which matches Roland Davis” at twelve of the tested loci. (Def.’s Ex. L at 3

 (emphasis supplied); see also Tr. at 1767 (“I use the word unrelated individuals

 because we’re talking about a specific profile in a general population of unrelated

 individuals. That’s the calculation that’s being performed. What is the

 approximate frequency or probability of this profile being found in a particular

 ethnic population, and it differs from ethnicity to ethnicity.”).)

 212. There was no testimony from Clement about the probability of randomly

 selecting a related individual such as Randy Davis who might have a DNA profile

 that was consistent with the test results, despite the fact that the state was in

 possession of DNA material from Randy Davis that could have been tested.

 213. No objection was raised by the state to the cross examination on these

 subjects or to the use of Defense Exhibit L in cross examination.

 214. Defense counsel subsequently moved for admission into evidence of

 Defense Exhibit L, the Amended Certificate of Analysis that Clement prepared and

 from which she testified, offering several reasons for its admissibility. (Tr. at

 1795–97.) The state objected, claiming the report was hearsay. (Tr. at 1796.)

 215. The court sustained the objection, and excluded the report finding that “the

 jury certainly heard everything that she testified to and I’ll argue it that way, which




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 isn’t hearsay as the report could be. I’ll sustain the objection on that basis.” (Tr. at

 1798.) Defense counsel then proffered the report. (Tr. at 1798.)

 216. Defense counsel subsequently discussed much of what was raised in

 Clement’s cross examination during closing argument. (Tr. at 1867, 1892–95.)

 Counsel likewise relied on page three of Defense Exhibit L as a demonstrative

 exhibit to illustrate their argument. (Tr. at 1893, 1970.)

 217. The jury requested this exhibit during deliberations. (Tr. at 1970 (“Can we

 have the DNA statistics of 4.6, 4.7 of Ms. Clement?”).) Defense counsel requested

 that the court reconsider its ruling to exclude the report as an exhibit. The court

 refused and instructed the jury that they had all the exhibits admitted during the

 trial. (Tr. at 1972–73.)

 218. Reports prepared by an expert witness and relied on by that witness during

 her testimony and subject to cross examination are admissible as exhibits when

 requested by the party opponent.

 219. The trial court’s exclusion of this report was prejudicial constitutional error

 and a denial of due process and a fair trial. It is not entirely clear on what basis the

 court actually excluded the exhibit. At one point the judge suggested that the

 information had already been testified to, (Tr. at 1798), and at another point the

 judge suggested that the report was hearsay and not admissible as a business

 record, (Tr. at 1971–72).

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 220. Regardless of the trial court’s stated reasons, the exclusion of this exhibit

 denied Davis his right to confront witnesses, to due process, to a fair trial, and to a

 fair and reliable sentencing determination

 221. The report was highly probative and relevant evidence, particularly given the

 complexity of the thirteen loci; the identifiers for those thirteen loci; the alleles of

 Roland Davis; the alleles of Sheeler; the alleles in Item 4.6 and the alleles in Item

 4.7; Clement’s repeated and improper individualization testimony that purportedly

 “matched” Roland Davis based on the DNA analysis; the report’s explicit language

 that related individuals—especially male relatives of Roland Davis—could not be

 excluded; and the third-party-culpability defense mounted by Roland Davis that

 implicated his brother Randy Davis from whom the state possessed biological

 materials which the state refused to subject to DNA analysis.

 222. The fact that Clement testified regarding those facts—and was cross

 examined on this document—does not substitute for the probative value of the

 actual exhibit which contained the table demonstrating each of those alleles in each

 of the persons and samples tested, and other information critical to properly

 understanding and weighing Clement’s testimony. The actual exhibit

 demonstrated the differences and discrepancies raised on cross examination.




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 223. This exhibit clearly demonstrated the problems with Clement’s testimony

 that counsel raised on cross examination. More importantly, there was nothing

 prejudicial about the report. The state did not argue the report was prejudicial.

 224. The fact that an expert prepares a report and then testifies about the report

 does not preclude the admission of the report as an exhibit or its use as a

 demonstrative exhibit that reflects the evidence.12

 225. Similarly, the fact that an expert testifies to the contents of a report does not

 preclude its admission into evidence. To the contrary: unless the person who

 prepared and signed the report is available to testify to the report and be cross

 examined on the contents and accuracy of the report, the report would not be

 admissible under the Sixth Amendment’s Confrontation Clause. See Melendez-

 Diaz v. Massachusetts, 129 S. Ct. 2527, 2542 (2009) (applying Crawford v.

 Washington, 541 U.S. 36, 50–51 (2004)).




 12
    If this was the state of the law, the transcript of Davis’ taped interview would
 also not have been admissible because Det. Vanoy had testified about its contents.
 See Fifth Ground for Relief, supra, and Eleventh and Twelfth Grounds for Relief,
 infra. Detective Vanoy testified to everything on the tape so if the trial court’s
 rationale about someone already testifying to the contents is correct, the tape
 should never have been admitted, let alone the transcript of the same tape.
 Although the tape should not have been admitted, the rationale for that argument is
 because the admission without playing the tape in the courtroom denied Davis the
 right to be present at a critical stage of the trial, not that the information was
 already testified to.

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 226. Because the report and its preparer were subject to cross examination, the

 report was not hearsay. Defense Exhibit L was the report that was prepared by

 Clement. Clement testified about the report and was cross examined about the

 report. Therefore, the report was admissible.

 227. Nothing in the Ohio Rules of Evidence prevented the admission of this

 exhibit—especially where its admission was moved by the opposing party. The

 exclusion prevented the jury from having access to information about complicated

 DNA loci, and alleles from Davis, Sheeler, the 4.6 sample and the 4.7 sample, all

 contained across 13 different locations. This was particularly prejudicial in light of

 Clement’s repeated and improper individualization testimony that there was

 purportedly a “match” Roland Davis based on the DNA analysis. The report’s

 explicit language that male relatives of Roland Davis could not be excluded was

 critical to Davis’ defense implicating his brother Randy Davis.

 228. The fact that Clement testified to the information, or that the jury saw from a

 distance the charts in the report during counsel’s closing argument does not mean

 that the detailed and complex information contained in the report could be easily

 recalled by the jury during deliberations.

 229. Defense Exhibit L, the chart used by counsel in closing argument, contained

 the same table requested by the jury during deliberations. The report was a

 demonstrative exhibit that helped clarify what Clement testified to regarding these

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 specific alleles. It was admissible as an exhibit and was improperly excluded.

 This was a visual aid that showed the results of Clement’s DNA testing for the

 jury’s aid in understanding highly complex evidence upon which the state

 primarily rested its case.

 230. Defense Exhibit L was a report prepared by the state’s expert and provided

 to the defense in discovery. The state offered Clement as its expert witness in

 support of its theory that DNA from the bedding implicated Roland Davis.

 Clement repeatedly testified that the DNA test “matched” Roland Davis, even

 though the evidence only failed to exclude Roland Davis and his paternal relatives.

 This is a critical difference, especially with a third-party-culpability theory asserted

 by the defense.

 231. All of the evidence from the trial phase was wrongly re-admitted during the

 sentencing phase, see Fifteenth Ground for Relief, infra, but Defense Exhibit L

 was not subject to this blanket re-admittance, having been excluded during the trial

 phase.

 232. The data on which Clement based her testimony and conclusions elicited by

 the state were contained in Defense Exhibit L. The actual data contained in the

 report raised significant and legitimate questions about Clement’s conclusions

 which were the subject of cross examination by defense counsel.




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 233. The jury was entitled to hear, see, and examine the data upon which Clement

 based her conclusions during their deliberations—especially since it was the

 subject of vigorous cross examination. The state had no basis upon which to object

 to the data—on which its expert based her opinion—being provided the jury.

 234. Exclusion of this exhibit denied Davis the opportunity to fully confront the

 state’s expert. While Davis was able to cross examine Clement, the jury was

 prevented from examining the critical document that formed the basis of Clement’s

 opinion and the basis for cross examination during their deliberations.13

 235. The court’s exclusion of Defense Exhibit L denied Davis his right to

 confront witnesses, to due process, to a fair trial, and to a fair and reliable

 sentencing determination as well as the effective assistance of counsel in violation

 of the Fifth, Sixth, Eighth, and Fourteenth Amendments. This was prejudicial to

 Davis, because his conviction and sentence were based primarily on forensic

 evidence.

 236. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 13
   To the extent that counsel did not fully object to the exclusion of Clement’s
 report as an exhibit, or in response to the jury’s request, counsel’s performance fell
 far below the prevailing professional norms and was therefore unreasonable,
 denying Davis the effective assistance of counsel under the Fifth, Sixth, Eighth,
 and Fourteenth Amendments. See Eighteenth Ground for Relief, infra.



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 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 237. This Court should issue the writ.




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 Seventh Ground for Relief:

 THE PRESENTATION OF “EXPERT” TESTIMONY WITHOUT FIRST ESTABLISHING
 EITHER THE SCIENTIFIC BASIS OR THE QUALIFICATIONS OF THE “EXPERT”
 DEPRIVED DAVIS OF DUE PROCESS AND A FAIR TRIAL.

 238. Before presenting “expert” testimony, the state must establish the scientific

 or other basis for the testimony and establish that the “expert” has the

 qualifications and training to render an opinion. Daubert v. Merrill Dow

 Pharmaceuticals, Inc., 509 U.S. 579, 589–95 (1993).14

 239. Detective Elliget of the Newark Police Department testified at trial that he

 was a “criminalist,” and thus “involved in the processing of crime scenes; the

 collection and preservation of evidence; identification; fingerprints; processing of

 fingerprints; photography. We’ll do lab analysis to include drug analysis. I’m


 14
    The recent report by the National Academy of Sciences on the state of forensic
 science in the United States concluded that rigorous and mandatory certification
 programs for forensic scientists are and have been lacking, as have been strong
 standards and protocols for analyzing and reporting of evidence. Furthermore,
 there is a dearth of peer-reviewed, published studies establishing the scientific
 bases and reliability of many forensic methods. See Nat’l Acad. of Sci.,
 Strengthening Forensic Science in the United States: A Path Forward (The Nat’l
 Acad. Press 2009) (hereinafter NAS Report).

 The committee identified and discussed several issues in forensic science that call
 into question—if not entirely undermine—the proclaimed reliability (and
 infallibility) of several non-DNA forensic identification techniques. The issues
 pertained to: (1) inadequate or no research regarding base rates, error rates,
 measurement error rates, and minimizing the risk of bias in forensic examinations;
 (2) inadequate or no standards in determining a match, in forensic terminology, in
 report writing, and in forensic science education; (3) the lack of mandatory
 certification for forensic examiners; and (4) inadequate funding.

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 trained in blood stain pattern analysis.” (Tr. at 1032–33.) Counsel for Davis

 volunteered a blanket stipulation to his qualifications. (Tr. at 1034–35).15 The

 state accepted the stipulation. (Tr. at 1035.)

 240. Detective Elliget was then permitted to testify about a wide range of matters

 including his collection and storage of evidence, his investigation, and his

 purported and numerous areas of “expertise.” Neither defense counsel nor the

 court required the state to establish a proper foundation pursuant to Daubert for the

 admission of any of Det. Elliget’s testimony concerning the results of his

 observations based on his “expertise” or the results of any of the testing that he

 conducted.

 241. Counsel’s apparent defense was that Roland Davis’ brother Randy Davis

 committed the crime. Detective Elliget conceded that the forensic evidence about

 which he testified was the only basis for the prosecution’s position that only a

 single male (i.e., Roland Davis) committed the offense. (Tr. at 1505–06.) Indeed,

 Roland Davis only became a suspect in this case based on forensic evidence, while

 the state has steadfastly refused to subject biological evidence from Randy Davis

 to DNA testing. See Twenty-Second Ground for Relief, infra.


 15
   “I’m more than happy to stipulate to Detective Elliget’s qualifications. He and I
 have spoken on numerous different occasions and we would agree and stipulate
 that he is an expert in criminology and crime scene investigation, collection of
 evidence . . . [a]nd preservation.” (Tr. at 1034–35.)

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 242. A court can properly apply the Daubert factors to any type of experts.

 Kumho Tire v. Carmichael, 526 U.S. 137, 147 (1999). The failure of defense

 counsel and the court to require the state to establish an appropriate foundation for

 Det. Elliget’s “expert” testimony denied Davis’ rights to confront witnesses against

 him, due process, a fair trial and the effective assistance of counsel under the Fifth,

 Sixth, Eighth, and Fourteenth Amendments.

    A.     Detective Elliget’s Testimony

           1.    Fingerprints

 243. Detective Elliget testified that he had been trained in the collection,

 processing, classification and identification of fingerprints through the FBI. (Tr. at

 1412.) He failed to identify the extent, scope, nature, or duration of this training

 through the FBI, or any assessment requirements associated with this training.

 244. Likewise, Det. Elliget failed to establish that he was a member of, or had

 undergone any training and/or assessments administered by, either of the two

 agencies identified in the NAS Report’s detailed discussion of friction ridge

 analysis, the International Association for Identification and the Scientific Working

 Group on Friction Ridge Analysis, Study and Technology. See NAS Report at

 136–37.

 245. Detective Elliget testified at some length about fingerprint evidence and the

 wiping of fingerprints. (Tr. at 1413–19; Tr. at 1426–32; Tr. at 1453–57.)


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 Detective Elliget then gave ongoing observations about the collection and

 examination of fingerprint evidence, the absence of fingerprint evidence, and the

 wiping of fingerprint evidence throughout his testimony about the crime scene

 investigation of the victim’s apartment. (See Tr. at 1426–47.)

 246. At no time did Det. Elliget offer, nor did defense counsel demand that he

 establish, the scientific basis or the scientific validity for this “expert” testimony,

 despite the development in recent years of a wide body of evidence and study

 demonstrating that no scientific basis exists for much of the field of fingerprint

 identification.16

           2.        Blood Splatter
 247. Detective Elliget testified that he had attended some classes on blood spatter

 pattern analysis. (Tr. at 1420.) Detective Elliget failed to identify the extent,

 scope, nature, or duration of any such training, or any assessment requirements

 associated with any such training.

 248. Likewise, Det. Elliget failed to establish that he was a member of, or had

 undergone any training and/or assessments administered by, either of the two

 agencies identified in the NAS Report’s detailed discussion of bloodstain pattern

 analysis that have or recommend qualifications, the International Association for

 16
   See, e.g., NAS Report at 136–45 and publications cited therein; David Stoney,
 Fingerprint Identifications in Modern Scientific Evidence: The Law and Science of
 Expert Testimony § 21–2.3.1, at 72 (David L. Faigman et al. eds., West 1997).

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 Identification and the Scientific Working Group on Bloodstain Pattern Analysis.

 See NAS Report at 178.

 249. Detective Elliget testified that he formerly “subscribed” to the International

 Association of Blood Stain Pattern Analysis Analysts, but that his “subscription

 has expired.” (Tr. at 1420.)

 250. Detective Elliget also failed to establish that he possessed the “minimum”

 requirements for interpreting and integrating bloodstain patterns into a

 reconstruction that are specifically enumerated in the NAS Report. See NAS

 Report at 177.17 The NAS Report states that an emphasis on experience in blood

 stain pattern analysis over scientific educational foundations is “misguided, given




 17
      These include:
        an appropriate scientific education;
        knowledge of the terminology employed (e.g., angle of impact, arterial
         spurting, back spatter, castoff pattern);
        an understanding of the limitations of the measurement tools used to make
         bloodstain pattern measurements (e.g., calculators, software, lasers,
         protractors);
        an understanding of applied mathematics and the use of significant figures;
        an understanding of the physics of fluid transfer;
        an understanding of the pathology of wounds; and
        an understanding of the general patterns blood makes after leaving the
         human body.

 NAS Report at 177.



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 the importance of rigorous and objective hypothesis testing and the complex nature

 of fluid dynamics.” See NAS Report at 178.

 251. Detective Elliget then testified about the meaning of various types of blood

 patterns and his analysis of these patterns. (Tr. at 1421–23.) Detective Elliget also

 testified about his observations—interpreted because of his blood spatter

 “expertise”—of the meaning of the blood patterns found in the apartment. (Tr. at

 1423–1547.)

 252. Detective Elliget testified about being able to tell the difference between

 blood from a wound and expirated blood. (Tr. at 1470–71.)

 253. Detective Elliget and the prosecutor openly speculated about the meaning of

 the presence (or absence) of blood droplets. (Tr. at 1472–73.)

 254. Detective Elliget gave his unsupported “expert” opinion that “the patterns

 here that are present appeared to be consistent with a pattern of a hand being blood

 covered and the hand grabbing the item and pulling off.” (Tr. at 1476.) No basis

 for such an opinion was ever offered.

 255. The state relied on Det. Elliget’s blood spatter testimony to prove vital

 elements of the charges against Davis.

 256. At no time did Det. Elliget offer, nor did counsel demand that he establish,

 the scientific basis or the scientific validity for this “expert” testimony, despite the

 development in recent years of a wide body of evidence and study demonstrating

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 that no scientific basis exists for much of the field of blood spatter analysis, and

 that “[t]he uncertainties associated with bloodstain pattern analysis are enormous.”

 See NAS Report at 178–79 and publications cited therein.

           3.    Bodily Fluids/Presumptive Tests
 257. Detective Elliget testified about testing the apartment for materials that

 appeared to be and were consistent with the presence of blood or other bodily

 fluids. (Tr. at 1430; Tr. at 1432–33; Tr. at 1437–47.) Detective Elliget also

 testified about the use of a special light to demonstrate the presence of blood that

 was invisible to the naked eye. (Tr. at 1448–53.)

 258. Despite establishing no scientific basis for this analysis, or that Det. Elliget

 had any specific training in this technique, Det. Elliget was permitted to give his

 “expert” opinion on the meaning of this evidence. (Tr. at 1450 (“Q. What is

 significant as an expert in this particular photograph?”); (Tr. at 1452 (“Can you—is

 that—in your opinion as an expert, is that pattern there descriptive enough to make

 an assessment about it at all?”).)

           4.    Other “Expert” Testimony
 259.   Elliget was permitted to testify as an “expert”—in general—despite the

 absence of qualification or scientific basis for his opinion testimony.

 260. Detective Elliget testified about characteristics of hair, hair color, and DNA

 evidence available from hair found at the scene. (Tr. at 1463–64.) The NAS


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 Report exposes the flaws and unreliability of much of the “science” related to

 analysis of hair evidence. See NAS Report at 155–61.

 261. Detective Elliget testified as some type of “expert” over defense counsel’s

 objection, about finding a number of purses and whether those purses “appeared to

 have the contents you might expect a purse to have in terms of identification,

 photographs, anything of that nature[.]” (Tr. at 1480.)

 262. Detective Elliget testified to matters related to DNA testing and procedures,

 despite the fact that counsel for Davis explicitly and repeatedly objected on the

 basis that Det. Elliget was not an expert on DNA. (See, e.g., Tr. at 1540–46.)

 Nevertheless, the prosecutor explicitly referred to Det. Elliget as an expert in

 relation to the DNA evidence during closing argument. (Tr. at 1918 (“I’m not the

 expert, these folks are. And as long as DNA has been around and as many cases

 these folks have done—that is, these folks being this officer, Detective Elliget, Dr.

 Tejwani, Meghan Clement, and their degrees and stuff, they know these things

 more than we can hope to know, if we hope to know it at all.” (emphasis

 supplied)).)

 263. Detective Elliget even went so far as to testify that he decided to have

 certain evidence tested using Y-STR DNA testing rather than mitochondrial DNA

 testing because “YSTR [sic] is cheaper than mitochondrial, but it also is a lot

 quicker and more expedient and more definitive.” (Tr. at 1545 (emphasis

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 supplied).) Detective Elliget gave no scientific basis for this assertion that Y-STR

 DNA testing is more definitive.

 264. Throughout the direct examination, Det. Elliget repeatedly was asked and

 answered questions that required either a scientific basis or considerable training

 and education in order to form the basis for his “expert” opinion. None was

 offered. None was requested by defense counsel, despite the development in

 recent years of a wide body of evidence and study demonstrating substantial and

 serious flaws with the forensic “science” and its application that was the entire

 basis of Det. Elliget’s testimony.

 265. During redirect examination, the prosecutor improperly inquired of Det.

 Elliget whether the same evidence he had examined had been made available to the

 defense for observation and testing.18 Detective Elliget replied in detail that all of

 the evidence had been made available to the defense, implying that because they

 did not have any evidence or “expert” opinion to the contrary, his conclusions were

 obviously accurate. (Tr. at 1535.)




 18
   This type of question from the prosecutor was not accidental or an isolated
 instance. The prosecutor repeated this misconduct while questioning witness
 Clement, asking her if the forensic evidence had been provided to a defense expert.
 (Tr. at 1763–64.) The prosecutor elicited the same kind of testimony from witness
 Tejwani. (Tr. at 1602.) This misconduct was the basis for a motion for a mistrial,
 which the court denied. See Sixteenth Ground for Relief, infra.

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 266. Detective Elliget also speculated throughout his testimony about the

 meaning of particular forms of evidence and how the police created a theory of

 guilt out of their speculation about various pieces of evidence. (Tr. at 1544 (“this

 whole thing is just to explain the reasoning process and not to try to qualify you as

 some expert”).)

 267. Despite this assurance by the prosecuting attorney, Det. Elliget was

 repeatedly asked his expert opinion, and the prosecutor referred to him as an expert

 in DNA evidence during closing argument. But Det. Elliget was never qualified as

 an expert, in DNA or any other forensic evidence about which he testified, nor

 were the fields for which he claimed expertise ever subjected to the gatekeeping

 requirements of Daubert and Kumho Tire.

 268. Detective Elliget was likewise asked and did vouch for the credibility of the

 Columbus Police Crime Lab and the validity of the work performed in that lab, as

 well as the quality and accuracy of the work. (Tr. at 1537–40.) While continuing

 to bolster the validity of his own opinions (as well as those of the Columbus Police

 Department), Det. Elliget also speculated about the state of the presence or absence

 of evidence and what that presence or absence meant to the prosecution of Roland

 Davis. (Tr. at 1546.)

 269. Finally, the prosecutor thanked Det. Elliget in front of the jury for devoting

 so much time and effort to solving this crime for the community. (Tr. at 1547.)

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      B.   Testimony Was Improper

 270. Detective Elliget had no specific qualifications to give the various expert

 opinions he provided. The state never tendered Det. Elliget as an as expert witness

 on any subject. The prosecutor also did not acknowledge that the “science” upon

 which Det. Elliget testified was seriously flawed. The prosecutor did not provide

 any materials to defense counsel that revealed that Det. Elliget’s testimony was

 flawed, unreliable and/or based on unreliable “science.” The prosecutor presented

 Det. Elliget as an educated, experienced, highly qualified “expert,” and his

 “expert” testimony as reliable, scientifically based and unimpeachable.

 271. Counsel never stipulated that Det. Elliget was qualified to give “expert”

 opinion on every subject, although they did not object at any point.19

 272. Because Det. Elliget was not actually proffered as an expert in any subject,

 neither the trial court nor counsel were able to properly assess his qualifications

 and determine whether in fact Det. Elliget was an expert in the field related to his

 “expert opinion” testimony.




 19
   Counsel’s blanket stipulation to Davis’ qualifications, as well as counsel’s
 failure to object to his “expert” testimony and the absence of any scientific basis
 for the testimony, fell far below the prevailing professional norms for counsel in a
 capital case in 2005, and was therefore unreasonable and deprived Davis of the
 effective assistance of counsel in violation of the Fifth, Sixth, Eighth, and
 Fourteenth Amendments. See Eighteenth Ground for Relief, infra.

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 273. Before a witness is permitted to give expert testimony that witness must first

 be determined to be an expert in the field in which he offers his opinion. Similarly,

 the subject matter about which the expert will testify must be accepted as

 scientifically reliable.

 274. The forensic evidence Det. Elliget provided was scientifically unsupported

 and unsupportable, misleading, and/or unreliable, because neither Det. Elliget

 nor—more critically—the forensic science community has ever: (1) adequately

 tested these procedures to ensure that they were reliable and valid; (2) collected

 base rate data regarding different characteristics or features, such as hair

 characteristics or blood spatter analysis; (3) conducted rigorous research to identify

 unseen and unconscious contextual biases; (4) developed and implemented

 procedures aimed at minimizing the impact of contextual biases; and (5) conducted

 rigorous proficiency testing to ensure that its examiners were accurate and

 competent at their respective tasks.

 275. The failure to demand that the state present qualified experts and to present a

 scientific basis for the “expert” opinion under Daubert, denied Davis his rights to

 confront witnesses against him, to a fair trial, and due process, as well as the

 effective assistance of counsel under the Fifth, Sixth, Eighth, and Fourteenth

 Amendments.




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 276. Detective Elliget’s testimony fails the test of scientific reliability set forth in

 Daubert, and more closely resembles, in Justice Scalia’s words, “science that is

 junky.” Kuhmo Tire, 526 U.S. at 159 (Scalia, J., concurring).

 277. The “theories or techniques” underlying Det. Elliget’s testimony were not

 ones that “can be (and ha[ve] been tested).” Daubert, 509 U.S. at 593. Nor have

 Det. Elliget’s theories or techniques “been subjected to peer review and

 publication,” either at the time of trial or since. Id.

 278. Detective Elliget’s testimony regarding hair, blood spatter, bodily fluids,

 trace and DNA evidence was critical to the state’s theory that Roland Davis—and

 Roland Davis alone—alone killed Sheeler. Yet Det. Elliget’s testing and analysis

 had no “standards controlling the technique’s operation.” Id. at 594.

 279. A lack of quality of forensic science practice is material and exculpatory

 because it creates legitimate doubt as to the accuracy and reliability of any

 supposedly scientific identification of an individual on the basis of forensic testing.

 280. A lack of credibility is material and exculpatory because it impeaches both

 the “scientific” nature of the tests and of the “expert” who is supposedly providing

 “scientific” testimony based upon those tests.




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    C.       Davis Was Denied His Right to Due Process Because Scientifically
             Unsupported and Unsupportable, Misleading, and Unreliable
             Evidence Undermined the Fundamental Fairness of the Entire Trial.

 281. The hair, blood spatter, bodily fluids, trace, fingerprint, DNA, and other

 forensic evidence presented by Det. Elliget during Davis’ trial—evidence which

 was then wrongly re-admitted during the sentencing phase, see Fifteenth Ground

 for Relief, infra—was scientifically unsupported and unsupportable, misleading,

 unreliable and “so extremely unfair that its admission violates fundamental

 concepts of justice.” Dowling v. United States, 493 U.S. 342, 352 (1990) (internal

 quotation marks omitted). See, e.g., NAS Report at 42–48, 122–24, 132, 136–45,

 155–161, 177–79, 182–91.

 282. These errors were prejudicial to Davis because the hair, blood spatter, bodily

 fluids, trace, fingerprint, DNA, and other forensic evidence presented by Det.

 Elliget was a “critical” and “highly significant” factor in Davis’ conviction and

 death sentence. See Brown v. O’Dea, 227 F.3d 642, 645 (6th Cir. 2000) (citation

 omitted).

 283. The admission of the hair, blood spatter, bodily fluids, trace, fingerprint,

 DNA, and other forensic evidence presented by Det. Elliget—considered

 cumulatively with the unchallenged DNA evidence presented by two other

 witnesses—undermined the fundamental fairness of the entire trial.




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 284. Individually and collectively, while the scientifically unsupported and

 unsupportable, misleading, and unreliable hair, blood spatter, bodily fluids, trace,

 fingerprint, DNA, and other forensic evidence presented by Det. Elliget may have

 been relevant, its probative value was greatly outweighed by the prejudice to the

 accused from its admission. Where the evidence supporting a defendant’s

 conviction turns out to be scientifically unsupported and unsupportable, unreliable,

 misleading and invalid, it is clear that his trial was fundamentally unfair, his

 conviction unjust, and his death sentence unconscionable.

    D.     The State Failed to Disclose Material Exculpatory and Impeachment
           Evidence in Violation of Davis’ Rights Under Brady.

 285.    Detective Elliget and the state failed to disclose material exculpatory and

 impeachment evidence regarding the unreliability of hair, blood spatter, bodily

 fluids, trace, fingerprint, DNA, and other forensic evidence presented by Det.

 Elliget, as they were constitutionally required to do. See Brady v. Maryland, 373

 U.S. 83, 87 (1963).

 286. The evidence relating to the unreliability of the “science” underlying the hair

 identification, blood spatter, bodily fluids, trace, fingerprint, DNA and other

 forensic evidence presented by Det. Elliget in this case is material and exculpatory

 because it creates legitimate doubt as to the accuracy and reliability of any

 supposedly scientific identification of Roland Davis as the perpetrator of the

 crimes for which he was convicted.
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 287. Similarly, the scientific defects in the analyses performed in this case are

 material and exculpatory.

 288. Similarly, the lack of scientific credibility of the “science” underlying hair

 identification, blood spatter, bodily fluids, trace, fingerprint, DNA and other

 forensic evidence presented by Det. Elliget is material and exculpatory because it

 impeaches Det. Elliget’s credibility. First, because the tests he performed were

 not, in fact, meaningfully scientific. And second, because Det. Elliget’s

 truthfulness and credibility would be undermined by exposure of the fact that he

 failed to follow scientific protocols and procedures, failed to perform any actual

 scientific testing, failed to account for and eliminate any contextual bias,20 and yet

 provided what turns out to be misleading and unreliable testimony, both as to the

 supposed objectivity, reliability, and scientific nature of the tests and to the

 allegedly “scientific” conclusions he drew from them.




 20
    “Contextual bias” refers to any of a number of ways in which a forensic
 examiner’s analysis and resulting conclusions can be affected by the context in
 which the analysis is conducted. For instance, “[f]orensic scientists who sit
 administratively in law enforcement agencies or prosecutors’ offices, or who are
 hired by those units, are subject to a general risk of bias. Bias also is introduced
 through decisions made about evidence collection, which controls who is listed as
 a suspect.” NAS Report at 185; see also id. at 185 nn.2 & 4 (citing publications);
 id. at 122–25 (citing publications). Notably, “the traps created by such biases can
 be very subtle, and typically one is not aware that his or her judgment is being
 affected.” Id. at 185.

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 289. Det. Elliget testified that he based his “expert” opinions “upon [his]

 experience and training and a reasonable scientific certainty.” (Tr. at 1484

 (emphasis supplied).) Disclosure of the material exculpatory and impeachment

 evidence regarding the unreliability of hair, blood spatter, bodily fluids, trace,

 fingerprint, DNA, and other forensic evidence presented by Det. Elliget would

 have impeached Det. Elliget’s credibility and his testimony that was so key to

 Davis’ conviction and sentence.

 290. Defense counsel stipulated to Det. Elliget’s qualifications, but that

 stipulation was falsely induced because Det. Elliget and/or prosecutors failed to

 disclose the material exculpatory and impeachment evidence regarding the

 unreliability of hair, blood spatter, bodily fluids, trace, fingerprint, DNA, and other

 forensic evidence presented by Det. Elliget.

 291. The state has continued to fail to disclose this material exculpatory and

 impeachment evidence in subsequent proceedings in state court, including on

 direct appeal and post conviction proceedings. Indeed, the state has actively

 represented that the forensic evidence is unimpeachable.

 292. In addition, defense counsel’s stipulation to Det. Elliget’s qualifications as

 an expert in criminology and crime scene investigation and collection and

 preservation of evidence was based on counsel’s conversations about the case with

 Det. Elliget “on numerous different occasions.” (Tr. at 1034.) This, too,

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 represents a false inducement to counsel’s stipulation, since prosecutors had a

 constitutional obligation to provide this material exculpatory and impeaching

 evidence to Davis’ counsel, and/or to correct a material misrepresentation such as

 that which led Davis’ counsel to agree to the stipulation.

 293. Without the forensic evidence presented by Det. Elliget, there was little basis

 to discount Davis’ defense that his brother actually committed the crime, especially

 absent any evidence or testimony related to DNA testing regarding Davis’ brother.

 294. Consequently, there is a reasonable probability that the result of the

 proceeding would have been different, and the withheld evidence could reasonably

 be taken to put the whole case in such a different light as to undermine confidence

 in the verdict.

 295. The failure to disclose this information undermines confidence in Davis’

 convictions and requires relief.

    E.     Davis Was Denied a Meaningful Opportunity to Present a Complete
           Defense by the Failure to Disclose Material Exculpatory and
           Impeachment Evidence.

 296.    “Whether rooted directly in the Due Process Clause of the Fourteenth

 Amendment or in the Compulsory Process or Confrontation clauses of the Sixth

 Amendment, the Constitution guarantees criminal defendants ‘a meaningful

 opportunity to present a complete defense.’” Crane v. Kentucky, 476 U.S. 683,




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 690 (1986) (quoting California v. Trombetta, 467 U.S. 479, 485 (1984)); see also

 Holmes v. South Carolina, 547 U.S. 319, 324–31 (2006).

 297. Davis’ meaningful defense claim is related to his Brady claim. Detective

 Elliget’s and the state’s failure to disclose the fact that the alleged forensic

 “science” evidence was premised on nothing more than contextually biased,

 subjective and unreliable identifications and associations in turn premised on

 biased, unsubstantiated and error prone methods and techniques (i.e., unsupported

 and unsupportable, misleading, and unreliable expert testimony) deprived Davis’

 trial counsel from presenting a “complete defense.”

 298. Defense counsel stipulated to Det. Elliget’s qualifications, but that

 stipulation was falsely induced because Det. Elliget and/or prosecutors failed to

 disclose the material exculpatory and impeachment evidence regarding the

 unreliability of hair, blood spatter, bodily fluids, trace, fingerprint, DNA, and other

 forensic evidence presented by Det. Elliget.

 299.   Had this information been timely disclosed, trial counsel would have used it

 to bar Det. Elliget’s testimony, to undermine Det. Elliget’s credibility, and to

 undermine confidence and reliability in any forensic evidence that supposedly

 implicated Davis and/or excluded his brother.

 300. The failure to timely disclose the aforementioned information deprived

 Davis of the basic right to have the prosecutor’s case encounter and “survive the

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 crucible of meaningful adversarial testing.” United States v. Cronic, 466 U.S. 648,

 656 (1984).

    F.     The State’s Evidence and Argument Rendered Davis’ Trial
           Fundamentally Unfair and Violated His Right to a Jury Verdict
           Based Solely Upon the Facts of the Offense Proven Beyond a
           Reasonable Doubt.

 301.    The state knew or should have known that the hair identification, blood

 spatter, bodily fluids, trace, fingerprint, DNA and other forensic evidence

 presented by Det. Elliget lacked any indicia of reliability. Despite this knowledge

 or awareness, the state argued that Det. Elliget’s testimony was reliable and thus

 highly incriminating:

               And I could spend a lot of time going through trying to
               explain to you folks the explanations you’ve got from the
               DNA experts, but I’m not the expert; these folks are.
               And as long as DNA has been around and as many cases
               these folks have done—that is, these folks being this
               officer, Detective Elliget, Dr. Tejwani, Meghan Clement,
               and their degrees and stuff, they know these things more
               than we can hope to know, if we hope to know it at all.

               In good conscience on this evidence, the only verdicts
               reasonable are guilty of all charges.

               The likelihood of Randy Davis being a suspect is—or
               being involved in this on this evidence is zero, unless you
               believe the combined total experience of two DNA
               experts of about if I added correctly, about 37 years,
               don’t know what they’re talking about.

 (Tr. at 1917–18.)




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 302. The state’s willingness to endorse and present evidence that it knew or

 should have known was scientifically unsupported and unsupportable, misleading

 and inherently unreliable “so infected [Davis’] trial with unfairness as to make the

 resulting conviction a denial of due process.” See Darden v. Wainwright, 477 U.S.

 168, 181 (1986) (quoting Donnelly v. DeChristoforo, 416 U.S. 637, 643 (1974)).

 303.    This prosecutorial misconduct diverted the jury’s attention from the facts

 and denied Davis the opportunity to be judged based solely upon appropriate

 evidence (and argument) of every element of the offenses with which he was

 charged, proven beyond a reasonable doubt. See Apprendi v. New Jersey, 530 U.S.

 466, 476–77 (2000).

    G.     Davis’ Right to Due Process Was Violated Because Detective Elliget’s
           Scientifically Unsupported and Unsupportable, Misleading and
           Unreliable Testimony Led to the Conviction of an Innocent Man.

 304.    Detective Elliget’s scientifically unsupported and unsupportable, misleading

 and unreliable testimony ultimately led to the conviction of an innocent person,

 thus denying Davis due process. See Schulp v. Delo, 513 U.S. 298, 325 (1995);

 Herrera v. Collins, 506 U.S. 390, 404 (1993).

    H.     Davis’ Conviction Must Be Overturned Because of the Cumulative
           Prejudice from All of the Constitutional Errors.

 305.    Constitutional claims of error are to be considered cumulatively as well as

 individually. Cumulative error or the cumulative effect of prejudice from a range

 of claims may collectively provide a basis for relief whether or not the effect of

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 individual deficiencies warrants relief. See, e.g., Kyles v. Whitley, 514 U.S. 419,

 436–37 (1995) (cumulative prejudice from state’s failure to reveal multiple pieces

 of exculpatory evidence undermined fairness of trial and entitled defendant to

 relief).

 306. The cumulative prejudice from Det. Elliget’s “expert” testimony provides a

 basis for relief whether or not the effect of the individual errors related to each

 forensic subject matter warrants relief.

 307. All the evidence presented during the trial phase—including Det. Elliget’s

 “expert” testimony”—was erroneously admitted during the penalty phase of Davis’

 trial as well, to Davis’ prejudice. See Fifteenth Ground for Relief, infra.

    I.      Detective Elliget’s Scientifically Unsupported and Unsupportable,
            Misleading and Unreliable Testimony Violated Davis’ Eighth
            Amendment Right to Heightened Reliability in Capital Sentencing.

 308. Because of the unparalleled severity and irreversibility of the death penalty,

 the Eighth Amendment imposes a heightened standard “for reliability in the

 determination that death is the appropriate punishment in a specific case.”

 Woodson v. North Carolina, 428 U.S. 280, 305 (1976) (plurality opinion).

 309. This heightened need for reliability requires the provision of “accurate

 sentencing information [as] an indispensable prerequisite to a reasoned

 determination of whether a defendant shall live or die.” Gregg v. Georgia, 428

 U.S. 153, 190 (1976).


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 310. This requirement of reliability and accuracy in capital sentencing was not

 met here, because Det. Elliget’s testimony—which was scientifically unsupported

 and unsupportable, misleading and unreliable—infused the sentencing hearing’s

 fact-finding process with material and prejudicial falsehoods and/or unreliability.

 311. Given the inherently unreliable and hugely prejudicial nature of this

 evidence, and given the heightened reliability and need for accuracy in capital

 proceedings, the readmission of this evidence at the penalty phase, the

 prosecution’s argument again endorsing this evidence at the penalty phase, and the

 jury’s reliance upon this evidence in sentencing Davis to death denied him due

 process, a fair and reliable sentencing determination, and the effective assistance of

 counsel in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments.

    J.     Davis’ Death Sentence Violates Due Process Because Its Imposition
           Was Based Upon a Material Misapprehension of Fact.

 312. A death sentence that is imposed on the basis of inaccurate information that

 was material to the sentencing decision violates due process. Roberts v. United

 States, 445 U.S. 552, 556 (1980); United States v. Tucker, 404 U.S. 443, 447

 (1972); Townsend v. Burke, 334 U.S. 736, 741 (1948).

 313. Davis’ death sentence is predicated upon scientifically unsupported and

 unsupportable, misleading and unreliable testimony that was material to reaching a

 death sentence, and the jury therefore imposed its sentence upon an erroneous state

 of assumptions or material facts which guided or controlled its decision.
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    K.     Davis Was Denied His Right to An Impartial Penalty-Phase Jury.

 314.    The material inaccuracies and misleading nature of Det. Elliget’s testimony

 exposed by the NAS Report also impaired the jury’s ability to consider and weigh

 aggravating and mitigating evidence in a manner that made the jury “uncommonly

 willing to condemn a man to die.” Witherspoon v. Illinois, 391 U.S. 510, 521

 (1968).

 315. The jury’s reliance on Det. Elliget’s scientifically unsupported and

 unsupportable, misleading and unreliable expert testimony rendered the jury

 unable to consider and give full effect to all relevant mitigating evidence, and to

 fairly consider imposition of a life sentence. See Tennard v. Dretke, 542 U.S. 274,

 285 (2004).

 316. This denied Davis his right to an impartial sentencing-phase jury and his

 right to present and have his jury consider and give effect to mitigation evidence

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

    L.     Davis Is Entitled to Relief Based Upon the Cumulative Prejudicial
           Effect of These Constitutional Errors.

 317.    As in the trial phase, constitutional errors at the penalty phase are to be

 assessed cumulatively. Individually and cumulatively, each constitutional error

 was prejudicial and denied Davis his clearly established federal constitutional

 rights under the Fifth, Sixth, Eighth, and Fourteenth Amendments.



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    M.       Conclusion

 318. Davis’ rights as guaranteed under the Fifth, Sixth, Eighth, and Fourteenth

 Amendments were violated when Det. Elliget testified as a purported “expert”

 witness and presented various forensic evidence that was scientifically unsupported

 and unsupportable, misleading, and/or inherently unreliable. This was prejudicial

 to Davis, because his conviction and sentence were based primarily on forensic

 evidence.

 319. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 320. This Court should issue the writ.




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 Eighth Ground for Relief:

 DAVIS WAS DENIED A FAIR TRIAL, DUE PROCESS OF LAW AND A FAIR AND
 RELIABLE SENTENCING DETERMINATION BECAUSE THE STATE OFFERED
 INSUFFICIENT EVIDENCE TO SUPPORT A CONVICTION ON THE AGGRAVATING
 CIRCUMSTANCE OF KIDNAPPING OR THE CHARGE OF KIDNAPPING.

 321. The Fourteenth Amendment to the United States Constitution demands that

 in a criminal case, the state present sufficient evidence to prove—beyond a

 reasonable doubt—every element of the offense charged. A conviction based upon

 insufficient evidence constitutes a denial of due process of law. In re Winship, 397

 U.S. 358, 361–63 (1970). The test to determine the sufficiency of the evidence is

 whether, viewing the evidence in a light most favorable to the state, a rational fact

 finder could find guilt beyond a reasonable doubt on every element of the crimes

 charged. See Tibbs v. Florida, 457 U.S. 31, 37–38 (1982); Jackson v. Virginia,

 443 U.S. 307, 313–14 (1979). Review of the evidence in this case will

 demonstrate that it was not sufficient to sustain Davis’ conviction on the separate

 count of kidnapping pursuant to Ohio Rev. Code § 2905.01 or the statutory

 aggravating circumstance that the murder occurred during the course of a

 kidnapping, under Ohio Rev. Code § 2929.04(A)(7).

    A.     The state presented insufficient evidence of purpose to engage in
           sexual activity.

 322. Count Three of the indictment charged Davis with Kidnapping in violation

 of Ohio Rev. Code § 2905.01(A)(4). Kidnapping was also the underlying felony in


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 the second statutory aggravating circumstance pursuant to § 2929.04(A)(7), and

 Count One, aggravated murder, alleging that Davis purposefully caused the death

 while committing, attempting to commit, or while fleeing immediately after

 committing or attempting to commit kidnapping, as well as aggravated robbery,

 and aggravated burglary.

 323. Ohio Rev. Code § 2905.01(A)(4) provides in part:

              (A) No person, by force, threat, or deception, or, in the
              case of a victim under the age of thirteen or mentally
              incompetent, by any means, shall remove another from
              the place where the other person is found or restrain the
              liberty of the other person, for any of the following
              purposes:

              ...

              (4) To engage in sexual activity, as defined in section
              2907.01 of the Revised Code, with the victim against the
              victim’s will

 Accordingly, the state was required to prove beyond a reasonable doubt that Davis

 removed Sheeler or restrained her for the purpose of engaging in sexual activity,

 and that he had an animus for the sexual activity and kidnapping separate from the

 animus necessary to commit the murder.

 324. A review of the evidence and arguments establishes the state failed to

 present sufficient evidence of purpose (animus) to engage in sexual activity to

 sustain the conviction for kidnapping. The only evidence properly relied on by the

 state for this element was the placement of the victim’s underwear which was

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 rolled up around her stomach. This is not sufficient evidence from which a

 reasonable juror could find this separate animus to sustain the conviction for

 kidnapping.

 325. The state’s other evidence on this subject was likewise insufficient. An oral

 swab from the victim indicated a presumptive test for semen. (Tr. at 1579.)

 Detective Elliget, however, testified to what this ‘presumptive’ result actually

 indicated, explaining that all that meant was that a chemical reacted in some

 manner usually by changing color. The only thing established as a result of that

 reaction was that there may be semen or blood present. (Tr. at 1511–12.)

 Detective Elliget explained that there are other substances that may cross-react

 with the chemicals. Detective Elliget confirmed that this presumptive test did not

 conclusively establish the presence of semen or blood. (Id.) Additional testing on

 the oral swab did not confirm the presumptive test. No DNA was found other than

 the victim’s. (Tr. at 1580–81.) The state also argued that the victim was found

 lying on the floor with her legs spread. However, State’s Exhibit 4X, (relied on by

 the state for this proposition), does not show the victim’s legs spread open.

 Moreover, State’s Exhibit 4N, demonstrates that the victim was originally found

 wrapped in a bedspread. State’s Exhibit 4X, a photograph of the victim’s body

 after the bedclothes were removed, does not demonstrate spread legs or any

 evidence demonstrating a sexual purpose. At best, it demonstrates how the body

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 looked after authorities entered the room, unwrapped the body and prepared to

 move the body.

 326. The state presented insufficient evidence of a separate animus and/or the

 element of purpose to engage in sexual activity. Therefore, there was insufficient

 evidence to sustain his conviction for kidnapping in Count Three, as well as his

 conviction for aggravated murder in Count One and the aggravating circumstance

 premised on the same theory of kidnapping.

 B.    The state failed to present sufficient proof beyond a reasonable doubt
       on the second statutory aggravating circumstance.

 327. The state’s failure to present sufficient evidence on the element of purpose

 to engage in sexual activity also voids the second aggravating circumstance. The

 second aggravating circumstance charged Davis with “committing, or fleeing

 immediately after committing or attempting to commit the offense of Kidnapping,

 as further defined in Count Three of this Indictment, and the said, Roland T. Davis,

 was the principal offender in the commission of the offense of Aggravated

 Murder.” (Indictment p. 2, Sept. 17, 2004.) For the same reasons set forth in the

 previous subclaim 8.A, supra, the state offered insufficient evidence of the

 separate animus or purpose element. The second aggravating circumstance should

 have been dismissed.

 328. In addressing a sufficiency claim, a reviewing Court must view the evidence

 in a light most favorable to the state. Jackson, 443 U.S. at 319. The state failed to
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 present sufficient evidence for a kidnapping conviction, the related statutory

 aggravating circumstance, and Count One, aggravated murder. There is no

 evidence in the record establishing by proof beyond a reasonable doubt that the

 restraint or movement occurred for the purpose of engaging in sexual activity. At a

 minimum, the second statutory aggravating circumstance is not supported by

 sufficient evidence.

 329. Likewise, the Indictment charged Davis in Count One with “purposefully

 causing the death while committing, attempting to commit, or while fleeing

 immediately after committing or attempting to commit, one or more of the offenses

 of (a) kidnapping, as further defined in Count three of the Indictment; b)

 Aggravated Robbery . . . c) aggravated burglary . . . .” A finding that the

 specification was not supported by sufficient evidence would likewise negate this

 first felony element of Count One. Since it is unclear which of the three felonies

 caused the jury to vote in favor of guilt in Count One (kidnapping, burglary,

 aggravated robbery), Davis’ convictions and sentence of death must be vacated.

    C.     Conclusion

 330. For the foregoing reasons, there was insufficient evidence to sustain a

 conviction for Kidnapping in Count Three, the Aggravated Murder in Count One,

 and the second statutory aggravating circumstance to Count One. Because there

 was insufficient evidence to sustain these findings of guilt beyond a reasonable


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 doubt, Davis’ convictions and sentences of death were obtained in violation of the

 Fifth, Sixth, Eighth and Fourteenth Amendments.

 331. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 332. This Court should issue the writ.




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 Ninth Ground for Relief:

 THE TRIAL COURT’S ERRONEOUS JURY INSTRUCTIONS DURING THE TRIAL
 PHASE DEPRIVED DAVIS OF A FAIR AND RELIABLE DETERMINATION OF HIS
 GUILT OR INNOCENCE IN VIOLATION OF THE FIFTH, SIXTH, EIGHTH AND
 FOURTEENTH AMENDMENTS.

      A.   The trial court failed to give an instruction prohibiting the jury from
           stacking inferences.

 333. Counsel requested an instruction forbidding the jury to make an inference

 based solely on another inference. (Tr. at 1808.) The trial court refused to give

 this instruction, stating that according to OJI (Ohio Jury Instructions) the use of

 this instruction was limited to civil cases. (Id.) The instruction was not given to

 the jury.21

 334. The failure to instruct the jury that it could not make an inference based

 solely on another inference denied Davis his right to due process, a fair trial and a

 reliable sentencing proceeding. Permitting a jury to infer from other inferences

 lessens the burden of proof required for a finding of guilt. The principle

 underlying the rule is that, where an inference is based solely and entirely upon

 another inference, its foundation is so insecure that reliance upon the second




 21
   To the extent counsel for Davis failed to object, counsel’s performance was not
 in keeping with the prevailing professional norms and was therefore, unreasonable
 and denied Davis the effective assistance of counsel in violation of the Fifth, Sixth,
 Eighth and Fourteenth Amendments. See Eighteenth Ground for Relief, infra.

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 inference would stretch credulity beyond its permissible bounds and result in an

 inferred fact which in reality is speculative raising merely conjecture or possibility.

 335. There is no rule or caselaw in Ohio prohibiting this instruction from being

 given in a criminal case. There is no reason for such a prohibition to only apply to

 civil cases. Given the burden of proof in a criminal case this instruction is even

 more appropriate than in a civil case. Moreover it was particularly appropriate in

 this case.

 336. Findings of guilty on the kidnapping count, the aggravated murder based on

 kidnapping, and the related specification required the jury to impermissibly stack

 inferences. The evidence relied on by the state to establish that the victim was

 restrained or removed for the purpose of engaging in unwanted sexual activity was

 primarily the disarray of her clothing. See Eighth Ground for Relief, supra. This

 evidence was insufficient in and of itself and not conclusive evidence of the

 kidnapping elements, absent this impermissible stacking of inferences.

 337. Instead, the state also relied on a presumptive oral swab test. To consider

 the presumptive test as evidence of purpose to commit sexual activity, the jury

 would have had to rely on an inference from another inference. First, the jury

 would have had to infer that the presumptive test was correct and actually indicated

 semen, then it must have inferred that it was Davis’ semen, for which no evidence

 was presented. Finally, the jury must have inferred that the presumed presence of

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 semen from the oral swab was from unwanted sexual activity that occurred during

 the restraint.

 338. The trial court’s refusal to instruct on the prohibition against inferences on

 inferences relieved the state of its burden of proof on elements of the kidnapping

 charge, the kidnapping specification and portion of the aggravated murder count,

 thereby denying Roland Davis his due process right to a fair trial.

    B.     The instructions permitted Davis to be convicted on less than a
           unanimous verdict.

 339. Davis was indicted in Count One as follows: “did purposely cause the death

 of another, to wit: Elizabeth L. Sheeler, while committing, or attempting to

 commit, or while fleeing immediately after committing or attempting to commit,

 one or more of the offenses of: a) kidnapping . . . ; b) Aggravated Robbery . . . ; c)

 Aggravated Burglary . . . .” (Indictment pp. 1–2, Sept. 17, 2004.)

 340. The trial court instructed the jury during the trial phase as follows:

                  While committing or attempting to commit, or while
                  fleeing immediately after committing or attempting to
                  commit means that the death must occur as part of acts
                  leading up to, or occurring during or immediately after
                  the commission of kidnapping, or aggravated robbery, or
                  aggravated burglary, and that the death was directly
                  associated with the commission or flight immediately
                  after the commission of kidnapping, or aggravated
                  robbery, or aggravated burglary. . . .

                  Before you can find the Defendant guilty of aggravated
                  murder as alleged in Count 1 of the indictment, the State
                  must also prove beyond a reasonable doubt that the

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                Defendant committed or attempted to commit
                kidnapping, aggravated robbery or aggravated burglary.

 (Tr. at 1935–36.)

 341. The trial court failed to instruct the jurors to find unanimously that Davis

 either committed kidnapping, aggravated robbery or aggravated burglary. The

 court’s failure to instruct the jury to make one finding or the other on the

 underlying felony permitted a finding of guilty on a less than unanimous verdict.

 Davis was thus deprived of his right to a unanimous verdict. The jury had to

 specifically and unanimously agree on one or more of the three felonies underlying

 the felony murder count that Davis was guilty of committing, not all three in the

 alternative.

 342. States determine whether “statutory alternatives” are (1) “mere means of

 committing a single offense” or (2) constitute “independent elements of the crime.”

 Schad v. Arizona, 501 U.S. 624, 636 (1991). If the statutory alternatives do

 constitute independent elements, then their existence (or nonexistence) must be

 separately determined by the jury. Cabana v. Bullock, 474 U.S. 376, 384 (1986).

 343. Due process requires the state to prove every element of a crime beyond a

 reasonable doubt. In re Winship, 397 U.S. 358, 361–63 (1970). The Sixth

 Amendment guarantees the criminal defendant the right to trial by jury. The jury

 in a criminal case must be instructed to find every element of the offense beyond a

 reasonable doubt. Without a jury instruction on each element the criminal

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 defendant is deprived of a jury determination of his guilt or innocence, a right

 protected by the due process clause, and the Sixth Amendment. Duncan v.

 Louisiana, 391 U.S. 145, 157–58 (1968).

 344. Davis’ jury was never required to make a separate finding as to which

 felony—underlying Count One—Davis was guilty of committing. The jury was

 not instructed to determine unanimously, which one or more of the felonies the

 state had proven, thus denying Davis due process and a fair trial.

 345. Requiring proof of every element of charged criminal conduct beyond a

 reasonable doubt is one of many aspects of English common law which have

 become fundamental tenets of American common law and, indeed, American

 constitutional law. The Due Process Clause of the Fourteenth Amendment

 imposes this standard on state criminal proceedings. Sandstrom v. Montana, 442

 U.S. 510, 520 (1979); Jackson v. Virginia, 443 U.S. 307, 315 (1979).

 346. The beyond-a-reasonable-doubt standard is given force by the unanimity

 requirement. It cannot be said that the state has proven every element of the

 offense beyond a reasonable doubt if some of the jurors do not in fact agree to an

 element.

 347. Recent U.S. Supreme Court cases suggest that the Ohio Supreme Court’s

 rulings fail to comport with Due Process and the right to a trial by jury and are

 unreasonable applications of clearly established federal law. Beginning with

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 Apprendi v. New Jersey, 530 U.S. 466, 482–83 (2000), the Court gave renewed

 force to the right to trial by jury. In Ring v. Arizona, 536 U.S. 584, 609 (2002), the

 Court held that the Sixth Amendment requires any finding of fact that makes a

 defendant eligible for the death penalty must be unanimously made by a jury

 beyond a reasonable doubt. See also Blakely v. Washington, 542 U.S. 296, 301–02

 (2004).

 348. Given the improper instruction in Davis’ case, it cannot be said that the jury

 unanimously found one or more of the underlying felonies necessary for a

 conviction on Count One. Absent clear instructions, it is unlikely jurors ever felt

 the need to deliberate separately on whether Davis committed kidnapping,

 aggravated robbery, or aggravated burglary. Because the instruction failed to

 require a unanimous verdict on the underlying felony elements, the instructions

 failed to pass constitutional muster and the guilty verdict lacks reliability.

 349. In capital cases, due process requires that the jury be instructed to reach its

 determination unanimously as to every element constituting the capital offense

 which makes the defendant death-eligible.

 350. Here, no such requirement was imposed. The jury was not told that it must

 determine each element of Count One unanimously. Accordingly, Davis

 convictions must be reversed and this case remanded for a new trial.




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 351. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 352. This Court should issue the writ.

      C.     The trial court’s definition of “beyond a reasonable doubt” relieved
             the state of its burden of proof.

 353. The trial court gave the statutory definition of reasonable doubt under Ohio

 Rev. Code § 2901.05(D). (Tr. at 1927.) The statutory definition of reasonable

 doubt is constitutionally infirm because it embodies a standard of proof below that

 required by the Fifth, Sixth, Eighth and Fourteenth Amendments.22

 354.      “It is critical that the moral force of the criminal law not be diluted by a

 standard of proof that leaves people in doubt whether innocent men are being

 condemned.” In re Winship, 397 U.S. at 364. For the public to maintain

 confidence in our system of justice, proof beyond a reasonable doubt must be held

 to be proof of guilt “with utmost certainty.” Id.

 22
   To the extent that counsel for counsel did not more zealously object to the jury
 instructions that permitted Davis to be convicted on something less than “beyond a
 reasonable doubt,” on a less-than-unanimous verdict, see subclaim 9.B, supra,
 and/or something other than the requisite “purpose” and “causation,” see subclaim
 9.D, infra, counsel’s performance was not in keeping with the prevailing
 professional norms and was therefore, unreasonable and denied Davis the effective
 assistance of counsel in violation of the Fifth, Sixth, Eighth and Fourteenth
 Amendments. See Eighteenth Ground for Relief, infra.

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 355. The instructions here did not adequately convey the stringent nature of the

 beyond a reasonable doubt standard. The “firmly convinced” language in the first

 sentence of the statute represents only a clear and convincing evidence standard.

 The statutory definition of proof beyond a reasonable doubt and the definition of

 clear and convincing proof are similar. The similarity between this definition and

 Ohio Rev. Code § 2901.05(D) is most pronounced if jurors “cannot say they are

 firmly convinced of the truth of the charge.”

 356. Likewise, the “willing to act” language in the last sentence of the statute is

 too lenient to satisfy the stringent due process standard. The “willing to act”

 language is inadequate when defining proof beyond a reasonable doubt. See

 Holland v. United States, 348 U.S. 121, 140 (1954) (“[T]he charge should have

 been in terms of the kind of doubt that would make a person hesitate to act . . .

 rather than the kind on which he would be willing to act.”) (citation omitted). An

 instruction that equated reasonable doubt with substantial doubt, tempered by a

 comparison to a “hesitate to act” standard, as a whole passed constitutional muster.

 Victor v. Nebraska, 511 U.S.1, 20–21 (1994).

 357. Jurors are frequently required to make important decisions based upon proof

 of a lesser nature by choosing the most preferable course of action. The

 “willingness to act” language set out in Ohio Rev. Code § 2901.05(D) does not

 meet the beyond a reasonable doubt standard, because people do not make

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 important decisions based upon a reasonable doubt standard but, rather, are

 “willing to act” upon a lesser standard.

    D.     The trial court erroneously instructed the jury on the fundamental
           element of causation.

 358. Roland Davis was charged with one count of aggravated felony murder with

 specifications of aggravating circumstances under Ohio Rev. Code § 2903.01. To

 find Davis guilty of this count, the state had to prove beyond a reasonable doubt

 that Davis purposely caused the victim’s death during the course of the kidnapping,

 aggravated robbery, or aggravated burglary. The trial court defined purpose:

              Purpose is an essential element of the offense of
              Aggravated Murder.

              A person acts purposely when it is his specific intention
              to cause a certain result. It must be established in this
              case that at the time in question there was present in the
              mind of the Defendant a specific intention to cause the
              death of Elizabeth Sheeler while committing or
              attempting to commit or while fleeing immediately after
              committing or attempting to commit one or more of the
              offenses of kidnapping, or aggravated robbery or
              aggravated burglary.

              Purpose is a decision of the mind to do an act with a
              conscious objective of producing a specific result. To do
              an act purposely is to do it intentionally and not
              accidentally. Purpose and intent mean the same thing.
              The purpose with which a person does an act is known
              only to himself, unless he expresses it to others or
              indicates it by his conduct.

              The purpose with which a person does an act is
              determined from the manner in which it is done, the

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               means or weapon used, and all the other facts and
               circumstances in evidence.

               If a wound is inflicted by a person with a deadly weapon
               in a manner calculated to destroy life, the purpose to
               cause the death may be, but is not required to be, inferred
               from the use of the weapon. The inference, if made, is
               not conclusive.

               Proof of motive is not required. The presence or absence
               of motive is one of the circumstances bearing upon
               purpose. Cause is an essential element of the offense of
               aggravated murder. Cause as it relates to the charge of
               aggravated murder, is an act which directly produces the
               death of another, and without which it would not have
               occurred.

 (Tr. at 1934–35.) In Ohio, no one can be convicted of aggravated murder unless

 the jury finds specific intent to cause the death of the victim. Ohio Rev. Code

 § 2903.01(D). Here, the trial court erroneously instructed the jury on the

 fundamental element of causation. (Tr. at 1934–35.)

 359. These instructions were incompatible with the requirement that the state

 prove a specific intent to cause the death of the victims.

 360. Those instructions on the essential element of purpose to kill relieved the

 state of its burden of proof on that element thereby denying Roland Davis his due

 process right to a fair trial.23

 23
   To the extent that counsel for Davis did not more zealously object to the jury
 instructions on purpose and causation, counsel’s performance was not in keeping
 with the prevailing professional norms and was therefore, unreasonable and denied
 Davis the effective assistance of counsel in violation of the Fifth, Sixth, Eighth and
 Fourteenth Amendments. See Eighteenth Ground for Relief, infra.
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 361. The Due Process Clause of the Fourteenth Amendment guarantees to the

 criminally accused that the state must prove each essential element of the crime

 charged beyond a reasonable doubt. In re Winship, 397 U.S. at 364. Purpose to

 kill is an essential element of aggravated felony murder. Ohio Rev. Code

 § 2903.01(B).

 362. The instruction on purpose created a mandatory rebuttable presumption of

 the mens rea element from the mere use of a deadly weapon. That instruction

 relieved the state of its burden to prove the element of purpose to kill because “a

 reasonable juror could . . . have understood that the instructions placed the burden

 of proof on the defendant [to rebut the inference of purpose to kill].” Boyde v.

 California, 494 U.S. 370, 390 (1990) (Marshall, J., dissenting) (quoting Francis v.

 Franklin, 471 U.S. 307, 315–16 (1985)) (internal quotation marks omitted).

 363. The jury should not have been allowed to presume purpose to kill simply

 from the use of a weapon. The jury had to make an independent finding that Davis

 had a specific intent to kill, unaided by any presumptions. See Sandstrom, 442

 U.S. at 524. The instruction created an impermissible evidentiary presumption

 where purpose or intent to kill was presumed upon proof that a weapon was used.

 See Francis v. Franklin, 471 U.S. 307, 313–14 (1985). Once the jury found that

 the victim suffered knife wounds, the instruction allowed the jury to presume that




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 the knife was used with a specific purpose to kill. Purpose to kill cannot be

 presumed from the mere use of a weapon. Id.

 364. The instructional errors also violated Davis’ right against cruel and unusual

 punishment under the Fifth, Sixth, Eighth and Fourteenth Amendments. Davis

 could not have become death eligible without a guilty verdict on the aggravated

 murder charges. See Ohio Rev. Code §§ 2929.02; 2929.03(D). Even at the trial

 phase, a heightened degree of reliability is required in the process of instructing the

 jury on the question of death eligibility. See Beck v. Alabama, 447 U.S. 625, 633–

 43 (1980). The instructional flaws here severely undermined the reliability of the

 jury’s guilty verdict on the aggravated murder counts. Concomitantly, the crucial

 function of narrowing Davis’ offense into that class of death eligible offenses was

 also undermined in violation of Fifth, Sixth, Eighth, and Fourteenth Amendments.

 Davis’ convictions for aggravated murder and the other felonies must be reversed

 and his case remanded for a new trial.

    E.     Conclusion

 365. The jury instructions at the trial phase and throughout the trial deprived

 Roland Davis of a fair trial and due process in violation of Fifth, Sixth, Eighth, and

 Fourteenth Amendments.

 366. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or


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 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 367. This Court should issue the writ.




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 Tenth Ground for Relief:

 THE CUMULATIVE AND GRUESOME PHOTOGRAPHS ADMITTED AT THE TRIAL
 AND PENALTY PHASES DEPRIVED ROLAND DAVIS OF DUE PROCESS, A FAIR
 TRIAL, AND A FAIR AND RELIABLE SENTENCING DETERMINATION IN VIOLATION
 OF THE FIFTH, SIXTH, EIGHTH, AND FOURTEENTH AMENDMENTS.

 368. Gruesome and repetitive pictures unrelated to causation were shown to and

 relied upon by the state at trial and during the penalty phase, thus denying Davis a

 fair trial, a fair and reliable sentencing determination, and due process. The

 constitutional standard for determining whether gruesome photographic evidence

 is admissible in a capital case is stricter than the standard used in noncapital cases.

 369. Eighth Amendment jurisprudence strives to make the trial phase of a capital

 case as sound and reliable as possible. See Beck v. Alabama, 447 U.S. 625, 630

 (1980) (requiring instruction on lesser offense at trial phase of capital case when

 supported by evidence).

 370. Here, counsel filed a pretrial motion in limine to limit the number of

 repetitive and gruesome photographs, (see Motion No. 6, Mot. in Limine to Limit

 the Number of Photographs of the Victim[]), and objected to their admission at

 trial, (see Tr. at 816, 822). Counsel renewed the objection prior to the witnesses

 identifying the specific photographs. (See Tr. at 989–90.) In addition, defense

 counsel objected to the admission of the photos as exhibits to be sent back to the

 jury. (Tr. at 1782–84.) Finally, certain photos were re-admitted in the sentencing

 phase and the defense objected to those photos. (Tr. at 2198–99.) The court did

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 not admit photos 7C, 7D and 7J in the sentencing hearing. These photos were

 admitted in the trial phase. (Tr. at 1786.) Despite these objections, the court

 permitted the state to show multiple gruesome photographs of Elizabeth Sheeler

 where she was found in the bedroom, and during the autopsy. These photos

 included the following:

              State’s Exhibit 4Y — photograph of Sheeler uncovered
              in the bedroom where she was found,24 focusing on her
              neck and the bottom of her face. It shows that she is
              covered in dried blood that appears black in parts of the
              photo. There are dried blood paths running down her
              chest. There is blood all over her face and neck and her
              skin is swollen and mottled.

              State’s Exhibit 4V — shows the lower half of the body
              with the bedspread from the waist up, naked from the
              waist down—and the photo shows her crotch area.

              Exhibit 4X — another view of Sheeler’s crotch area
              looking toward her face. The body appears bloated,
              mottled and bloody. Her underwear is around her chest.

              State’s Exhibit 4N — shows the body as it was actually
              found wrapped in a bedspread with a foot sticking out.

              State’s Exhibit 4O — a close up of 4N which
              demonstrates nothing additional.

              State’s Exhibit 7B — a photo of a naked Sheeler lying on
              a table for the autopsy. It shows a badly bloated body
              and again reveals all the dried blood on her face and body
              that can be seen in 4Y and 4V.


 24
   Sheeler was found wrapped in a bed spread with a foot sticking out of the
 bedspread, not lying out in the open as pictured in this photograph.

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              State’s Exhibit 7C — a photo of the head and shoulders
              with the tongue coming out of the mouth showing blood
              spots and stains, black eyes and cuts in chin and neck,
              mottled bloated decomposing skin.

              State’s Exhibit 7D — cumulative to and repetitive of 7C.
              It is the same face, with black eyes, and the neck shot
              with gloved hands pulling the lips apart and down with a
              ruler showing black marks around the lips and the inside
              of the lip. The face and neck are bloody, bloated and
              mottled.

              State’s 7E — a close up of the chest looking to the head
              with the bloody head visible.

              State’s 7F — a photo of the right side of the neck and
              face showing neck wound which is visible in the other
              photos. It shows mottled skin and bloody to black marks.

              State’s 7G — the neck wound again with bloody mottled
              skin and a ruler measuring the wound.

              State’s 7H — the same wound.

              State’s 7I — the same wound again with the mottled
              bloody bloated head and neck.

              State’s 7J — a photo of the upper neck with head pulled
              back and a ruler against one of the neck wounds with
              mottled bloody skin.

              State’s Exhibit 7K — her trachea, pulled out and her
              esophagus covered in blood with her lungs visible in one
              area.

              State’s 7L — the scalp pulled back during the autopsy to
              show a bloody mass on the side of the head.

              State’s 7M — the same as 7L without the coroner’s
              hands.



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 371. The photographs were gruesome and surely inflamed the passions of lay

 jurors wholly unaccustomed to seeing any pictures of dead bodies. It so alarmed

 one of the jurors that she approached the judge to explain that there was a little boy

 in the courtroom and it bothered her that he was looking at the photos. She asked

 that the boy be removed. (Tr. at 994.)

 372. As can be seen by the description, many of these photos were cumulative.

 State’s Exhibits 4X and 4V were cumulative and repetitive and because they

 showed the naked lower half of Sheeler’s body included merely to inflame the

 jury. State’s Exhibits 4O and 4N were the same shot just taken from different

 distances. Both shots were cumulative and meant to inflame the jury. State’s

 Exhibt 7B was the whole naked body shot of a bloated bloody body at the autopsy.

 It was irrelevant to any of the facts or manner of death. State’s Exhibits 7C and 7D

 are cumulative and gruesome showing the bloody face, black eyes and hemorrhage

 into the lips. State’s Exhibit 7E has no relevance to any disputed fact but allows

 the state to once again highlight that she was unclothed. Four photos (7F, 7G, 7H

 and 7I) of the neck wounds were unnecessary, cumulative and gruesome. State’s

 Exhibit 7J is like 7C and does not add anything relevant and State’s Exhibits 7L

 and 7M are cumulative and particularly gruesome since they depict the scalp

 retracted and show just a bloody and black mass.




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 373. Photos of the body during an autopsy are especially inflammatory. Counsel

 repeatedly objected to the cumulative and gruesome photos of the autopsy.

 374. Counsel also objected to the photos of the body and the scene. These photos

 unnecessarily depicted injuries that were repeatedly and clearly testified to. The

 state’s response to the objection was to point out that it had even more photos of

 the body that it was not using. (Tr. at 818.) Additionally the state claimed that

 these photos would show purpose to kill—an issue that was not in dispute. (Tr. at

 819.) As to the photos of the semi-naked victim in the bedroom with dried blood

 all over her body, the state merely argued that these photos all showed that the

 room was ransacked and that the offender would have known he was killing the

 victim. The ransacking was apparent in other photos that did not have portions of

 Sheeler’s body or portions of Sheeler’s body in them.

 375. The court overruled the objection on the basis that the photos were not all

 that graphic. (Tr. at 824.) The court also mentioned the specifications of

 aggravating circumstances including a “ransacking” specification that does not

 exist under Ohio Rev. Code § 2929.04(A) and could not have been charged in this

 or any other case. (Id. (mentioning “the specifications there between the burglary,

 or robbery, or purpose to kill, or ransacking”).)




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 376. Whatever marginal probative value these photographs may have had was

 offset by the prejudicial impact they undoubtedly had on the jurors and Davis’

 right to a fair trial.

 377. Even if the admission of these gruesome photos was harmless at the trial

 phase, their introduction at the penalty phase contributed to the imposition of the

 death sentence. By first introducing cumulative and repetitive and grotesque

 photos during the trial phase and then readmitting them in the penalty phase, see

 Fifteenth Ground for Relief, infra, the state created a climate in which the jury was

 unable to dispassionately balance the statutory aggravating circumstances against

 the mitigating factors. Egregious errors, even if harmless during the trial phase,

 carry over and become part of the penalty phase. When they are coupled with

 other penalty phase errors, the reliability of the death sentencing procedure is

 called into question. The photos readmitted during the penalty phase included

 State’s Exhibits 4P, 4R, 4W, 4Y, 4V, 4X, 7M, 7K, 7L, 7H, 7I, 7F, 7G, 7B, and 7E.

 (See Tr. at 2211–12.)

 378. The photos of the dead body and the photos depicting various stages of the

 autopsy were unnecessary, irrelevant, cumulative, and repetitive and they created a

 danger of and actual prejudice to Roland Davis.25 Their admission denied Davis


 25
   To the extent that counsel for Davis did not more zealously object to the
 introduction of irrelevant and inflammatory evidence, counsel’s performance fell
 far below the prevailing professional norms and was therefore, unreasonable and
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 due process, a fair trial, and a fair and reliable sentencing determination under the

 Fifth, Sixth, Eighth, and Fourteenth Amendments.

 379. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 380. This Court should issue the writ.




 denied Davis the effective assistance of counsel in violation of the Fifth, Sixth,
 Eighth and Fourteenth Amendments. See Eighteenth Ground for Relief, infra.

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 Eleventh Ground for Relief:

 THE ADMISSION OF STATE’S EXHIBITS 12A.1 AND 12A.2, WITHOUT
 IDENTIFICATION OR AUTHENTICATION, VIOLATED ROLAND DAVIS’
 CONSTITUTIONAL RIGHTS TO DUE PROCESS, A FAIR TRIAL, AND THE RIGHT TO
 THE EFFECTIVE ASSISTANCE OF COUNSEL, AS GUARANTEED BY THE FEDERAL
 CONSTITUTION.

 381. Detective Vanoy testified about his tape recorded interview of Roland Davis

 in Florida. Although never identified by any witness the state offered State’s

 Exhibit 12A into evidence. (Tr. at 1782.) State’s Exhibit 12A was presumably the

 tape of that interview. The tape was not played for the jury in the courtroom.26

 This tape was admitted as evidence and sent back to the jury along with State’s

 Exhibit 12.B, a transcript of the tape recording at both phases of the trial.27 (Tr. at

 1782; Tr. at 2292–93.) The only mention in the record of what State’s Exhibit 12A

 is, was the prosecutor claiming “12-A as a normal exhibit . . . .” (Tr. at 1782.)

 Both the state and the defense argued that the taped interview should be considered

 by the jury as substantive evidence. (Tr. at 1866; Tr. at 1875; Tr. at 1911–12; Tr.

 at 1914.)28


 26
      See Twelfth Ground for Relief, infra.
 27
   To the extent counsel for Davis failed to object to this lack of identification or
 authentication or accuracy, counsel’s performance was not in keeping with the
 prevailing professional norms and was therefore, unreasonable and denied Davis
 the effective assistance of counsel in violation of the Fifth, Sixth, Eighth and
 Fourteenth Amendments. See Eighteenth Ground for Relief, infra.
 28
      See Twelfth Ground for Relief, infra.

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 382. No witness identified or authenticated State’s Exhibit 12A as the tape of the

 interview of Roland Davis. No witness identified the voices on State’s Exhibit

 12A as belonging to Davis and/or Det. Vanoy. There was no stipulation offered in

 regards to the tape. There is no evidence that the operator of the device that

 allegedly recorded the device was competent to operate the device. There is no

 evidence that the recording on the tape was authentic or correct. There is no

 evidence that changes, additions, or deletions had not been made to the recording.

 There is no evidence of who the speakers on the recording are. There is no

 evidence that all portions of the tape are audible. There is no evidence that the tape

 was properly redacted.

 383. Despite all of these significant foundation problems the court instructed the

 jury:

              You are further instructed that you will receive as an
              exhibit two tape recordings identified as being a portion
              of the statement the Defendant gave to Newark police
              officers. The portion on these tapes are those sections of
              the Defendant’s statement that the parties have jointly
              agreed to admit into evidence. You may not speculate as
              to what portions have been deleted, nor the reasons for
              the deletions. In addition to these tapes, you will receive
              a transcript of these tapes. However, the transcript is not
              evidence, only the tapes are. The transcript is intended
              only as an aid. In the event you feel there is any
              discrepancy between what is actually said on the tape and
              what the transcript says, you must rely upon the tapes
              themselves.

 (Tr. at 1931.)

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 384. Thus, the Court improperly instructed the jury that the tape had been

 identified as Davis’ interview when in fact no person ever identified these tapes

 and no stipulation was entered into as to the identity of the tapes, despite numerous

 other stipulations that were entered into throughout both phases of the trial.

 385. Authentication or identification is a prerequisite to admissibility. Ohio R.

 Evid. 901(A). No evidence was offered that State’s 12A was the tape of the

 interview, that is was authentic, or unaltered, or that it represented what it

 purported to represent, i.e., Davis’ interview. As such this tape never should have

 been admitted. The function of authentication or identification is to establish,

 preliminarily, a connection between the evidence offered and the relevant facts of

 the case.

 386. The trial court is charged with the duty of making an initial determination

 that the foundational testimony is sufficient to support a jury finding as to

 authenticity. Ohio R. Evid. 104. When the issue is one of authentication or

 identification, the condition of fact relates to the genuineness of the item in

 question.

 387. “[W]hen a State opts to act in a field where its action has significant

 discretionary elements, it must nonetheless act in accord with the dictates of the

 Constitution—and in particular, in accord with the Due Process Clause.” Evitts v.

 Lucey, 469 U.S. 387, 401 (1985). The admission of Exhibits 12A and 12B without

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 anyone every identifying or authenticating them permitted the state to convict

 Roland Davis and obtain a sentence of death based on evidence that is unreliable.

 As such, Davis was denied due process and a fair trial under the Fifth, Sixth,

 Eighth and Fourteenth Amendments.

 388. The admission of this unauthenticated tape, outside of the presence of

 Roland Davis and his counsel, without any assurance of accuracy or other indicia

 of reliability relieved the state of its burden of proof, and denied Davis due

 process, a fair trial, a fair and reliable sentencing determination and the effective

 assistance of counsel under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

 389. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 390. This Court should issue the writ.




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 Twelfth Ground for Relief:

 THE ADMISSION OF TAPE RECORDINGS AS EVIDENCE WITHOUT FIRST
 PRESENTING AND AUTHENTICATING IT IN OPEN COURT IN THE PRESENCE OF THE
 DEFENDANT DENIED DAVIS HIS CONSTITUTIONAL RIGHT TO BE PRESENT AT A
 CRITICAL STAGE OF THE TRIAL AND TO A TRIAL IN OPEN COURT, IN VIOLATION
 TO THE FIFTH, SIXTH, EIGHTH, AND FOURTEENTH AMENDMENTS.
 ADDITIONALLY, THE ADMISSION OF A TRANSCRIPT OF THESE UNIDENTIFIED
 TAPES THAT WERE NEVER PLAYED IN THE COURTROOM VIOLATED DAVIS’
 RIGHTS TO DUE PROCESS, A FAIR TRIAL, THE EFFECTIVE ASSISTANCE OF
 COUNSEL AND A RELIABLE SENTENCING DETERMINATION.

      A.   The court admitted tapes of what the state alleged was an interview
           with Davis without ever requiring identification of the evidence.

 391. Det. Vanoy testified about his tape recorded interview of Roland Davis in

 Florida. (Tr. at 1320–61.) Although never identified by Det. Vanoy, State’s

 Exhibit 12A.1 and 12A.2 were alleged to be the tapes of that interview.29 The

 tapes were not played for the jury in open court. Despite this, the tapes were

 admitted as evidence and given to the jury during deliberations at the trial phase,

 (Tr. at 1782), and the penalty phase, (Tr. at 2292–93), along with State’s Exhibit

 12B, the transcript of the tape recordings. Both the state and the defense discussed

 this tape. The state discussed the tape in opening statement:

              You will, I believe, hear ultimately the tape during your
              deliberations. I’m not going to play it in Court, it’s very

 29
    See Second Ground for Relief, supra, regarding the failure to identify or
 authenticate the tape. To the extent that counsel failed to object to the failure to
 identify or authenticate the tape and the failure to insist the tape be played in the
 courtroom constituted deficient performance, see Eighteenth Ground for Relief,
 infra, regarding Davis’ denial of the effective assistance of counsel.

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              long and may be hard to hear in here, but I hope to have
              it admitted. But, I’ll have an officer testify as to what he
              says.

 (Tr. at 915 (emphasis supplied).)

 392. The defense discussed the tape during cross examination of Det. Vanoy, (Tr.

 at 1376):

              In this case him getting on the stand and testifying wasn’t
              necessary. It’s not necessary because not only do you
              have a three and a half, roughly, hour recorded statement
              from him, but you’ve got a 112 page transcript that writes
              down on paper the interview between Detective Vanoy
              and Mr. Davis.

 (Tr. at 1860.)

 393.         The defense encouraged the jury to listen to the tape during closing

 arguments:

              And one of the things I would direct your attention to that
              Mr. Oswalt talked about was that they didn’t tell him that
              he was under suspicion. You’re going to have an
              opportunity to listen to the tape. At one point in the tape
              you’re going to hear Detective Vanoy tell Mr. Davis that
              they are pinning a murder on him is the exact words that
              he used.

 (Tr. at 1861.)

              For the State to say, well, we didn’t have any reason to
              think about talking to anybody other than Roland Davis,
              we didn’t have any reason to look at his brothers as a
              potential suspect, listen to the tape and the interview
              between Detective Vanoy and Roland Davis.

 (Tr. at 1866 (emphasis supplied).)

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              I think Detective Vanoy asked him to repeat things about
              32 times in the course of the interview and they’re sitting
              from me to you. You’ll be able to hear on the tape that
              he is just difficult to understand. And on top of that, he
              stutters. He stutters and he’s almost impossible to
              understand. . . .

              If you’re going to identify this man, and after you hear
              this tape, it will be the thing that will stick out to you,
              even having sat in this courtroom and stared across at
              him for weeks, you listen to this tape for even 15, 20
              minutes of it, the first thing that will come to mind for
              you as a description of this man is the way he talks.

 (Tr. at 1875 (emphasis supplied).)

 394. The state also encouraged the jury to listen to the tape in closing argument:

              You’ll hear [the taped interview], it’s not working.

 (Tr. at 1912.)

 395. Thus both the state and the Defense argued that the jury should rely on these

 tapes as relevant substantive evidence to be considered. The state argued that the

 tapes revealed Davis lying and that only guilty people lie. (Tr. at 1911–12, 1914.)

 The Defense relied on the tapes to establish that Davis stuttered and that the two

 women who identified him as the person inquiring about Sheeler never mentioned

 his stutter. (Tr. at 1875.) In addition, the defense argued that the tape was

 evidence that the police focused on Roland Davis and did not investigate other

 suspects. (Tr. at 1866.)

 396. The procedure used here, the admission of the tapes as substantive evidence

 without playing the tapes in open court, created a wealth of problems. Such
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 procedure denied Davis the right to be present at a critical stage of the trial—

 during the actual presentation of evidence. It denied Davis the right to the

 effective assistance of counsel as counsel was not able to assist in any manner

 since they were not present when the evidence was heard by the jury. It prevented

 reviewing courts from having any record of what evidence was presented at trial.

 Sending these tapes, (and transcript) back to the jury and encouraging them to play

 the tape is not the same as playing the tapes for the jury in open court with the

 Defendant and counsel present. There is no way for reviewing courts to know

 whether the jury listened to the tapes, listened to parts of the tapes or failed to play

 any part of the tapes.

 397. The Fifth, Sixth, Eighth and Fourteenth Amendments guarantee to an

 accused the right to be personally present at all critical stages of the trial, where the

 accused’s absence would frustrate the fairness of the proceedings. Kentucky v.

 Stincer, 482 U.S. 730, 745 (1987). It is difficult to perceive a more critical stage of

 a trial than the taking of evidence.

 398. Thus, absent an effective waiver, it is a fundamental error for evidence to be

 presented to a jury in the absence of the defendant. There is no record of a waiver




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 by Davis of his right to be present while this taped evidence was presented to the

 jury. No court can presume a valid waiver.30

 399. The Fifth, Sixth, Eighth and Fourteenth Amendments likewise guaranteed to

 Davis “a speedy and public trial . . . .” U.S. Const. amend. VI.

 400. Here, evidence was presented to the jury—for the first time—behind the

 closed doors of the jury deliberation room—without the presence of the public, as

 well as without the presence of the accused Roland Davis or his counsel. The right

 of the accused to a public trial includes the right of the public to be made aware of

 the evidence the state presents against the accused, and for the accused to have the

 public observe the trial. These fundamental constitutional rights of the accused

 and the public in general to open and public trials were denied by the presentation

 of the state’s evidence—in the first instance—behind the closed doors of the jury

 deliberation room. This is especially egregious where neither the accused nor

 counsel is present to ensure the authenticity or reliability of the evidence. This

 procedure denied Roland Davis the fundamental constitutional right to a fair, open,

 and public trial as well as his right to due process of law, the right to confront

 witnesses against him, and the right to the effective assistance of counsel, as well

 30
   To the extent counsel failed to object to this procedure and failed to object to the
 presentation of evidence in the absence of Roland Davis and outside of an open
 courtroom, counsel’s performance fell far below the prevailing professional norms,
 and was therefore unreasonable, this denying Davis the effective assistance of
 counsel. See Eighteenth Ground for Relief, infra.

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 as a fair and reliable sentencing determination under the Fifth, Sixth, Eighth and

 Fourteenth Amendments.31

 401. Here, there is nothing in the record which demonstrates that Davis was

 advised of his right to be present “at every stage of the trial” or that “every stage”

 included the right to be present during the presentation of this tape evidence, or

 there is likewise nothing in the record that his right to a open and public trial was

 explained to him or that he made a knowing and intelligent waiver of these rights.

 In fact, the record establishes that neither the court, the prosecutor nor the defense

 attorney considered Davis’ or the public’s right to be present during the playing of

 this tape and Davis did not personally waive his right to be present or to have the

 public present during the presentation of this evidence. The right to be present at

 all critical stages of a trial as well as the right to an open and public trial is a

 personal right of the accused which cannot be waived by defense counsel.

 402. The right to be present at trial and confront one’s accuser’s is a right which

 may only be personally waived by the defendant and which may not be vicariously

 forfeited. Carter v. Sowders, 5 F.3d 975, 980–82 (6th Cir. 1993). The same is true

 for the right to an open and public trial. Any waiver must be made personally by

 31
   Counsel’ failure to object to the submission of the tapes to the jury during its
 deliberations at either the trial or penalty phases, fell far below the prevailing
 professional norms, and was therefore unreasonable denying Davis the effective
 assistance of counsel under the Fifth, Sixth, Eighth and Fourteenth Amendments.
 See Eighteenth Ground for Relief, infra.

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 the accused on the record and the trial court must satisfy itself that the waiver is

 knowingly and intelligently made. Here, the trial court made no inquiry of Roland

 Davis about this procedure. Absent a determination by the trial court, there can be

 no finding that Davis knowingly and intelligently waived his right—or the public

 right—to be present during a critical stage of the trial.

 403. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 404. This Court should issue the writ.

    B.     The court also permitted the jury to have a transcript of the taped
           interview as “an aid” even though it had not been authenticated or
           admitted as evidence.

 405. The trial court also permitted the jury to have a transcript of the taped

 interview during its deliberations at both phases. The trial court instructed the jury,

 “the transcript is not evidence, only the tapes are. The transcript is intended only

 as an aid. In the event you feel there is any discrepancy between what is actually

 said on the tape and what the transcript says, you must rely upon the tapes

 themselves.” (Tr. at 1931.) The tapes and the transcript were sent to the jury

 deliberation—even though they had not been authenticated or admitted as

 evidence, or played in open court.


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 406. The admission of the transcript as an exhibit was a violation of the ‘best

 evidence’ rule that recognizes that to prove the contents of a recording, the original

 recording is required. Ohio R. Evid. 1002. Clearly the best evidence of the

 content of the tape was the tape itself. Although transcripts may be proper as

 listening aids during the playing of a tape in the courtroom, they are not properly

 sent back to the jury as an exhibit. They violate the best evidence rule and they are

 hearsay.

 407. Moreover, the transcript fails to capture voice tones, emphasis and other

 nuances of the spoken word which can drastically affect the meaning of what is

 spoken. Here, because of the improper procedure employed of providing the tapes

 to the jury without first playing them in open court in the presence of Davis, his

 counsel or the court, there is no evidence that the jury even listened to the actual

 tapes. Because the transcripts were sent back to the jury, the jury may have relied

 solely on the transcript and never even played the tape of the two to three hour

 interview.

 408. “[W]hen a State opts to act in a field where its action has significant

 discretionary elements, it must nonetheless act in accord with the dictates of the

 Constitution—and in particular, in accord with the Due Process Clause.” Evitts v.

 Lucey, 469 U.S. 387, 401 (1985). The admission of Exhibits 12A and 12B without

 anyone every identifying or authenticating them permitted the state to convict

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 Roland Davis and obtain a sentence of death based on evidence that is unreliable.

 As such, Davis was denied due process and a fair trial under the Fifth, Sixth,

 Eighth and Fourteenth Amendments.

 409. The admission of the unidentified tapes without playing the tapes in front of

 the jury in open court and in the presence of Davis during the trial as well as the

 admission of a transcript of the tapes and the accompanying transcripts at the trial

 and penalty phases denied Davis the right to a fair, open and public trial; a fair and

 reliable sentencing determination; due process; and the effective assistance of

 counsel. This procedure of permitting the introduction of evidence in the absence

 of the defendant and counsel undermines the fundamental right to a fair, open, and

 public trial. The conviction and imposition of a sentence of death must be reversed

 as a violation of these fundamental rights under the Fifth, Sixth, Eighth, and

 Fourteenth Amendments.

 410. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 411. This Court should issue the writ.




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                  PENALTY PHASE GROUNDS FOR RELIEF

 Thirteenth Ground for Relief:

 ROLAND DAVIS WAS CONVICTED AND SENTENCED TO DEATH IN A TRIAL
 CONDUCTED IN AN EMOTIONAL ATMOSPHERE WHERE THE PROSECUTOR
 EXPLOITED THE EMOTIONAL IMPACT OF EVIDENCE ABOUT THE VICTIM IN
 VIOLATION OF THE FIFTH, SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS.

 412. “In the event that [victim impact] evidence is introduced that is so unduly

 prejudicial that it renders the trial fundamentally unfair, the Due Process Clause of

 the Fourteenth Amendment provides a mechanism for relief.” Payne v. Tennessee,

 501 U.S. 808, 825 (1991). While the Eighth Amendment does not necessarily

 prohibit consideration of relevant victim impact evidence or argument in the

 penalty phase of a capital trial, id. at 827, victim impact evidence is never relevant

 for consideration in determining the guilt or innocence of the accused. Here the

 prosecutor exploited the age and other characteristics of the victim in obtaining a

 conviction.

 413. Roland Davis was tried in a small town where during voir dire it became

 obvious that most jurors knew facts about the crime and would have to make some

 effort to set aside their opinions and personal feelings about the victim.

 414. Pre-trial media coverage had been extensive. (See Post Conviction Pet., Ex.

 J.) In that environment, both the state and court should have taken every step

 possible to prevent the jurors’ feeling from clouding their deliberations. Instead,



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 the prosecutor intentionally exploited the emotional atmosphere by introducing

 unnecessary victim impact evidence throughout the trial.

 415. The prosecutor began his opening statement displaying a picture of the

 elderly victim, Ex. 1. (Tr. at 882.) The prosecutor then showed the picture to each

 and every witness who followed, displaying it to the jury on each occasion. The

 prosecutor also displayed the picture during closing arguments at both phases of

 the trial and introduced the same picture as evidence at the penalty phase. The

 prosecutor likewise stressed the victim’s age, 86, at every opportunity at both

 phases of the trial.32

 416. Victim impact evidence is not automatically excluded even from a capital

 trial. It is, however, never relevant or admissible at the trial phase and is generally

 not admissible at the penalty phase. To be admitted, however, it must be relevant

 and its relevance must outweigh any prejudicial impact. Here, most jurors were

 familiar with the crime and the impact the victim’s death had on the community

 and were struggling to not have that influence their decision. The repeated and

 consistent exploitation of the victim’s age and other characteristics advanced no

 legal theories underlying the prosecution. This exploitation rendered the trial


 32
   To the extent counsel failed to object to the prosecutor’s exploitation of victim
 impact evidence, counsel’s performance fell far below the prevailing professional
 norms for counsel in a capital case in 2005 to the prejudice of Roland Davis. See
 Eighteenth Ground for Relief, infra.

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 fundamentally unfair. Roland Davis was convicted in a trial tainted by an

 atmosphere of emotion and sympathy for the victim that was exacerbated by the

 state’s presentation and exploitation of unnecessary and irrelevant victim impact

 evidence, depriving him of due process and a fair trial.

 417. Having been subjected to this highly emotional testimony throughout the

 first phase of the trial, the jury was once again subjected to the emotional pull of

 inflammatory evidence in the penalty phase.

 418. This emphasis on the victim’s age plus the wholly unnecessary display and

 introduction of the victim’s picture at the penalty phase, coupled with all of the

 victim impact evidence admitted at the trial phase, resulted in a death sentence

 obtained in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments.

 419. The emotional atmosphere in which Davis was tried, exacerbated by the

 introduction of emotional witnesses and testimony and before a jury composed of

 persons who were struggling to put aside their feelings and prior impressions of the

 crime, denied Davis due process, a fair trial, and a fair and reliable sentencing

 determination in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments.

 420. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

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 421. This Court should issue the writ.




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 Fourteenth Ground for Relief:

 THE FAILURE TO MERGE THE KIDNAPPING AND AGGRAVATED ROBBERY
 SPECIFICATIONS OF STATUTORY AGGRAVATING CIRCUMSTANCES RESULTED IN
 THE JURY WEIGHING DUPLICATIVE AND CUMULATIVE AGGRAVATING
 CIRCUMSTANCES THEREBY DENYING DAVIS DUE PROCESS AND A FAIR AND
 RELIABLE SENTENCING PHASE AS GUARANTEED BY THE FIFTH, SIXTH, EIGHTH
 AND FOURTEENTH AMENDMENTS.

 422. Roland Davis was charged with four statutory aggravating circumstances

 pursuant to Ohio Rev. Code § 2929.04(A):

           1)    escaping detection, apprehension, trial, or punishment
                 for one or more of the offenses of a) kidnapping; b)
                 aggravated robbery; c) aggravated burglary d)
                 felonious assault; e) theft; in violation of R.C.
                 2929.04(A)(3);

           2)    committing or attempting to commit, or fleeing
                 immediately after committing or attempting to
                 commit kidnapping and being the principal offender
                 in the commission of the aggravated murder in
                 violation of R.C. 2929.04(A)(7);

           3)    committing or attempting to commit, or fleeing
                 immediately after committing or attempting to
                 commit aggravated robbery and being the principal
                 offender in the commission of the aggravated murder
                 in violation of R.C. 2929.04(A)(7);

           4)    committing or attempting to commit, or fleeing
                 immediately after committing or attempting to
                 commit aggravated burglary and being the principal
                 offender in the commission of the aggravated murder
                 in violation of R.C. 2929.04(A)(7).

 423. The jury returned guilty verdicts on all four specifications at the trial phase.

 Prior to the beginning of the penalty phase, counsel requested merger of the four


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 statutory aggravating circumstances. Counsel argued that the first specification

 and second specification should merge with the third and fourth specifications.

 The state agreed that the first specification should merge. (Tr. at 1999.) However,

 the state argued that the second specification should not merge and the trial court

 refused to merge the kidnapping specification with the aggravated robbery

 specification. (Tr. at 2001.) The state claimed they had demonstrated a separate

 animus for the kidnapping and therefore the kidnapping specification should not

 merge.

 424. These specifications were duplicative and cumulative. Under Ohio law, the

 sentencer must weigh the statutory aggravating circumstances found to have been

 proven beyond a reasonable doubt at the trial phase in determining the appropriate

 penalty. Ohio Rev. Code § 2929.03(D). This weighing process is critical in the

 sentencing determination. The reliability of the procedure is destroyed when the

 state artificially inflates the weight and number of the aggravating circumstances

 which the sentencer must weigh. Such inflation occurs when the state is permitted

 to present duplicative aggravating circumstances which should have been merged

 prior to the penalty phase.

 425. Here the state established no separate animus for the kidnapping or the

 aggravated robbery. This was all one indivisible course of conduct that resulted in

 the death of the victim. The kidnapping did not involve a substantial transportation

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 of the victim to a location different from where the aggravated murder, aggravated

 robbery or aggravated burglary occurred and did not involve a substantial restraint

 of the victim’s freedom separate and distinct from these other offenses. The victim

 was not moved from place to place and the state maintained throughout the trial

 that the offenses which lead to her death all occurred in her bedroom. It was not

 alleged that the offenses occurred over a prolonged period of time or that they

 involved separate conduct by Davis, but rather that in a single course of conduct

 these acts resulted in the victim’s death. The movement of the victim as it relates

 to the kidnapping offense was at best incidental to the aggravated robbery. There

 was not sufficient evidence of purpose to engage in sexual activity to support that

 element as a separate animus for the kidnapping charge. See Eighth Ground for

 Relief, supra. As such, the kidnapping specification should have merged into the

 Aggravated Robbery specification so that the jury was only weighing two

 aggravating circumstances against the mitigating factors in the sentencing phase.

 426. The failure to merge those duplicative specifications prior to the penalty

 phase permitted the state to cumulate them in a manner that made it impossible for

 the jury to fairly balance the aggravating circumstances and mitigating factors. As

 such Davis’ death sentences lack the reliability required in a capital case, under the

 Fifth, Sixth, Eighth and Fourteenth Amendments.




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 427. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 428. This Court should issue the writ.




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 Fifteenth Ground for Relief:

 THE JURY INSTRUCTIONS AT THE PENALTY PHASE FAILED TO CONVEY TO THE
 JURY ADEQUATE INFORMATION TO PROPERLY GUIDE EXERCISE OF ITS
 DISCRETION, IN VIOLATION OF THE FIFTH, SIXTH, EIGHTH AND FOURTEENTH
 AMENDMENTS.

 429. The jury’s discretion must be properly guided to ensure that the jury’s

 sentencing determination is reliable in order to avoid the arbitrary and capricious

 imposition of the death penalty. Gregg v. Georgia, 428 U.S. 153, 189 (1976). The

 jury instructions at the penalty phase, both individually and cumulatively, failed to

 adequately guide this discretion and permitted a death verdict that was not the

 result of a reliable sentencing procedure.

      A.   The jury was permitted to consider trial phase evidence that was not
           relevant to the penalty phase determination.

 430. At the beginning of the penalty phase, the state moved for the admission of

 all the trial phase evidence. (Tr. at 2030.) The court admitted, over objection,33 all

 but three photos (State’s Exhibits 7C, 7D and 7J at Tr. at 2211), and all of the

 testimonial evidence from the trial phase. The trial court instructed the jury that

 “only that evidence admitted in the trial phase that is relevant to the aggravating

 33
   Defense counsel objected to some of the exhibits. (Tr. at 2198–99.) To the
 extent that counsel for Davis did not more zealously or completely object to the
 introduction of all evidence including testimony from the trial phase, counsel’s
 performance fell far below the prevailing professional norms and was therefore,
 unreasonable and denied Davis the effective assistance of counsel in violation of
 the Fifth, Sixth, Eighth and Fourteenth Amendments. See Eighteenth Ground for
 Relief, infra.

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 circumstances and to any of the mitigating factors is to be considered by you.” (Tr.

 at 2292.)

 431. The trial court’s ruling and instruction failed to appropriately limit the

 introduction or consideration of the prejudicial evidence admitted at the trial phase.

 The statutory aggravating circumstances had been proven beyond a reasonable

 doubt at the trial phase. Clearly, not all of the testimonial evidence was relevant to

 whether the statutory aggravating circumstances outweighed the factors in

 mitigation—the sole question for the jury under Ohio Rev. Code § 2929.03(D).

 This evidence was not relevant to the nature and circumstances of the offense or

 the history and character and background of the defendant, the only relevant

 considerations for the jury pursuant to Ohio Rev. Code § 2929.03(D). State v.

 Wogenstahl, 662 N.E.2d 311, 319–20 (Ohio 1996). The trial court had the

 responsibility to determine which of the evidence was relevant and admissible, not

 merely to caution the jury that it could only consider relevant evidence. This

 failure to provide guidance to the jury created a sentencing procedure that was

 unreliable in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments.

    B.       The trial court’s instructions under Ohio Rev. Code §§ 2929.03,
             2929.04 and 2929.05 failed to properly allocate and define the burden
             of proof for the penalty phase.

 432. Ohio Rev. Code. § 2929.03(D)(1) provides that the accused has the burden

 of going forward with evidence in mitigation. The statute fails to allocate the


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 burden of proof as to the existence of mitigating factors. This left the jury with no

 guidance. Arbitrary decisions result from the vague scheme that fails to guide the

 jury’s discretion. The state has the burden of proving A) the existence of the

 statutory aggravating circumstances, and B) that the statutory aggravating

 circumstances outweigh the mitigating factors, beyond a reasonable doubt. The

 instructions that relieved the state of its mandated burden of proof denied Davis

 due process and a fair and reliable determination of sentence in violation of the

 Fifth, Sixth, Eighth and Fourteenth Amendments.

 433. Ohio Rev. Code § 2929.03(D)(1) puts the burden of going forward with

 evidence of mitigating factors on the accused. A particular defendant may have

 many items of mitigation in his favor. But if he declines to raise them, the death

 penalty becomes mandatory. The sentencing authority has no choice: it must

 weigh the aggravating circumstance(s) (already proven) against the absence of

 mitigation. Thus, two men with the same background can commit the same

 murder and be sentenced to vastly different penalties, merely because counsel for

 one investigates and presented mitigating evidence and the other does not. A

 sentencing scheme which permits this result operates arbitrarily and capriciously in

 violation of the equal protection and due process clauses as well as the Eighth

 Amendment.




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 434. Both Lockett v. Ohio, 438 U.S. 586, 604 (1978), and Eddings v. Oklahoma,

 455 U.S. 104, 115 (1982), condemn any procedure in which evidence of mitigation

 has no weight at all. Barclay v. Florida, 463 U.S. 939, 961 n.2 (1983) (Stevens, J.,

 concurring). The burden of demonstrating it has no weight falls on the state. The

 jury was not instructed that the state had this burden.

    C.     The Ohio “beyond a reasonable doubt” standard of proof fails to
           meet the requirement of higher reliability for the guilt determination
           phase of a capital case.

           1.    The statutes fail to require proof beyond all doubt that the
                 statutory aggravating circumstances outweigh mitigating
                 factors, and the appropriateness of death as a punishment
                 before the death sentence may be imposed.
 435. The standard for the burden of proof required for capital cases must be proof

 beyond all doubt. The jury must be instructed during the penalty phase that the

 law requires proof beyond all doubt that the aggravating circumstances outweigh

 the mitigating circumstances.

 436. Insistence on reliability of the guilt/innocence and sentencing determinations

 is a vital component of the Supreme Court’s capital jurisprudence. This emphasis

 on the need for reliability and certainty is a product of the unique decision that

 must be made in every capital case—the choice between life or death. There is a

 “qualitative difference” between death as a punishment and a term of years; “death

 profoundly differs from all other penalties” and is “unique in its severity and

 irrevocability.” Woodson v. North Carolina, 428 U.S. 280, 305 (1976); Lockett,

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 438 U.S. at 605; Gardner v. Florida, 430 U.S. 349, 363 (1977) (White, J.,

 concurring); Gregg, 428 U.S. at 187.

 437. Proof beyond all doubt, a higher standard, must be required at both phases in

 a capital case because of the absolute need for reliability. The irrevocability of the

 death penalty demands absolute reliability under the Fifth, Sixth, Eighth, and

 Fourteenth Amendment.

           2.    Ohio’s definition of proof “beyond a reasonable doubt” results
                 in a burden of proof insufficiently stringent to meet the higher
                 reliability requirement in capital cases at the penalty phase.

 438. Davis discussed in detail the constitutional shortcomings in Ohio’s

 definition of reasonable doubt in his Ninth Ground for Relief, supra, and

 Eighteenth Ground for Relief, infra. Davis incorporates those arguments here.

 Davis was deprived of a fair and reliable sentencing determination by the court’s

 reasonable doubt instruction in violation of the Fifth, Sixth, Eighth and Fourteenth

 Amendments.

    D.     The trial court failed to instruct the jury on residual doubt.

 439. If a jury possesses residual or lingering doubts about the guilt of the

 defendant, these residual doubts must appropriately be considered during its

 deliberation as to the appropriate sentence under the United States Constitution. A

 jury’s residual doubts permit the states to employ the procedure whereby a single

 jury hears both the trial and mitigation phases. See Lockhart v. McCree, 476 U.S.


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 162, 180–82 (1986); see also Ring v. Arizona, 536 U.S. 584, 609 (2002). An

 instruction on residual doubt is essential here because of the unconstitutional

 reasonable doubt instruction given in the trial phase of this case. Ohio forbids an

 instruction permitting the jury to consider residual or lingering doubt as a

 mitigating factor. See State v. McGuire, 686 N.E.2d 1112, 1122 (Ohio 1997).

 440. Due process, equal protection and the right to be free from cruel and unusual

 punishment obligate the courts to specifically instruct on relevant mitigating

 circumstances. Jury instructions must clearly direct the jury to fully consider the

 defendant’s mitigating evidence as it bears on his moral culpability and the jury

 must be given a vehicle through these instructions to express its reasoned moral

 response to the evidence. Penry v. Lynaugh, 492 U.S. 302, 327–28 (1989),

 abrogated in part on other grounds by Atkins v. Virginia, 536 U.S. 304 (2002). A

 jury instruction specifically identifying residual doubt as a relevant mitigating

 factor that must be considered by the jury was required to comply with the Fifth,

 Sixth, Eighth and Fourteenth Amendments.

    E.     The trial court gave an incorrect parole-eligibility instruction.

 441. The trial court’s failure to give the correct instruction concerning parole-

 eligibility denied Davis a fair and reliable sentencing determination. Ohio Rev.

 Code §§ 2929.03 and 2929.04 provide that Davis was eligible to receive one of

 four possible sentences: death, life imprisonment without the possibility of parole,


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 life imprisonment without the possibility of parole for thirty full years, or life

 imprisonment without the possibility of parole for twenty-five full years. The

 Court failed to explain that this meant twenty-five or thirty full years of

 imprisonment with no possibility of being paroled or no possibility of being

 paroled ever.

 442. Jurors speculating as to the actual number of years a defendant would serve

 if he were given a “life” sentence has potentially fatal consequences in a capital

 case.

 443. Jurors know what “death” means. They do not necessarily know what a

 sentence of life imprisonment—with no opportunity for parole for twenty-five, or

 thirty years, or ever—means.

 444. Due process does not permit the execution of a person on the basis of

 information which he had no opportunity to deny or explain. Simmons v. South

 Carolina, 512 U.S. 154, 161 (1994) (citing Gardner, 430 U.S. at 362).

 445. Failing to instruct the jury about the true meaning of parole eligibility

 permitted speculation and unreliable sentencing, predisposing the jury to act

 without regard to whether the death penalty was called for on the facts of this case.

 There is no state interest in preventing a death-qualified jury from receiving

 accurate information regarding sentencing alternatives. Even assuming such an

 interest existed, it is outweighed by the defendant’s and the state’s own interest in

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 reliable sentencing. The burden of affording the defendant the process which is

 due him is negligible, and can be accomplished with a simply jury instruction such

 as the one counsel requested here.

 446. The jury should have been instructed as to the actual number of years of a

 “life sentence” Davis would be required to serve before he would become eligible

 for parole. The failure to properly instruct the jury on parole eligibility, should it

 impose a life sentence, denied Davis a fair and reliable sentencing determination in

 violation of the Fifth, Sixth, Eighth and Fourteenth Amendments.

    F.     The trial court failed to give a mercy instruction.

 447. During the penalty phase instructions, the trial court admonished the jury not

 to consider sympathy, prejudice or bias, (Tr. at 2295–96), but did not instruct the

 jury that it could consider mercy. The trial court’s failure to instruct on mercy

 denied Roland Davis a fair and reliable and fully individualized sentencing hearing

 in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments.

           1.     The U.S. Supreme Court has recognized the importance of a
                  mercy instruction in capital sentencing.
 448. The role of mercy in capital sentencing is critical to avoid arbitrary

 sentencing. Kansas v. Marsh, 548 U.S.163, 176 (2006). The Court cited the

 mercy instruction as foreclosing the possibility of Furman-type error noted in the

 dissent. See id. at 176 n.3 (“The ‘mercy’ jury instruction alone forecloses the

 possibility of Furman-type error as it eliminate[s] the risk that a death sentence

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 will be imposed in spite of facts calling for a lesser penalty.”) (internal quotation

 marks omitted).

 449. Absent an instruction to consider mercy, there can be no assurance that a

 death sentence will not be imposed in spite of facts calling for a lesser penalty.

           2.      Mercy and sympathy are conceptually distinct factors.
 450. Mercy and sympathy are conceptually distinct factors.

 451. The jury’s consideration of mercy based on the evidence is critical to capital

 sentencing because mercy facilitates a reasoned moral inquiry into “the

 defendant’s background, character and crime . . . .” California v. Brown, 479 U.S.

 538, 545 (1987) (O’Connor, J., concurring). When a jury determines that a

 defendant is “less culpable” because of the defendant’s “disadvantaged background

 or . . . emotional and mental problems,” the jury is simply granting mercy based on

 the mitigating evidence at trial. See id. (O’Connor, J., concurring); see also Penry,

 492 U.S. at 327–28. Mercy underlies the very concept of individualized

 sentencing.

 452. Accordingly, equating mercy and sympathy is improper. Considerations of

 mercy are inextricably tied to the mitigating evidence presented at trial and mercy

 is fundamental to the concept of individualized sentencing.




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           3.     The failure to give a mercy instruction under the facts of this
                  case denied Davis a fair and reliable sentencing determination.
 453. The conceptual distinction between sympathy and mercy is easily confused.

 There is a “reasonable likelihood” that the jury thought that sympathy and mercy

 were synonymous.

 454. Because there is a “reasonable likelihood” that the jurors equated mercy with

 sympathy, the trial court’s admonition against sympathy misled the jurors in the

 absence of any instruction permitting the consideration of mercy. As the jurors

 were likely to have thought that mercy and sympathy were synonymous, the trial

 court effectively told the jurors to also reject mercy, the traditional basis for

 distinguishing between sentences of life and death. The exercise of mercy is,

 however, within the juror’s traditional prerogative. Accordingly, the jurors needed

 to have been instructed on the fine but crucial distinction between mercy and

 sympathy in order to have properly exercised their traditional prerogative to grant

 mercy.

 455. The trial court’s instruction to reject sympathy was tantamount to an

 instruction to not consider mercy because the fine conceptual distinction between

 sympathy and mercy was not clarified. The court’s failure to instruct on mercy

 rendered the sentencing determination unreliable in violation of the Fifth, Sixth,

 Eighth and Fourteenth Amendments. The jury must be properly informed about



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 terms that were essential to the jury’s sentencing deliberations. See Simmons v.

 South Carolina, 512 U.S. 154, 172–73 (1994) (Souter, J., concurring).

 456. Davis was prejudiced by the instruction that prevented the jury from

 considering mercy at the penalty phase. He presented a wealth of mitigating

 evidence that would have justified the jury in exercising a traditional grant of

 mercy. It is the ability to consider and give weight to such factors that is required

 for the sentencer to properly exercise its discretion. By not permitting

 consideration of “mercy,” the trial court prevented Davis’ jury from fully

 exercising its discretion and acting as a voice of the community, under the Fifth,

 Sixth, Eighth and Fourteenth Amendments.

      G.   Conclusion

 457. The jury instructions given at the penalty phase of Roland Davis’ trial were

 inadequate in that they failed to properly define the role of the jury, properly define

 the mitigating factors and aggravating circumstances, properly define the jury’s

 role and how it should process the evidence it received, properly allocate and

 define the burden of proof, and properly limit and guide the jury’s discretion to

 determine the appropriate sentence.34 As such they denied Davis due process of


 34
   To the extent that counsel for Davis did not more fully and completely object to
 the failure to instruct on residual doubt, to not limit consideration of trial phase
 evidence to the proper questions for the penalty phase, to properly allocate the
 burden of proof, to properly define the burden of proof, to instruct on mercy, and
 the failure to give correct parole instructions, counsel’s performance fell far below
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 law, a fair trial and a fair and reliable determination of sentence in violation of the

 Fifth, Sixth, Eighth, and Fourteenth Amendments.

 458. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of all of these jury instruction claims, its adjudications were

 contrary to, or unreasonable applications of, clearly established federal law, and/or

 based on unreasonable determinations of the facts.

 459. This Court should issue the writ.




 the prevailing professional norms and was therefore, unreasonable and denied
 Davis the effective assistance of counsel in violation of the Fifth, Sixth, Eighth and
 Fourteenth Amendments. See Eighteenth Ground for Relief, infra.

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        PROSECUTORIAL MISCONDUCT GROUNDS FOR RELIEF

 Sixteenth Ground for Relief:

 THE PROSECUTOR VIOLATED DAVIS’ RIGHTS UNDER THE FIFTH, SIXTH, EIGHTH
 AND FOURTEENTH AMENDMENTS BY FAILING TO MEET HIS OBLIGATION TO
 SEEK JUSTICE AND TO REFRAIN FROM UNFAIRLY SEEKING A CONVICTION OR
 SENTENCE OF DEATH BASED ON IMPROPER EVIDENCE, IMPROPER ARGUMENT
 AND OTHER MISCONDUCT.

 460. A capital defendant is entitled to a trial which is free from prosecutorial

 misconduct that renders the proceeding fundamentally unfair. Donnelly v.

 DeChristoforo, 416 U.S. 637, 643 (1974). The prosecutor has a special duty and

 functions as the government’s representative, “whose obligation to govern

 impartially is as compelling as its obligation to govern at all . . . .” Berger v.

 United States, 295 U.S. 78, 88 (1935).

 461. Time and time again, the prosecuting attorney overstepped the bounds of

 propriety by vouching for the truth of his witnesses, commenting on Davis’

 silence, shifting the burden of proof, setting up improper straw-man arguments,

 engaging in improper cross examination and argument designed to inflame the

 passions of the jury, presenting victim impact evidence, denigrating the defense,

 and introducing inadmissible and inflammatory evidence.

 462. The prosecuting attorney crossed far over the line of permissible conduct

 with arguments and tactics long condemned for their capacity to mislead and

 unfairly prejudice the jury. The misconduct was so pronounced and persistent that


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 it could only be understood as deliberate and calculated to unfairly influence the

 jury.

           A.      The prosecutor repeatedly vouched for witnesses and
                   expressed personal beliefs.

 463. The prosecutor repeatedly violated a fundamental tenet of prosecutorial

 conduct: not to express personal opinions concerning credibility of witnesses or

 guilt of the accused or his belief in the appropriateness of a sentence of death. It is

 improper for a prosecutor to express his personal opinion regarding the guilt of the

 accused. See Berger, 295 U.S. at 88; United States v. Young, 470 U.S. 1, 18–19

 (1985). Here, the prosecutor stated in rebuttal closing argument at the trial phase:

                These folks [the state’s witnesses] are not the kind of
                people that would come in here and identify somebody in
                this kind of case unless they were absolutely, positively
                certain.

 (Tr. at 1915–16.) This comment was objected to and the objection sustained. At

 that point, immediately after the court sustained defense counsel’s objection, the

 prosecutor reiterated the point by stating:

                Do these people appear to you to be people that would
                come in here and identify the person as a murderer unless
                they were certain? You answer that.

 (Tr. at 1916.)




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 464. One of the last arguments the prosecutor made to the jury in rebuttal closing

 argument was similarly improper in personally vouching for the expert witnesses’

 credibility:

                I’m not the expert, these folks are. And as long as DNA
                has been around and as many cases these folks have
                done—that is, these folks being officer, Detective Elliget,
                Dr. Tejwani, Meghan Clement, and their degrees and
                stuff, they know these things more than we can hope to
                know, if we hope to know it at all.

                ***

                The likelihood of Randy Davis being a suspect is—or
                being involved in this on this evidence is zero, unless you
                believe the combined total experience of two DNA
                experts of about—if I added correctly, about 37 years,
                don’t know what they are talking about.

 (Tr. at 1918.)

 465. Essentially the prosecutor told the jury to trust whatever the experts said

 because he trusted the experts, regardless of what the jurors might think or

 regardless of any doubts raised in cross examination. The prosecutor argued that

 the jury should substitute the opinion of the experts for their own because: 1) they

 did a lot of cases;35 2) they had a lot of years of experience;36 3) they had “degrees


 35
      (Tr. at 1918 (“as many cases as these folks have done”).)
 36
   (Tr. at 1017 (“based upon experience and training over, what, two and a half or
 three decades”); Tr. at 1856 (“And what evidence we do have is a what, 20-year
 veteran in the DNA area telling you that the profile I found on this bloody hand
 print statistically—”).)

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 and stuff”; and/or 4) because he had two experts and the defense had none.37 This

 constituted improper bolstering of the witness’s credibility and infringed on the

 role of the jury in determining what weight to give the testimony of certain

 witnesses.

 466. The prosecutor bolstered several witnesses throughout their testimony,

 implying that the jury should believe certain witnesses because of the respective

 witness’ experience, or because the respective witnesses had done everything in a

 “proper” or “scientific” manner. Yet there was no testimony as to what that proper

 manner was.38 The prosecutor essentially implied that each of his expert witnesses

 should be believed because they knew more than the jury.




 37
   (Tr. at 1856–57 (“In this particular case, you have two experts that tell you…”);
 Tr. at 1903 (“but you can’t ignore the fact that both these experts testified
 unequivocally that people do not have the same DNA pattern . . .”).)
 38
    (Tr. at 1679 (“Are those items, in your opinion as a DNA expert, appropriately
 packaged? And were they appropriately packaged when they were received?”); Tr.
 at 1066 (“And at least while you had—your agency had custody of it, have they
 been stored and collected properly during the entire time since the year 2000 up
 until now?”); Tr. at 1066 (“But at any point in time they’re in your control, you’ve
 maintained them in the proper acceptable scientific manner.”); Tr. at 1067 (“At
 least while you’ve had it, has it been maintained in a proper manner in terms of
 storage?”); Tr. at 1068 (“Have they been kept, at least while they were in your
 custody and care, in proper manner in terms of storage?” “Yes, they have.”
 “Limited access to people. In other words, in areas that are only your employees
 that are authorized to be there.”); Tr. at 1069 (“Have they been maintained in the
 proper manner since their collection in 2004?”).)

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 467. The prosecutor also bolstered non-expert witnesses. Richard Hummell

 testified—as a jailhouse snitch—to alleged conversations he had with Davis at the

 jail. Hummell had been in jail for a DUI offense. The prosecutor vouched for

 Hummell in closing argument. He argued that Hummell should be believed

 because “there is something in a lot of people, no matter their background” that

 makes them tell about the “killing of an old woman in her own home.” (Tr. at

 1848–49.) The prosecutor argued there was a “sense of decency” about Hummell

 and that “regardless of his blemishes”, he testified “truthfully”. (Tr. at 1849.)

 Clearly, this constituted improper bolstering of Hummell’s truthfulness.

 468. The prosecutor, likewise, bolstered the truthfulness of Sharon Wright after

 the facts elicited on cross examination made her markedly less than credible.

 469. For example, Wright admitted she told the police different stories at

 different times. (Tr. at 1167–68.) She admitted she told the police all of Davis’

 brothers were in Florida when, in fact, two of his brothers had been in Newark.

 (Tr. at 1180.) She testified that Randy Davis died in 1998 or 1999, (Tr. at 1165),

 and that he died before Elizabeth Sheeler, (Tr. at 1193–94). But Randy Davis in

 fact died in 2002 and, critically, after Sheeler’s death. Wright testified that she

 was taking Oxycontin two times daily. (Tr. at 1191–92.) Finally, she refused to

 talk with defense investigators. (Tr. at 1194.)




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 470. These facts elicited on cross examination made Sharon Wright less than

 credible. Nevertheless, the prosecutor urged the jury to overlook those problems

 with her credibility because Elizabeth Sheeler was like a grandparent to Wright

 and her death would have been a memorable event to Wright. (Tr. at 1842–43.)

 Again, these comments constituted improper bolstering of Wright’s truthfulness as

 well as the introduction of improper victim-impact argument. See Sixteenth

 Ground for Relief, subclaim 16.C, infra. The information elicited on cross

 examination of Wright was proper for the jury to weigh the credibility of her

 testimony.

    B.     The prosecutor improperly commented on a missing witness.

 471. The prosecutor improperly elicited and argued that the defense had no expert

 witnesses by repeatedly eliciting testimony from his experts that all test results and

 notes had been turned over to the defense. (Tr. at 1535 (testimony from Det.

 Elliget that, if the defense had wanted to do any testing on the physical evidence,

 he would have “absolutely” turned the evidence over to the defense); 1602

 (testimony from Ramen Tejwani that she “provided” all test notes and results to

 defense); 1764 (testimony from Meghan Clement that all of the tested material had

 been made available in the discovery process).) The prosecutor also specifically

 asked Meghan Clement whether she had given her test data to a defense expert:




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              “[I]n this particular case did you provide documentation
              regarding your laboratory, about your processes and your
              specific testing in this case for access to a defense
              expert?”

 (Tr. at 1763 (emphasis supplied).)

 472. The court sustained Davis’ objection, but refused to grant a mistrial at the

 request of the defendant. (Id.) The prosecutor immediately underscored the same

 point by eliciting testimony from Clement that all the material related to the case

 had been made available in the discovery process. This raised the issue in the

 jury’s mind that, if the defense had complete access to the evidence and no expert

 to refute the state’s experts, then the state’s experts must be correct. (Tr. at

 1764.)39 This was as improper as the earlier question. Only the prosecutor, and

 not the witness, would know what had been turned over in discovery. A

 prosecutor may not comment on the fact that a witness was not called at trial.

      C.   The prosecutor improperly elicited victim impact evidence.

 473. The prosecutor repeatedly elicited and argued victim-impact evidence. “In

 the event that [victim-impact] evidence is introduced that is so unduly prejudicial

 that it renders the trial fundamentally unfair, the Due Process Clause of the




 39
   To the extent counsel for Davis failed to object, counsel’s performance was not
 in keeping with the prevailing professional norms and was therefore, unreasonable
 and denied Davis the effective assistance of counsel in violation of the Fifth, Sixth,
 Eighth and Fourteenth Amendments. See Eighteenth Ground for Relief, infra.

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 Fourteenth Amendment provides a mechanism for relief.” Payne v. Tennessee,

 501 U.S. 808, 825 (1991).

 474. While the Eighth Amendment may not always prohibit the introduction of

 relevant victim-impact evidence or argument in the penalty phase of a capital trial,

 id. at 827, victim-impact evidence is never relevant to the determination of whether

 the state has proven beyond a reasonable doubt all of the elements of the offenses

 at issue in the trial phase.

 475. The impact a crime may have had on the survivors does not “make the

 existence of any fact that is of consequence to the determination of the action more

 probable or less probable than it would be without the evidence.” Ohio R. Evid.

 401. The loss caused by a crime simply has no bearing on the determination of

 who committed the crime.

 476. Nonetheless, the state repeatedly made a point of eliciting victim-impact

 evidence from virtually every witness at the trial phase. The state also repeatedly

 referenced the fact that Elizabeth Sheeler was an 86-year-old woman. The

 prosecutor did this in both the trial and sentencing phases. (Tr. at 872, 882 (twice)

 1830, 1834, 1835, 1836, 2227, 2228, 2232 (three times) 2281.) The prosecution

 asked every lay witness to identify State’s Exhibit 1, a photo of elderly white

 haired Elizabeth Sheeler and then, each time, displayed the large photograph to the

 jury. (Tr. at 935, 964, 1091, 1123, 1146, and 1236.)

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 477. The blown-up photograph was sent back with the jury during for

 deliberations in both the trial phase (Tr. at 1786), and the penalty phase (Tr. at

 2197). The photograph was irrelevant to any fact at issue in either phase. It was

 introduced used solely to inflame the jury.

 478. The state’s repeated references to an 86-year-old woman who was killed in

 her own home were solely to inflame the jury. Under Ohio Rev. Code

 § 2929.04(A), there is no statutory aggravating circumstance concerning the death

 of an elderly victim. The age of the victim was not an element of any of the crimes

 charged. Nevertheless, the state repeatedly reminded the jury that the victim here

 was an 86-year-old, frail woman who was killed in her home.

 479. By repeatedly emphasizing her age, by repeatedly using State’s Exhibit 1 in

 both the trial phase and penalty phases, and by submitting the photograph to the

 jury in both the trial and penalty phases the state effectively created an additional

 non-statutory aggravating circumstance of the advanced age of the victim for the

 jury to weigh in its sentencing deliberation. Such tactics denied Davis due process

 and a fair trial.

 480. Additionally, the state elicited testimony from many of the witnesses about

 the effect the victim’s death had on them. In doing so, the prosecutor continually

 elicited the fact that she had lived alone for 20 years in this apartment and that she

 had been killed in her own bedroom. He painted a picture of an elderly woman,

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 living alone, lonely and wanting to talk, hard of hearing, and dependent on her

 neighbors and others for assistance. The state repeatedly emphasized that she was

 like a grandmother to Sharon Wright both during her testimony and in closing,

 including the wholly irrelevant fact that the victim had sent birthday- and

 Christmas cards to Sharon Wright. (Tr. at 1151, 1195–96, 1197, 1842–43.) This

 testimony had no other purpose than to elicit a variety of victim-impact-related

 emotions—from horror and disgust to anger and pity.

 481. Victim impact evidence is generally excluded from a capital trial, because it

 is never relevant in the trial phase. To be admitted, however, it must be relevant

 and that relevance must outweigh any prejudicial impact. Ohio R. Evid. 403(A).

 482. The introduction of this evidence in Davis’ case advanced no legal theory

 underlying the prosecution and did not make the existence of any fact of

 consequence any more or less likely. Its admission rendered the trial

 fundamentally unfair. Davis was convicted in a trial tainted by an atmosphere of

 emotion and sympathy for the victim that was exacerbated by the state’s

 presentation of unnecessary and irrelevant victim-impact evidence in violation of

 the Fifth, Sixth Eighth and Fourteenth Amendments.40



 40
   To the extent that counsel for Davis did not more zealously object to the
 introduction of irrelevant and inflammatory evidence, counsel’s performance was
 not in keeping with the prevailing professional norms and was therefore,
 unreasonable and denied Davis the effective assistance of counsel in violation of
                                         181
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    D.     The prosecution improperly commented on Davis’ silence and
           attempted to shift the burden of proof.

 483. The prosecutor repeatedly commented on Davis’ silence and made

 arguments attempting to shift the burden of proof from the state to Davis. In his

 opening statement, the prosecutor turned the indictment into a challenge to Davis

 to defend against those charges. The prosecutor defined the indictment as “a

 document that gives the Defendant notice of what he’s expected to defend

 against . . . .” (Tr. at 870.)

 484. The prosecutor then improperly argued for a guilty verdict by asking the jury

 to return guilty verdicts “because nobody can vouch for his whereabouts the night

 of the 10th or the morning of the 11th,” again challenging Davis to prove where he

 was one evening five years earlier. (Tr. at 921.) The prosecutor repeated this

 argument in closing. “Nobody—nobody places—gives this guy an alibi.” (Tr. at

 1833.) The absence of an alibi is not a valid relevant fact requiring a guilty

 verdict. Moreover, a defendant has no obligation to provide alibi or any evidence.

 The prosecutor’s suggestion to the contrary clearly was an attempt to shift the

 burden of proof.




 the Fifth, Sixth, Eighth and Fourteenth Amendments. See Eighteenth Ground for
 Relief, infra.

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 485. The state also repeatedly elicited from Det. Vanoy the fact of Davis’ refusal

 to be tape-recorded during an interview.41 (Tr. at 1375.) When asked why the

 second interview was not tape-recorded, the detective answered that Davis was

 unwilling to give a taped statement. On redirect, the prosecutor elicited the

 explanation that Det. Vanoy had tried to get a second interview, but that Davis

 refused.

 486. In closing, the prosecutor once again commented on Davis’ refusal to be

 tape-recorded a second time. (See Tr. at 1914 (suggesting it was “[n]o big deal”

 because there was no difference between the statement that was tape-recorded in

 Florida and the five hour statement in Newark that was not recorded, except that

 Davis admitted he lied).)

 487. The prosecutor then compounded the misconduct, commenting on Davis’

 silence by arguing that only guilty people lie. (Id.) The state argued that Davis’

 refusal to be tape-recorded a second time was evidence that he was guilty. Such

 argument is clearly a comment on his silence and clearly improper.




 41
    This was first elicited on cross examination. To the extent that defense counsel
 elicited this testimony, and failed to object when the prosecution emphasized this
 refusal (Tr. at 1383), counsel’s performance was not in keeping with the prevailing
 professional norms and was therefore, unreasonable and denied Davis the effective
 assistance of counsel in violation of the Fifth, Sixth, Eighth and Fourteenth
 Amendments. See Eighteenth Ground for Relief, infra.

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 488. The right to remain silent includes Davis’ refusal to be recorded. His

 invocation of the right to silence cannot be used to prove guilt no matter what the

 form. That is what occurred here. The prosecutor’s comments that Davis was

 guilty because he exercised his right not to be tape-recorded were impermissible

 comments on Davis’ rights against self-incrimination and denied him due process

 and a fair trial.

    E.      The prosecution improperly denigrated defense counsel.

 489. The prosecution is afforded wide latitude to highlight the relative strengths

 of its case and the relative weakness of the defense, but this latitude does not

 extend so far as to permit the prosecutor to denigrate the role of defense counsel or

 defense counsel personally. Here the state ridiculed the defense’s legitimate

 argument about the DNA statistics and the possibility of a paternal relative with the

 same profile. The prosecutor argued:

               And Mr. Sanderson wants to talk about wait a minute,
               there’s only six and a half billion people in the world,
               why isn’t there only six and a half billon DNA strands.
               Because assumingly whatever power created all of us
               wanted to leave the ability for humans to populate and
               not stop at six and a half billion, because according to his
               argument, nobody else could be born tomorrow, because
               we wouldn’t have enough DNA to go around. Maybe
               some day in the distant future, long after I’m gone we’ll
               populate other worlds and there will be 97 quadrillion
               humans, and maybe then when I’m dead and gone, we
               might have a second person in this world that will have
               the same DNA pattern. Maybe. But right now that
               second person in the world doesn’t exist. There’s two
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              people that could have done this, Roland Davis and that
              loose primate we just quite haven’t found yet that’s
              running around Newark.

 (Tr. at 1907–08.)

 490. This argument improperly denigrated defense counsel and the legitimate

 defense theory. It was based on the fact that the overwhelming statistics that were

 brought out at trial by the state’s DNA experts were based on samples of unrelated

 individuals, not based, as it should have been, on the odds of two male relatives

 having profiles that were consistent with the evidence.

 491. Additionally, the Y-STR test used to segregate male DNA from female

 DNA in a mixed sample is not as precise as some DNA testing. Meghan Clement

 testified that the male DNA obtained from the bedding materials could have come

 from Davis or from any of Davis’ paternal relatives including his brothers. (Tr. at

 1686.) Clement conceded that there was not an exact match to Davis. (Tr. at

 1695.) Finally, Clement conceded that she knew of no studies that compared

 related individuals across all thirteen (13) loci that are compared. (Tr. at 1720.)

 492. This was not harmless error. The DNA evidence was critical evidence that

 was improperly presented as scientifically infallible. See Sixth Ground for Relief,

 Sixteenth Ground for Relief, Subclaim.B, supra; Seventeenth Ground for Relief;

 Eighteenth Ground for Relief; and Twenty-Second Ground for Relief, infra. Both

 the state and the defense devoted considerable time in closing arguments to the


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 DNA evidence. The defense employed a chart during closing argument that

 included page 3 of Defense Exhibit L, (Tr. at 1970), from the LabCorp Amended

 Certificate of Analysis regarding the bedding removed from Sheeler’s bedroom.

 The analysis was prepared by Clement and identified by her during her testimony.

 (Tr. at 1730.) Page 3 of that Certificate listed the thirteen loci that are profiled in a

 DNA analysis along with Davis’ profile of those 13 loci, Sheeler’s profile of those

 13 loci and two individual samples’ profiles those 13 loci obtained from the

 bedding. That exhibit established that there was not an exact match between

 Davis’ profile and either of the samples, much less an exact individualized

 identification of Roland Davis as the perpetrator of the crime.

 493. This evidence as well as the testimony relating to the shared DNA between

 paternal relatives created a reasonable doubt about the statistics used by the state’s

 experts to suggest that there was only a 1 in 37 quadrillion or 1 in 6 billion chance

 of this DNA belonging to someone other than Davis. The jury even requested the

 chart during deliberations. (Tr. at 1970.) Such a request strongly suggests that the

 jury was focused on this evidence. The prosecution’s improper argument

 ridiculing the defense theory was not only prejudicial but infringed on his right to

 effective counsel, his right to present a defense, and his right to a fair trial under

 the Fifth, Sixth, Eighth and Fourteenth Amendments.




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    F.     The prosecutor improperly requested a conviction to bring justice.

 494. A prosecutor may not call for the jury to convict in response to public

 demand. Although appeals to act as the community conscience are not per se

 impermissible, if “calculated to incite the passions and prejudices of the jurors”

 such appeals may be impermissible. See United States v. Solivan, 937 F.2d 1146,

 1151 (6th Cir. 1991). A case-by-case analysis is required. Id.

 495. Here the prosecutor tied a finding of guilt to the jury’s duty to give Elizabeth

 Sheeler justice:

              The second person this case is about is because I’ve met
              that burden, because the Defendant has had his right to a
              jury trial, let’s make this case about Elizabeth Sheeler
              getting justice because the government has done what the
              government is expected under the Constitution to do.”

 (Tr. at 1857–58.)

 496. The prosecutor reiterated this “justice for Elizabeth Sheeler” theme in

 rebuttal: “Elizabeth Sheeler is asking you on this evidence to convict her murderer

 and so am I.” (Tr. at 1918.) Implying that justice for the victim can be obtained

 only by convicting this Defendant, regardless of the evidence, is clearly improper.

 497. The prosecutor repeated this theory in the penalty phase arguments:

 “[J]ustice is a two-way street . . . he has had his side of the highway. Give

 Elizabeth Sheeler hers.” (Tr. at 2241.) Roland Davis cannot be punished for

 exercising his constitutional right to trial any more than he may be punished for


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 exercising his right to remain silent. See Sixteenth Ground for Relief, Subsection

 D, supra. Premising “justice” for the victim on the fact that Davis exercised his

 right to a jury trial denigrates and chills the exercise of that constitutional right to

 trial in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments.42

      G.   The prosecutor engaged in other improper conduct during the
           penalty phase.

 498. The prosecutor engaged in other egregious misconduct throughout the

 penalty phase as well.

           1.      The prosecutor made improper comments during his opening
                   statement.
 499. In his opening statement, the prosecutor explained to the jury it would only

 be considering three specifications even though it had found Davis guilty of four.

 The prosecutor stated:

                The fact that that fourth one isn’t there doesn’t mean that
                you guys did anything wrong, because you didn’t. It’s
                just a legal thing that’s impossible to explain. It’s
                probably not appropriate for me to explain why the fourth
                one isn’t here, but you may not rely upon the fourth one.
                Okay. Its [sic] nothing you guys did wrong. Its [sic]
                nothing that the defendant or the Judge just decided today
                we’re going to take away this one. Its [sic] legal issues
                that don’t concern you.

 42
   To the extent that counsel failed to object to the prosecutor’s ongoing requests
 for justice for the victim, counsel’s performance fell far below the prevailing
 norms, and was therefore unreasonable depriving Davis of the effective assistance
 of counsel under the Fifth, Sixth, Eighth and Fourteenth Amendments. See
 Eighteenth Ground for Relief, infra.

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 (Tr. at 2017.)

 500. No explanation should have been given, and if an explanation was needed, it

 should have come from the court.43 This argument acted to focus the jury on an

 aggravating circumstance they could not legally consider. Moreover, permitting

 this “explanation” to come from the prosecutor put the prosecutor in a position of

 instructing the jury––a role reserved exclusively for the court.

           2.     The prosecutor improperly suggested to the jury that it could
                  not consider certain mitigating evidence.
 501. The prosecutor improperly suggested to the jury that it could not consider

 much of the mitigating evidence presented by Davis, through improper cross

 examination of defense witnesses and during argument. The Supreme Court has

 clearly established that in capital cases, “the Eighth and Fourteenth Amendments

 require that the sentencer . . . not be precluded from considering, as a mitigating

 factor, any aspect of a defendant’s character or record and any of the

 circumstances of the offense that the defendant proffers as a basis for a sentence

 less than death.” Lockett v. Ohio, 438 U.S. 586, 604 (1978); see also DePew v.




 43
   To the extent that counsel for Davis did not object to the improper argument,
 counsel’s performance was not in keeping with the prevailing professional norms
 and was therefore, unreasonable and denied Davis the effective assistance of
 counsel in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments. See
 Eighteenth Ground for Relief, infra.

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 Anderson, 311 F.3d 742, 748 (6th Cir. 2002) (holding “[t]he Eighth Amendment

 mitigation requirement also applies to the actions of prosecutors.”).

 502. Davis’ brother, Dana Davis, testified to the difficult circumstances of Roland

 and his childhood, including his father’s alcoholism and domestic violence. (Tr. at

 2083–90.) He also testified that when his mother left his father and moved them to

 Florida, Roland took care of him and his brother and eventually got a job and

 contributed to the family finances. (Tr. at 2091–92.)

 503. During cross examination, the prosecutor, using Dana’s testimony about

 Roland’s contribution to the family finances, repeatedly and improperly questioned

 Dana about Roland’s child-support arrearages. (Tr. at 2113–14.)44 This was an

 attempt by the prosecutor to prejudicially portray Davis as a deadbeat father, which

 was wholly irrelevant to the issues Davis raised in the penalty phase. No witness

 attempted to portray Davis as a great father or as current in his child-support

 obligations and accordingly, this cross examination was improper and prejudicial.

 504. This was not an isolated occurrence. The prosecutor repeatedly engaged in

 improper cross examination of Dana Davis, and other penalty phase witnesses.



 44
   To the extent that counsel for Davis did not object to the improper argument,
 counsel’s performance was not in keeping with the prevailing professional norms
 and was therefore, unreasonable and denied Davis the effective assistance of
 counsel in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments. See
 Eighteenth Ground for Relief, infra.

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 The state brought up an alleged law suit by one of Davis’ employers45—also

 wholly irrelevant to the issues—again offered merely to portray Davis as a bad

 person. The state also suggested Davis tried to buy himself back into someone’s

 favor46 which was, again, totally irrelevant to the penalty phase issues.

 505. The state elicited testimony from Dolly Sidle about Sharon Davis’ “strength

 of character,” her husband’s ability to overcome his drinking problem with

 counseling and hard work, and the fact that these issues can be overcome with

 counseling. (Tr. at 2146–47.) This was improper cross examination, as it was

 irrelevant to the issues, and because Sidle was not qualified as an expert to give

 opinions about overcoming issues of domestic violence, alcoholism and abuse

 and/or their lasting effects on the psychological makeup of a child. The state used

 Sidle to portray Davis as having a weak character and as a man who refused to get

 help for his problems.47


 45
   “With respect to that payment, isn’t it a fact that Callander Cleaners had to sue
 him to get that money . . . .” (Tr. at 2122.)
 46
   “But it wouldn’t be uncommon at all for Mr. Davis to try to do something to buy
 himself back into someone’s favor. . . . How about buying $1,200 worth of drums
 for his ex-girlfriend’s son as a way to get back into his—Terri’s favor. That’s
 something we would expect from your brother, correct?” (Tr. at 2123.)
 47
   To the extent that counsel for Davis did not object to all of these comments and
 improper argument, counsel’s performance was not in keeping with the prevailing
 professional norms and was therefore, unreasonable and denied Davis the effective
 assistance of counsel in violation of the Fifth, Sixth, Eighth and Fourteenth
 Amendments. See Eighteenth Ground for Relief, infra.

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 506. The state continued with these same improper themes in the cross

 examination of Susan McGuire. McGuire testified that she was one of five kids

 living with an abusive stepfather from age five through age sixteen. (Tr. at 2162–

 63.) The state again elicited testimony that counseling helped McGuire and then

 asked her if the abuse made her grow up and “go out and kill [somebody]?” (Tr. at

 2163.) This type of questioning is always improper. It was asked solely to inflame

 the jury.

 507. The prosecutor’s questioning of McGuire misled the jurors to believe that

 they could not consider any evidence that did not relate to Davis’ guilt or

 innocence of the offense, and/or that a nexus must exist between the crime and any

 evidence offered as mitigation for such evidence to, in fact, be considered

 mitigation evidence.

 508. The prosecutor argued this same theme in closing. He repeatedly suggested

 there was no mitigating evidence, (Tr. at 2227, 2229, 2238, 2241–42, 2275–76),

 and this deliberately limited the “mitigation” the jury could consider to factors that

 provided an explanation for the crime. The prosecutor then argued that there was

 no explanation for the crime, and therefore there was no mitigation.

 509. Similarly, the prosecutor repeatedly argued that nothing that occurred in

 Davis’ childhood was mitigating:

              What he and his siblings and his mother endured was
              wrong by anyone’s definition then or now, but it doesn’t
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              mitigate in any way, shape or form what he does 30 years
              later.

 (Tr. at 2231);

              [O]ne of the things that was strikingly absent from the
              testimony about how his father would physically abuse
              his mother in the children’s presence, strikingly absent is
              a connection . . . [a] connection between that time in his
              life to the year 2000 when he stabs to death an 86-year
              old woman, Not just a 30 year gap I’ve already
              mentioned, but we might have a connection a rational
              connection between that upbringing and killing someone.

 (Tr. at 2231.)

 510. The prosecutor continued this improper line of argument that there was not

 nexus between the offense and Davis’ offered mitigation evidence and thus there

 was no mitigation for the jury to consider. The prosecutor argued “[t]here is no

 connection and therefore, there is no mitigation. (Tr. at 2234.) He also asserted

 “[a]nd you know why you haven’t heard it, there is no connection, and therefore,

 there is no mitigation.” (Tr. at 2277.) He also emphasized “[n]o connection, folks,

 and therefore, no mitigation.” (Tr. at 2281.)

 511. The prosecutor improperly argued that the evidence presented did not

 explain why Davis committed the crimes and therefore was not mitigating

 evidence. Mitigation is not an “excuse” for aggravated murder. See Eddings v.

 Oklahoma, 455 U.S. 104, 113 (1982). It is not limited to an explanation for the

 murder. The Eighth Amendment requires the jury in a capital case to fully


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 consider and give effect to all relevant proffered mitigating evidence of the

 defendant’s history, background, character, record, and the circumstances of the

 offense. Id. at 113–14. The jury must consider the defendant’s relevant evidence

 for its full mitigating effect. Johnson v. Texas, 509 U.S. 350, 366 (1993). Under

 Ohio law, mitigation evidence is any evidence to be considered in determining the

 appropriateness of a life sentence.

           3.      The prosecutor improperly argued the absence of mitigating
                   factors as a non-statutory aggravating circumstance.
 512. The prosecutor also improperly argued that the nature and circumstances of

 the offense was aggravating.

                Now, the aggravating circumstances are, as I noted
                earlier, just the kidnapping, the aggravated robbery and
                the aggravated burglary. You can nonetheless look at the
                nature and circumstances of the offense not as
                aggravating circumstances, but to see if there is anything
                mitigating there. Is there anything mitigating about the
                nature and circumstances of the offense. I submit to you
                there’s nothing mitigating about stabbing to death an 86-
                year old woman in the sanctity of her own home, to leave
                her die in her—bleeding to death because you want to
                steal from her and/or sexually impose yourself upon her
                against her wishes. I defy any one of you to come up
                with anything mitigating in the circumstances and nature
                of the offense. Anything.

 (Tr. at 2229.)

 513. He continued:

                In this particular case, ladies and gentlemen, on what
                you’ve heard, the complete absence of mitigating

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              circumstances and the nature—excuse me, mitigating
              factors and the nature and circumstances of the offense,
              combined with what you heard yesterday that didn’t deal
              with any events taking place in the last three decades to
              speak of, there is no mitigation.

 (Tr. at 2241.)

 514. Davis never argued that the nature and circumstances of the offense should

 be considered as mitigating. This argument, addressing the nature and

 circumstances of the offense as aggravating, was improper when the defense never

 requested the jury consider them as mitigating.

 515. The prosecutor made the same argument about with mental illness:

              There’s been no indication that the Defendant is anything
              other than he was held back in school a couple of times,
              but no medical diagnosis of some huge mental disorder
              that wasn’t of his choosing, some organic this or that.

 (Tr. at 2279.)

 516. The defense never argued that Davis suffered from a mental illness or

 mental disorder that should be considered as mitigating. The prosecutor

 improperly argued the absence of mitigating factors that the defense never claimed

 existed. This was a sham argument. It was a way to put the absence of mitigating

 factors in front of the jury as a non-statutory aggravating circumstance.

 517. The state made the same argument about youth—another statutory

 mitigating factor on which the defense did not rely and did not raise. The state

 constructed a strawman argument beginning in voir dire and repeated it throughout

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 voir dire and then brought it back up in closing argument to argue that the jurors

 had agreed that an 18-year-old might be less culpable than a 35-year-old, Davis

 was a 35-year-old man, and, therefore, he deserved death.

 518. The state repeatedly used an example of two persons committing the same

 crime but one being 18 with mental health problems and no family support and the

 other being a defendant with all kinds of opportunities, jobs and family support.

 The prosecutor repeatedly used this example to explain what mitigation is

 supposed to be48 and then used it in closing argument:

               Remember the situation I think I gave all of you in the
               jury selection process when you were in here six at a
               time, and I asked you to—I gave you a scenario of these
               two identical aggravated robberies. The convenient store
               two blocks this way and another convenient store two
               blocks this way. And I asked you to presuppose that the
               crimes were identical in all respects. And I asked each
               and every one of you, well, can you see if they’re
               identical that there might be reasons to impose the death
               penalty in one case but not the other. And some of you
               thought about it and came up with—most of you, I think
               came up with what would be a normal human reaction
               for most people is, well, it’s the same crime, same
               punishment. And then we talked about, well, what if this
               guy was 18 years old when he committed the offense and
               from the age of 10 all he ever knew was the life of crime.

               This guy over here was 35 and had all the options in the
               world. I submit this Defendant, Roland Davis, is more
               like this guy over here. Not because he didn’t have some
               abusive childhood, witnessing his mother being

 48
      (See Tr. at 479–82; 598–606; 661–65; 699–703; 743–47.)

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              assaulted, no but because for 30 years he’s been out of
              that. For 30 years he’s not had to deal with that. For 30
              years he’s had an opportunity to work, to make
              something of himself.

 (Tr. at 2239–40.)49 See also Eighteenth Ground for Relief, infra.

 519. It is improper for the state to argue the non-existence of statutory mitigating

 factors not raised by the defense.

 520. The prosecutor’s closing argument was especially prejudicial because it

 went uncorrected. The prosecutor repeatedly argued that Davis’ mitigation

 deserved no weight because it failed to explain the crime. The question before the

 jury at the penalty phase was whether Roland Davis would be sentenced to death

 or to life imprisonment. The jury had to decide if the factors in mitigation made a

 sentence of life imprisonment appropriate rather than a sentence of death. Because

 the prosecutor’s prejudicial misconduct went uncorrected, it was necessarily

 viewed as a correct statement by the jury. See Donnelly, 416 U.S. at 645.

 521. Davis had every right to present evidence in mitigation—and to have his

 jury fully consider and give effect to his mitigation evidence—in an effort to spare

 his life. Indeed, that is the very purpose of presenting the mitigating evidence.

 49
   To the extent that counsel for Davis initially brought up a similar example in
 voir dire and to the extent that defense counsel did not object to the improper
 argument, counsel’s performance was not in keeping with the prevailing
 professional norms and was therefore, unreasonable and denied Davis the effective
 assistance of counsel in violation of the Fifth, Sixth, Eighth and Fourteenth
 Amendments. See Eighteenth Ground for Relief, infra.

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 Davis and defense counsel had an obligation to present this evidence. See

 Coleman v. Mitchell, 268 F.3d 417, 450 (6th Cir. 2001). He presented evidence of

 his abusive childhood, including an alcoholic father who physically and mentally

 abused his mother and his siblings as well as Davis. He presented evidence that,

 for a period of time, he was abandoned by both his mother and father and placed in

 an orphanage. The prosecutor’s consistent but improper characterization of what

 constitutes “mitigation” in general, and Davis’ mitigation evidence specifically,

 prevented his jury from being able to fully consider and give effect to Davis’

 mitigation evidence.

    H.     The state improperly withheld Brady material.

 522. The state failed to disclose any and all evidence favorable to Roland Davis.

 As a result, Davis was denied his constitutional rights to due process, equal

 protection, and a fair trial under the Fifth, Sixth, Eighth and Fourteenth

 Amendments.

 523. The state has a duty to disclose any and all evidence favorable to the

 accused. Brady v. Maryland, 373 U.S. 83, 87 (1963). This duty does not just

 apply to the prosecution, but it extends to all of the entities acting on the

 government’s behalf. Kyles v. Whitley, 514 U.S. 419, 437 (1995). In other words,

 the police, Highway Patrol, and DRC are obligated to turn over all exculpatory and

 impeachment evidence, as well. See United States v. Bagley, 473 U.S. 667, 676


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 (1985) (“Impeachment evidence . . . falls with the Brady rule.”). See also, Giglio

 v. United States, 405 U.S. 150 (1972); Napue v. Illinois, 360 U.S. 264 (1959).

 524. The state’s evidence included the testimony of inmate Richard Hummel. (Tr.

 at 1385–1410.) Hummel testified that he met Davis in the Licking County Jail,

 and that Davis informed him that he stabbed and killed the victim. (Tr. at 1389–

 91, 1393–96.) According to Hummel, he came forward with this information

 because the victim was eighty-six years old and that it was a moral thing for him.

 (Tr. at 1397.) Mr. Hummel also implied that he did not receive any benefit from

 the state for his testimony against Davis. (Tr. at 1399.)

 525. Davis filed a Motion to Be Furnished with Statements, Promises,

 Inducements, or Rewards to Any State Witness; and a Motion for Disclosure of

 Impeaching Information. (See Motions filed December 10, 2004). See Brady, 373

 U.S. at 87; United States v. Agurs, 427 U.S. 97, 111 (1976).

 526. However, the state never revealed that Hummel had violated his probation.

 Violation of parole or probation is proper impeachment information. See Davis v.

 Alaska, 415 U.S. 308, 315–320 (1974).

 527. Evidence is material when “there is a reasonable probability that, had the

 evidence been disclosed to the defense, the result of the proceeding would have

 been different. A ‘reasonable probability’ is a probability sufficient to undermine

 confidence in the outcome.” Bagley, 473 U.S. at 682. Impeachment evidence “if

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 disclosed and used effectively, . . . may make the difference between conviction

 and acquittal.” Id. at 676. Thus, the impeachment evidence described above is

 material to Davis’ defense.

    I.     Conclusion

 528. From start to finish, the prosecutor resorted to improper tactics in order to

 secure Davis’ conviction and death sentence, including witness-vouching,

 commenting on Davis’ silence, and shifting the burden of proof to Davis,

 improper cross examination and argument to inflame the passions and prejudice of

 the jury, the repeated introduction of victim impact evidence, denigration of the

 defense and strawman arguments that have long been condemned for their

 likelihood to mislead and prejudice a jury, and improper characterization of Davis’

 mitigation evidence that prevented the jury from being able to fully consider and

 give effect to his mitigation evidence. Furthermore, the misconduct was extensive

 and prejudicial. From the voir dire through the mitigation hearing, the prosecutor

 failed to conform his conduct to constitutional standards.

 529. Prosecutorial improprieties must be viewed as a whole. See Berger, 295

 U.S. at 89 (“Moreover, we have not here a case where the misconduct of the

 prosecuting attorney was slight or confined to a single instance, but one where

 such misconduct was pronounced and persistent, with a probable cumulative effect

 upon the jury which cannot be disregarded as inconsequential.”); Young, 470 U.S.


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 at 11 (holding that a prosecutor’s conduct must be analyzed in context to determine

 if defendant was denied a fair trial).

 530. In sum, viewed cumulatively, the prosecutorial misconduct in this case “so

 infected the trial with unfairness as to make the resulting conviction a denial of due

 process.” Darden v. Wainwright, 477 U.S. 168, 181 (1986). The extent of the

 misconduct requires vacation of Davis’ conviction and sentence as obtained in

 violation of the Fifth, Sixth, Eighth, and Fourteenth Amendments.

 531. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 532. This Court should issue the writ.




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 Seventeenth Ground for Relief:

 DAVIS WAS DENIED HIS RIGHT TO DUE PROCESS AND TO A FAIR TRIAL WHEN
 THE STATE FAILED TO DISCLOSE MATERIAL, FAVORABLE EVIDENCE.

 533. Exculpatory evidence must be provided by the prosecution to the defense in

 discovery. Exculpatory evidence includes evidence that can be used for

 impeachment. Kyles v. Whitley, 514 U.S. 419 (1995); Brady v. Maryland, 373

 U.S. 83 (1963); United States v. Bagley, 473 U.S. 667, 676 (1985); United States v.

 Agurs, 427 U.S. 97, 111 (1976); Giglio v. United States, 405 U.S. 150 (1972);

 Napue v. Illinois, 360 U.S. 264 (1959); Pyle v. Kansas, 317 U.S. 213 (1942);

 Mooney v. Holohan, 294 U.S. 103 (1935). Prior to trial, Davis filed a motion to

 disclose exculpatory and impeachment information. (See Defense Motions filed

 December 10, 2004.)

 534. The State failed to disclose that its jailhouse informant, Richard Hummel,

 had violated his probation. (Post Conviction Pet., Ex. M.) Hummel testified that

 Davis provided information indicating he had killed Elizabeth Sheeler while

 Hummel and Davis were both in the county jail. Davis also filed a motion to

 disclose any promises, rewards or inducements offered to State’s witnesses.

 Hummel denied being offered anything in exchange for his testimony.

 535. The trial court overruled this post conviction ground for relief and failed to

 permit either an evidentiary hearing or discovery on this issue.



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 536. The evidence obviously would have been important to use on cross

 examination since it shows a failure to keep his word which is impeachment

 material. Davis v. Alaska, 415 U.S. 308, 315, 320 (1974); Pointer v. Texas, 380

 U.S. 400, 405 (1965).

 537. The State was required to disclose this information to Davis because the

 Confrontation Clause of the Sixth Amendment provides criminal defendants with

 the right to confront, face to face, the witnesses giving evidence against them.

 Lilly v. Virginia, 527 U.S. 116 (1999). Inherent in the right to confront one’s

 accusers is the right to cross examine them, particularly the witness’ propensity for

 truthfulness. Coy v. Iowa, 487 U.S. 1012 (1988); Davis, 415 U.S. at 315, 320.

 538. There were no other witnesses who testified that Davis had made inculpatory

 statements. Davis spoke to the police several times for over eight hours without

 giving any inculpatory statements. It was critical for Davis and his counsel to have

 a complete opportunity to investigate and then cross examine Hummel, with all the

 information available for impeachment. The importance of Hummel’s testimony

 combined with the State’s agents attempting to influence another inmate (Damien

 Turner) into providing informant testimony, (Post Conviction Pet., Ex. A), made

 this evidence material to the defense.

 539. The state also failed to disclose material exculpatory and impeachment

 evidence regarding the unreliability of hair, blood spatter, bodily fluids, trace,

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 fingerprint, DNA, and other forensic evidence presented by their forensic expert

 witnesses, and to subsequently correct any material misrepresentation even after

 trial, as they were constitutionally required to do.

 540. The evidence relating to the unreliability of the “science” underlying the hair

 identification, blood spatter, bodily fluids, trace, fingerprint, DNA and other

 forensic evidence presented by the expert witnesses in this case is material and

 exculpatory because it creates legitimate doubt as to the accuracy and reliability of

 any supposedly scientific identification of Roland Davis as the perpetrator of the

 crimes for which he was convicted. See Sixth, Sixteenth Grounds for Relief,

 supra; Eighteenth, Twenty-Second Grounds for Relief, infra. Similarly, the

 scientific defects in the analyses performed in this case are material and

 exculpatory. See id.

 541. Disclosure of the material exculpatory and impeachment evidence regarding

 the unreliability of hair, blood spatter, bodily fluids, trace, fingerprint, DNA, and

 other forensic evidence presented by the state’s expert witnesses would have

 impeached each witness’s credibility and testimony that was so key to Davis’

 conviction and sentence.

 542. Consequently, there is a reasonable probability that the result of the

 proceeding would have been different, and the withheld evidence could reasonably




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 be taken to put the whole case in such a different light as to undermine confidence

 in the verdict.

 543. The failure to disclose this information undermines confidence in Davis’

 convictions and requires relief.

 544. The failure to disclose the foregoing material and information constitutes

 violations of Brady, Bagley, Giglio, and/or Napue, and denied Roland Davis due

 process and a fair trial under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

 545. To the extent that the Ohio courts adjudicated the federal constitutional

 merits of these claims, their adjudications were contrary to, or unreasonable

 applications of, clearly established federal law, and/or based on unreasonable

 determinations of the facts.

 546. This Court should issue the writ.




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   INEFFECTIVE ASSISTANCE OF COUNSEL GROUNDS FOR RELIEF

 Eighteenth Ground for Relief:

 ROLAND DAVIS WAS DENIED THE EFFECTIVE ASSISTANCE OF COUNSEL UNDER
 THE FIFTH, SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS.

 547. The Fifth, Sixth, Eighth, and Fourteenth Amendments guarantee a criminal

 defendant the right to the effective assistance of counsel. This right is violated

 when counsel’s performance falls below an objective standard of reasonableness as

 measured by the prevailing professional norms at the time, and the client is

 prejudiced by counsel’s breach of duty. Padilla v. Kentucky, 130 S. Ct. 1473,

 1482-84 (2010); Porter v. McCollum, 130 S. Ct. 447, 452–56 (2009) (per curiam);

 Wiggins v. Smith, 539 U.S. 510, 524 (2003); Williams v. Taylor, 529 U.S. 362,

 390–91 (2000); Strickland v. Washington, 466 U.S. 668, 686–87 (1984).

 548. “Guides” to determining the reasonableness of Davis’ counsel’s

 performance can be found in such things as the 2003 edition of the American Bar

 Association’s Guidelines for the Appointment and Performance of Defense

 Counsel in Death Penalty Cases (hereinafter ABA Guidelines) and other sources

 that similarly reflect or describe the professional norms of practice prevailing when

 the representation took place. See Padilla, 130 S. Ct. at 1482–83 (listing myriad

 sources useful to identify “prevailing professional norms”); Bobby v. Van Hook,

 130 S. Ct. 13, 16–17 (2009) (per curiam).



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 549. The test for judging counsel’s effectiveness under Strickland is well

 established: First, the defendant must show that counsel’s performance was

 deficient, i.e., that it fell below an objective standard of reasonableness.

 Strickland, 466 U.S. at 688. Second, the defendant must demonstrate that the

 deficient performance prejudiced the defense, i.e., that “there is a reasonable

 probability that, but for counsel’s unprofessional errors, the result of the

 proceedings would have been different.” Id. at 694.

 550.   “It is past question that the rule set forth in Strickland qualifies as ‘clearly

 established federal law.’” Williams, 529 U.S. at 391. The analysis under the

 Strickland standard “of necessity requires a case-by-case examination of the

 evidence.” Wright v. West, 505 U.S. 277, 308 (1992) (Kennedy, J., concurring).

 Strickland requires an assessment of the aggregate impact of counsel’s deficient

 actions when evaluating whether such failures are prejudicial. Strickland, 466 U.S.

 at 695–96.

 551. While tactical or strategic errors generally are not found to constitute

 deficient performance, when the purported strategy of counsel is unreasonable or is

 unreasonable because it is based on insufficient information or investigation and

 has the effect of substantially denying a legal defense or denying the defendant the

 benefit of substantial and compelling mitigation, such strategy is outside existing




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 professional norms, thus depriving the defendant of effective counsel. Wiggins,

 539 U.S. at 535; see also, e.g., ABA Guidelines.

 552. It was only after a full investigation of all the mitigating circumstances that

 counsel could make a reasoned, informed, tactical decision about which

 information should be used in the penalty phase. Wiggins, 539 U.S. at 525;

 Strickland, 466 U.S. at 690–91. Any decisions related to mitigation that counsel

 reached without any prior investigation or based on an unreasonably truncated

 investigation are not informed strategic trial decisions. See Wiggins, 539 U.S. at

 536.

 553. When counsel offers no strategic reason for failing to perform what would

 otherwise constitute the duty of a reasonably competent counsel, a federal habeas

 court may not invent such a strategy by engaging in “a post hoc rationalization of

 counsel’s conduct” in lieu of relying on “an accurate description of [counsel’s]

 deliberations prior to” that failure. Id. at 526–27.

    A.     Davis was denied the effective assistance of counsel during the pre-
           trial stage.

           1.    Counsel failed to recognize, request, or show the need for
                 expert and investigative assistance.
 554. Trial counsel failed to recognize or request or demonstrate the need for the

 investigative and expert assistance reasonably necessary for counsel to fully and

 thoroughly investigate the state’s case, Davis’ life history and background and to


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 fully present that life history and background, and explain the effect of that history

 on his development at the penalty phase of the trial.

 555. Obtaining expert and investigative assistance under Ake v. Oklahoma, 470

 U.S. 68, 78–79 (1985), and Ohio law, State v. Broom, 533 N.E.2d 682, 691 (Ohio

 1988), required counsel to request and demonstrate a particularized need for that

 assistance. To the extent Davis’ trial counsel failed to request or to make a

 particularized demonstration of the need for expert and investigative assistance,

 such failure fell below the prevailing professional norms for counsel representing

 indigent capital defendants in 2005, and as such was unreasonable thereby denying

 Davis the effective assistance of counsel. See Strickland, 466 U.S. at 686–87.

 556. Trial counsel likewise failed to request funding for expert and investigative

 assistance ex parte. The state responded to Davis’ request and requested that any

 appointments be subject to financial caps. (Status Hr’g Tr. at 3–4 (May 20, 2005).)

 557. Defense counsel is responsible for determining what resources are needed

 and demonstrating to the court the necessity of authorizing funds for those

 resources. Moreover, because the defense should not be required to disclose

 privileged communications or strategy to the prosecution in order to secure these

 resources, it is counsel’s obligation to insist upon making these requests ex parte

 and in camera. See, e.g., ABA Guidelines, Commentary to Guideline 4.1. The

 failure of counsel to make these requests ex parte fell below the prevailing

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 professional norms and was therefore, unreasonable and denied Davis the effective

 assistance of counsel in violation of the Fifth, Sixth, Eighth and Fourteenth

 Amendments.

 558. But for counsel’s deficient performance, there is a reasonable probability

 that at least one juror would have had a reasonable doubt respecting guilt, or that

 death was the appropriate punishment.

 559. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

           2.     Counsel failed to sufficiently object to the restraints on Davis
                  during trial, and failed to request a hearing on the need for
                  restraints on Davis during trial.
 560. Prior to trial, counsel filed a Motion to Permit Accused to Appear at All

 Proceedings Without Restraints. The court overruled this motion, and ordered

 Davis to wear the “Band It” device, stating that “[a]t trial, . . . the Defendant shall

 appear to be unrestrained. However, the Defendant shall be shackled or restrained

 in some manner so as not to appear restrained.” (Entry No. 18, filed May 25,

 2005.)

 561. Davis was tried while improperly, unreasonably and visibly shackled and/or

 restrained and required to wear a stun belt, even when the air conditioning was

 broken in the courtroom in July.


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 562. The trial court’s order, issued without the court first holding a hearing on the

 need to shackle or restrain Davis, violated Davis’ right to a fair trial, to the

 effective assistance of counsel, to present a defense and to present mitigation and

 have that mitigation evidence considered and given effect by the jury. See First

 Ground for Relief, supra.

 563. Counsel had a duty to know the relevant caselaw, to assert all available

 defenses and arguments, and to object to the court’s failure to hold a hearing. See,

 e.g., ABA Guidelines, Guideline 10.8.

 564. Counsel did not object to the court’s entry or cite caselaw such as Deck v.

 Missouri, 544 U.S. 622, 624 (2005), Holbrook v. Flynn, 475 U.S. 560, 568–69

 (1986), or Illinois v. Allen, 397 U.S. 337, 343–44 (1970), which require a hearing

 before any type of shackling is permitted. Counsel did not waive a hearing but

 merely requested the least intrusive method of restraint if their motion were

 overruled.

 565. Counsel’s performance fell below the prevailing professional norms when

 counsel failed to object to the use of the “Band It” device during the trial phase or

 the penalty phase. Likewise, counsel’s performance fell below the prevailing

 professional norms in effect at both phases when counsel failed to know and argue

 to the court the relevant principles and controlling caselaw in this area. Counsel’s

 performance also fell below the prevailing professional norms at both phases when

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 counsel failed to request a hearing to determine whether it was necessary to use

 these excessive security measures throughout Davis’ trial.

 566. Counsel should have objected to the court’s order, demanded that the court

 comply with the controlling law, and insisted on a hearing to determine whether it

 was necessary to use these excessive security measures throughout Davis’ trial.

 567. There is a reasonable probability that the state would not have been able to

 sustain its burden to show a compelling need to restrain Davis independent of the

 crime for which he was standing trial. There was no evidence Davis had caused or

 threatened to cause any disruption in the courtroom. Likewise, Davis had no

 incidents of violence while in the county jail. (See Joint Stipulation No. 13,

 Licking County Jail Records, submitted in penalty phase.) Davis did not have a

 history of committing violent crimes.

 568. Counsel failures resulted in Davis being forced to wear the Band It restraint

 device without any individualized determination of a compelling need for him to

 be restrained, to his prejudice. The device caused Davis to have to wear a sweater

 in June/July because he could not button his shirt over the bulky device. This was

 exacerbated by the fact that the air conditioning in the courtroom was broken at

 various times during trial, making Davis’ bulky attire even more noticeably

 unusual and thus drawing attention to the Band-It, making the jury more likely to

 convict and impose death.

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 569. But for counsel’s failures, there is a reasonable probability that the outcome

 would have been different and Davis would not have been forced to wear the Band

 It restraint device, visible to the jury, without sufficient justification.

 570. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis due process, a fair trial, and the effective assistance of counsel under the

 Fifth, Sixth, Eighth, and Fourteenth Amendments.

           3.     Counsel failed to investigate, prepare, and litigate their Motion
                  in Limine regarding the admissibility of DNA evidence and
                  instead prejudiced Davis by stipulating to the admission of the
                  evidence.
 571. Counsel failed to investigate, prepare, and litigate their Motion in Limine To

 Preclude The Use Of Or Reference To DNA Evidence. This motion attacked the

 scientific foundation for the admission of DNA evidence. Rather than offering

 witnesses and/or testimony at the hearing, counsel stipulated to an agreement by

 which they agreed on every issue that was raised by the motion. (Mot. in Limine

 Hr’g Tr. at 4 (June 13, 2005).) The state offered ten exhibits without objection and

 without requiring live testimony about the validation studies for the DNA testing

 that was done in this case. (Id. at 5.) Counsel conceded every issue they had

 raised in their motion, in exchange for no consideration from the prosecutor.

 572. Although a trial court may not be required to hold a preliminary hearing on

 the admissibility of DNA evidence, once the court granted a hearing, counsel had

 an obligation to prepare for, and present evidence to support their contention that

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 the DNA evidence in this case was not admissible. Instead, counsel stipulated

 every fact necessary for the Court to overrule the Motion without an evidentiary

 hearing. (See Joint Ex. No.1, Stipulation of Parties.)

 573. The obligation to actually offer evidence in support of the Motion in Limine,

 became even more important when counsel failed to contest or even require the

 state to establish the qualifications of the persons collecting, transporting or storing

 the evidence from which the DNA was obtained or the scientific support for the

 forensic evidence. See Sixth, Sixteenth and Seventeenth Grounds for Relief,

 supra; Twenty-Second Ground for Relief, infra; see also, e.g., ABA Guidelines,

 Guideline 10.8.B.1 (“Counsel who decide to assert a particular legal claim should:

 present the claim as forcefully as possible, tailoring the presentation to the

 particular facts and circumstances in the client’s case and the applicable law in the

 particular jurisdiction.”).

 574. While the DNA evidence may have been admissible and questions regarding

 its reliability go to the weight of the evidence rather than its admissibility, the

 proffered DNA evidence was still subject to attack in light of rapidly changing

 DNA technology. See See Sixth, Sixteenth and Seventeenth Grounds for Relief,

 supra; Twenty-Second Ground for Relief, infra. Not every new DNA technology

 is necessarily reliable or valid and therefore is always subject to a Daubert

 challenge. In fact, DNA obtained from Y-STR testing is a recent development,

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 may not have been previously tested in Ohio courts, and must be assessed for

 potential contextual bias and analyst error in any case. Whether this new

 technology remains valid and reliable is subject to debate among scientific and

 legal minds. Counsel’s failure to actually contest any part of the DNA evidence at

 the preliminary hearings fell far below the prevailing professional norm for counsel

 representing capital defendants in 2005. As such, counsel’s actions were

 unreasonable and denied Davis the effective assistance of counsel.

 575. But for counsel’s deficient performance, there is a reasonable probability

 that the DNA evidence would have been excluded or required to be accurate and

 that at least one juror would have had a reasonable doubt respecting guilt, or that

 death was the appropriate punishment.

 576. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

           4.    Counsel failed to move for a change of venue.
 577. Davis’ counsel had a duty under the prevailing professional norms to move

 for a change of venue in light of the tremendous amount of prejudicial pretrial

 publicity surrounding Davis’ case.

 578. Counsel unreasonably failed to move for a change of venue, however, to

 Davis’ prejudice. See Second and Fourth Grounds for Relief, supra.


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 579. But for counsel’s deficient performance, there is a reasonable probability

 that a fair and impartial jury would have been seated in another venue, untainted by

 pretrial publicity and that at least one juror would have had a reasonable doubt

 respecting guilt, or that death was the appropriate punishment.

 580. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial by a fair and impartial jury and the

 effective assistance of counsel under the Fifth, Sixth, Eighth, and Fourteenth

 Amendments.

           5.    Counsel failed to challenge the venire to ensure a fair cross-
                 section of the community.
 581. Counsel had a duty to insure that the jury that tried Roland Davis was drawn

 from and represented a fair cross-section of the community. See, e.g., ABA

 Guidelines, Guideline 10.8.

 582. Counsel unreasonably failed to investigate or challenge the venire to ensure

 a fair cross-section of the community, however, to Davis’ prejudice. See Third

 Ground for Relief, supra.

 583. Counsel’s deficient performance undermined confidence in the result of the

 trial, by permitting Davis to be tried by a jury that was not drawn from a fair cross-

 section of the community.

 584. But for counsel’s deficient performance, there is a reasonable probability

 that Davis would have been tried by a jury drawn from a fair cross-section of the

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 community, and that at least one juror would have had a reasonable doubt

 respecting guilt, or that death was the appropriate punishment.

 585. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

           6.     Counsel’s performance fell below the prevailing professional
                  norms for counsel in a capital case during the jury selection
                  process.
 586. Counsel’s performance throughout the jury selection process fell far below

 the prevailing professional norms for counsel in a capital case in 2005, in part

 because of the unreasonable restrictions requested by the state and granted by the

 trial court, and in part because of counsel’s own failures. Counsel did not

 zealously demand the right to fully examine jurors on their ability to fully consider

 a sentence of death, on their ability to consider theories of defense and/or

 mitigation, or their ability to fully consider a life sentence. Counsel failed to fully

 inquire into the knowledge the prospective jurors had of the facts of the case.

 Counsel failed to rehabilitate prospective jurors with scruples against the death

 penalty. See Fourth Ground for Relief, supra. To the extent that counsel failed to

 zealously argue for the right to conduct such questioning and to more fully demand

 a complete and thorough voir dire, Davis was deprived of the effective assistance

 of counsel.


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 587. Roland Davis was entitled to a fair and impartial jury that could follow the

 law and fairly consider all of the available punishments at the sentencing phase,

 Morgan v. Illinois, 504 U.S. 719, 735–36 (1992); Ross v. Oklahoma, 487 U.S. 81,

 85–87 (1988), just as the state is entitled to a jury that will fairly consider the death

 penalty, Wainwright v. Witt, 469 U.S. 412, 424–26 (1985); Witherspoon v. Illinois,

 391 U.S. 510, 522–23 (1968). Counsel’s failure to fully question these prospective

 automatic death penalty jurors on their ability to fully consider a life sentence was

 unreasonable as were the trial court’s prohibitions and limitations on such

 questioning.

 588. Counsel failed to consistently and effectively question prospective jurors on

 their attitudes regarding elderly victims and the ability to put such attitudes aside.

 589. Counsel’s failure to zealously pursue questioning about what facts jurors

 knew of the case prevented counsel from making informed and reasoned decisions

 concerning challenges for cause as well as peremptory challenges.

 590. But for counsel’s deficient performance, there is a reasonable probability

 that a less biased jury would have been seated and that at least one juror would

 have had a reasonable doubt respecting guilt, or that death was the appropriate

 punishment.

 591. Counsel’s failure to properly conduct jury selection and voir dire resulted in

 a jury that was not fair and impartial and was not able to give Davis a fair trial,

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 thus depriving Davis of the effective assistance of counsel, due process and a fair

 and reliable sentencing determination under the Fifth, Sixth, Eighth, and

 Fourteenth Amendments.

      B.   Davis was denied the effective assistance during the trial phase.

           1.    Counsel entered into excessive stipulations to witnesses’
                 qualifications, evidence, and facts.
 592. Counsel volunteered a blanket stipulation of the qualifications of Det.

 Elliget. (Tr. at 1034–35.)50 Such a stipulation permitted the state to avoid proving

 Det. Elliget’s qualifications or basis for his ‘expert’ opinions and chain of custody

 for numerous items. See Seventh Ground for Relief, supra.

 593. Counsel also stipulated several factual matters that supported the state’s

 theory. For example, counsel for Davis stipulated the Yellow Cab work records—

 thereby permitting the state to argue that he was out of work at the time of

 Sheeler’s death. (Tr. at 1831.) Counsel entered into this stipulation, despite the

 fact that the records were incomplete and these incomplete records could not

 establish when Davis worked at Yellow Cab or whether or not Davis was working

 at the time of Sheeler’s death. (See Joint Stipulation No. 3.) Counsel stipulated to

 testimony of Elladean Hicks that she last spoke with Sheeler late on the night of

 50
   “I’m more than happy to stipulate to Detective Elliget’s qualifications. He and I
 have spoken on numerous different occasions and we would agree and stipulate
 that he is an expert in criminology and crime scene investigation, collection of
 evidence . . . [a]nd preservation.” (Tr. at 1034–35.)

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 the July 10 thereby assisting the state in proving the time of the murder. (Joint

 Stipulation No. 2, Tr. at 1139.) Counsel agreed to a total of ten joint stipulations in

 the trial phase. This drastically reduced the State’s burden of proof.

 594. These repeated stipulations at trial created an atmosphere that suggested

 defense counsel was agreeing with the state in its theory, that the result of the trial

 was a foregone conclusion, and that the least defense counsel could do for the jury

 was make the trial shorter. Counsel conducted no adversarial testing of any of this

 stipulated evidence, all of which was critical to the state’s case. (See also Tr. at

 1202 (defense counsel remarked, “[w]e’re all about stipulations”).) As such,

 counsel’s performance fell far below the prevailing professional norms for counsel

 representing capital defendants in 2005, and was unreasonable. See, e.g., ABA

 Guidelines, Guidelines 10.7; 10.9.1.

 595. But for counsel’s deficient performance in stipulating to critical evidence,

 there is a reasonable probability that at least one juror would have had a reasonable

 doubt respecting guilt, or that death was the appropriate punishment.

 596. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.




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           2.    Counsel permitted the state to introduce an unidentified tape
                 recording that was never played in open court but was given to
                 the jury during deliberations.
 597. Counsel acquiesced in the admission as evidence of unidentified tape

 recordings never played in the courtroom and the submission of the tapes and

 related transcript to the jury—for the first time during its deliberations. See

 Eleventh and Twelfth Grounds for Relief, supra. As such, defense counsel

 acquiesced in the presentation of evidence on defendant’s guilt in the absence of

 Davis and his counsel. Such acquiescence permitted evidence to be presented

 against Davis without any record of what that evidence was, what the jury heard,

 whether the jury reviewed portions of or the entire transcript, or whether the jury

 replayed portions of the tape. In addition, the tape itself contains inadmissible and

 prejudicial hearsay statements. Permitting the jury to hear this unidentified and

 inflammatory tape recording was objectively unreasonable conduct falling below

 the prevailing professional norms to the prejudice of Davis.

 598. Under Strickland, a defendant must show that but for counsel’s deficient

 performance, there is a reasonable probability of a different outcome. There are,

 however, some deficiencies that give rise to a presumption of prejudice. See

 United States v. Cronic, 466 U.S. 648, 658–59 (1984). The complete denial of

 counsel is one of the most obvious cases where such a presumption of prejudice

 would arise. Id. at 659. It is hard to conceive of a more critical stage of a capital


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 trial than the taking of evidence on the defendant’s guilt. The absence of counsel

 during the presentation of the audiotape of the interview of Davis was

 presumptively prejudicial. Permitting the presentation of the tape recordings

 during deliberations at the penalty phase was as clear a denial of Davis’

 fundamental right to counsel.

 599. Trial counsel’s failures actually prejudiced Davis by permitting inadmissible

 testimony to be presented through these audiotapes. A review of the audiotapes

 reveals prejudicial—untrue—hearsay evidence presented repeatedly through the

 detective, including the claim that Davis’ semen was present in Sheeler’s

 apartment, and that someone identified him leaving the apartment.

 600. These statements by the detectives were untrue and were hearsay. The tapes

 should have been reviewed. The inadmissible evidence should have been objected

 to and redacted prior to or during the presentation of the audiotape in open court.

 Permitting the jury to hear these blatantly inadmissible statements without

 challenge, prejudiced Davis at both the trial and penalty phases.

 601. Counsel’s failure to be present during the presentation of evidence against

 Davis was unreasonable.

 602. But for counsel’s deficient performance, there is a reasonable probability

 that because the jury would not have heard this tainted testimony, at least one juror




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 would have had a reasonable doubt respecting guilt, or that death was the

 appropriate punishment.

 603. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

           3.    Counsel failed to effectively object to the exclusion of state’s
                 witness Meghan Clement’s written analysis.
 604. Counsel had a duty to raise all available legal claims and objections. See,

 e.g., ABA Guidelines, Guidelines 10.8, 10.11.

 605. The trial court refused to admit Defense Exhibit L, an Amended Certificate

 of Analysis prepared by the state’s expert Meghan Clement. The court continued

 to refuse to admit the exhibit even after the jury requested it during deliberations.

 See Sixth Ground for Relief, Sixteenth Ground for Relief, Seventeenth Ground for

 Relief, supra; Eighteenth Ground for Relief; Twenty-Second Ground for Relief,

 infra.

 606. Trial counsel proffered the exhibit and objected to the trial court’s exclusion.

 To the extent that trial counsel had not researched the admissibility of this exhibit,

 prepared argument to rebut the trial court’s reasoning, and more zealously objected

 to its exclusion, counsel’s performance fell below the prevailing professional

 norms for counsel representing capital defendants in 2005. Davis was prejudiced



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 because the jury was denied access to this crucial defense exhibit during

 deliberations, even though the jury requested it during deliberations.

 607. But for counsel’s deficient performance, there is a reasonable probability

 that at least one juror, based on a review of Defense Exhibit L, would have had a

 reasonable doubt respecting guilt, or that death was the appropriate punishment.

 608. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

           4.     Counsel failed to investigate, to present evidence to challenge
                  the state’s case, to present a viable defense, and to defend the
                  case as related to the state’s DNA and other forensic evidence
                  and witnesses.
 609. Counsel had a duty to make a reasonable investigation of the case before

 settling on a trial strategy or, at the least, to conduct sufficient inquiries to make an

 informed decision about whether further investigation was needed. See Wiggins,

 539 U.S. at 525; Strickland, 466 U.S. at 690–91.

 610. Counsel also had a duty to conduct a reasonable investigation in order to

 present the most persuasive case that they could, including a pretrial investigation

 into the availability of independent, objective sources to support his defense.

 611. Counsel also had a duty to raise all available legal claims and objections.

 See, e.g., ABA Guidelines, Guidelines 10.8, 10.11.



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 612. Counsel’s performance fell far below prevailing professional norms when:

           1)    counsel failed to involve an expert in DNA or any
                 other forensic evidence, even though the trial court
                 authorized funding for a DNA expert to assist Davis’
                 defense;

           2)    counsel failed to thoroughly and reasonably
                 investigate, including the DNA and other forensic
                 evidence and any forensic expert witnesses, before
                 settling on their trial strategy of advancing third-party-
                 culpability as the central theory without employing
                 independent DNA and other forensic experts to
                 overcome the state’s unrebutted DNA and other
                 forensic evidence testimony;

           3)    counsel failed to investigate and present forensic
                 evidence in support of the third-party-culpability
                 theory and a cogent challenge to the state’s DNA
                 evidence;

           4)    counsel failed to investigate and exploit weaknesses in
                 the state’s DNA evidence and other forensic evidence,
                 including contextual bias in the testing and analysis
                 process;

           5)    counsel failed to thoroughly and reasonably
                 investigate before trial to determine what forensic
                 evidence might be available for them to introduce, or
                 how expert testimony might support the theory they
                 had chosen, or rebut any forensic evidence the state
                 might present that would rebut this theory;

           6)    counsel failed to thoroughly and reasonably
                 investigate and consult forensic experts who could
                 assist during trial in such matters as how to effectively
                 cross examine the state’s forensic evidence witnesses
                 in light of the numerous problems with forensic
                 evidence highlighted in the NAS Report, including
                 such things as contextual bias, or to counter the state’s


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                 forensic expert testimony with expert testimony of his
                 own.

           7)    counsel failed to ensure through pretrial motions or
                 contemporaneous objections that improper and
                 incorrect testimony from the state’s expert witnesses
                 was not given to the jury;

           8)    counsel failed to object when the state and its DNA
                 experts misled the jury by repeatedly declaring a
                 “match”—which is improper individualization
                 unsupported by the science—between the evidence
                 and DNA test results, “matching” the evidence to
                 either Sheeler or Roland Davis, or used similarly
                 misleading individualization language himself, (see
                 Tr. at 870; 1566; 1588; 1589–90; 1597–98; 1600–01;
                 1602–03; 1604; 1623; 1625; 1631–32; 1686; 1688;
                 1689–90; 1692; 1693; 1695–96; 1765);

           9)    counsel failed to ensure that the prosecution and its
                 witnesses were not permitted to testify to a “match”
                 between Roland Davis and the DNA test results,
                 and/or to ensure that the prosecution and its witnesses
                 were only permitted to testify about the odds of
                 exclusion rather than implying that the DNA tests
                 resulted in individualized identification
                 determinations that purported to “confirm” Roland
                 Davis as the perpetrator of the crime, (see id.);

           10)   counsel failed to rebut the fallacy in the state’s DNA
                 case that Randy Davis—Roland Davis’ brother—
                 could not be the source of the DNA found at the crime
                 scene simply because Roland and Randy Davis were
                 not identical twins, despite the defense’s central
                 theory of third-party culpability in the form of Roland
                 Davis, (see, e.g., Tr. at 1799);

           11)   counsel failed to confront the state’s DNA evidence
                 by pointing out and emphasizing that the statistical
                 probabilities of excluding Roland Davis offered by the
                 state’s experts were much lower when a male relative

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                 or a sibling, such as Randy, is put into the equation.
                 Again, this was especially prejudicial to Davis
                 because defense counsel offered Randy as an alternate
                 suspect;

           12)   counsel failed to confront the evidence of statistical
                 probabilities from the state’s experts—aimed at
                 identifying Roland Davis with DNA evidence—
                 through use of the “product rule”;

           13)   counsel failed to inform the jury—and rebut the
                 state’s case—by way of mathematical concepts and
                 genetic inheritance rules. Counsel should have
                 demonstrated to the jury that the odds of the DNA
                 from the crime scene excluding Roland Davis were
                 far less than that to which the State’s experts testified;

           14)   counsel failed to reduce witness Ramen Tejwani’s
                 opinion of “1 in 547” million to as low as 1.33 or 1 in
                 128 by way of expert testimony. Similarly, counsel
                 could have reduced witness Meghan Clement’s
                 opinion of “1 in 97.1 quadrillion” by a factor of a
                 trillion, but failed to do this as well; and/or

           15)   counsel failed to ensure that the presumption of
                 innocence was followed, in accordance with
                 mathematical statistical inferences in Davis’ favor,
                 through cross examination, closing argument,
                 development and presentation of testimony from a
                 defense expert, and proffered jury instructions.

 (See Post Conviction Pet., Ex. X at 26–27, Aff. of Gregory Meyers.)

 613. Under the prevailing professional norms, counsel had an obligation to do all

 of these things, but failed. Counsel’s failures, individually and in the aggregate,

 constituted deficient performance.




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 614. Davis was prejudiced because the overwhelming (but misleading) statistical

 probabilities misleadingly testified to by the state’s experts created a false certainty

 that Davis had to be guilty based on DNA evidence. The experts repeatedly

 testified that Sheeler “matched” the evidence, and that, similarly, Davis “matched”

 the evidence—not that he and his paternal relatives could not be excluded—thus

 creating the scientifically unsupported and unsupportable impression of a precise,

 individualized identification of Roland Davis as the perpetrator. See Sixth,

 Sixteenth, Seventeenth Grounds for Relief, supra; Eighteenth and Twenty-Second

 Ground for Relief, infra.

 615. The state’s DNA evidence was questionable, overstated, and based on a

 flawed statistical database and flawed methodology. See id.; see also, Mot. for

 New Trial, Ex. 1, Aff. of Dr. Laurence Mueller.

 616. The DNA evidence relied on by the state at trial was questionable. Roland

 Davis was identified as a suspect by using a database search. The state’s DNA

 experts, however, did not account for the database “hit” in their statistical analysis

 of the DNA test results. There is no mention of major sources of uncertainty in

 DNA profiling, namely laboratory error or contextual bias. Meghan Clement, one

 of the state’s DNA experts, testified that it was impossible for non-identical twin

 siblings to have the same DNA. This testimony was simply incorrect or false. The

 genetic profiles developed from the bed sheets were mixed samples, with a partial

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 profile, and the statistical analysis of the weight of this evidence by the state’s

 DNA experts overstated its value. (Mot. for New Trial, Ex. 1, Aff. of Dr. Laurence

 Mueller, at ¶ 4.)

 617. Through consultation with and the use of a DNA expert such as Dr. Mueller,

 and other forensic evidence experts, trial counsel could and should have been

 prepared to properly object during direct examination of the state’s forensic expert

 witnesses; could and should have otherwise prevented the state from eliciting

 misleading but highly prejudicial testimony; could and should have been able to

 employ expert advice as to how to effectively cross examine the state’s forensic

 expert witnesses; and could and should have presented expert testimony of their

 own to undercut the weight and credibility of the state’s forensic evidence, and to

 bolster their third-party-culpability theory.

 618. But for counsel’s deficient performance, there is a reasonable probability

 that, having heard accurate DNA evidence and other forensic evidence, at least one

 juror would have had a reasonable doubt respecting guilt, or that death was the

 appropriate punishment.

 619. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.




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           5.    Counsel failed to investigate and failed to present a viable
                 defense to the charges Davis faced.
 620. Counsel had a duty to investigate, consider and present all available legal

 claims and defenses. See, e.g., ABA Guidelines, Guidelines 10.7, 10.8.

 621. Counsel failed to offer viable defenses to the charges Davis faced, including

 a defense to the state’s circumstantial evidence, or an alibi defense. (Post

 Conviction Pet., Exs. C, D, K, L, S, V, W.)

 622. Counsel unreasonably failed to investigate and present evidence that Davis

 acquired money around the time of the murder and robbery after being paid to

 deliver drugs in Indiana. Evidence that Davis was paid money as a drug mule

 would have rebutted the state’s circumstantial proof of guilt that Davis suddenly

 had money in July 2000 because he robbed the victim. The jury heard evidence

 that Davis was not employed at that time. This made his purchase of a $1,200

 drum set and other items suspect. Evidence that Davis was paid $8,000 as a drug

 mule would have explained why Davis had money to spend in July 2000, despite

 the lack of regular employment.

 623. Counsel’s performance also fell below prevailing professional norms when

 counsel unreasonably failed to investigate and challenge a purported identification

 of him made by two witnesses in Annie’s Place Restaurant in Newark, Ohio. The

 witnesses testified that Davis was a patron in the restaurant in the early summer of

 2003, and that Davis was suspiciously interested in a reward poster regarding

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 Sheeler’s death and whether a sex offense was committed. The owner of the

 restaurant, Tari Paxson, also testified that Davis was there asking about the poster

 when the air conditioning was being repaired, which would seemingly verify the

 date Davis was there based on the air conditioning repair bill.

 624. The man identified by the witnesses was not Davis, however, and the date of

 the air conditioning repair slip described by Paxson would verify that Davis was in

 Florida at that time.

 625. A sufficient investigation by counsel would have revealed this alibi for

 Davis, thus undercutting the strong inference of guilt created by the testimony of

 the witnesses from Annie’s Place.

 626. Counsel unreasonably failed to perform any such investigation. Failing to

 investigate an alibi that would place Davis in another state at the time he was

 purportedly asking suspicious questions at Annie’s Place cannot be a reasoned trial

 strategy.

 627. Moreover, Davis has a distinctive speech pattern and a stutter. Neither

 witness testified that the man identified in Annie’s Place had an unusual speech

 pattern or stutter. Counsel unreasonably failed to exploit this glaring omission on

 cross examination of either witness which failure was rooted in counsel’s

 unreasonable failure to investigate.

 628. Counsel failed to investigate and subsequently call Damien Turner to testify.

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 629. Counsel also failed to thoroughly and reasonably investigate DNA or other

 forensic evidence and any forensic expert witnesses, before advancing third-party-

 culpability as a defense even though they had not consulted or employed an

 independent DNA or other forensic expert to overcome the state’s evidence.

 630.   Counsel likewise failed to investigate and present forensic evidence in

 support of the third-party-culpability theory or a cogent challenge to the state’s

 DNA evidence.

 631. Counsel failed to investigate and exploit weaknesses in the state’s DNA

 evidence, including contextual bias.

 632. Counsel failed to thoroughly and reasonably investigate before trial to

 determine what forensic evidence might be available for them to introduce, or how

 expert testimony might support the theory they had chosen, or rebut any forensic

 evidence the state might present.

 633. Counsel failed to investigate and consult forensic experts who could assist

 during trial in such matters as effectively cross examining the state’s forensic

 evidence witnesses, including regarding contextual bias, or countering the state’s

 forensic expert testimony with their own expert testimony.

 634. Counsel failed to ensure that improper and incorrect testimony from the

 State’s expert witnesses was not provided to the jury.




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 635. Davis was prejudiced by counsel’s deficient performance because the jury

 did not hear critical alibi evidence and evidence that would have rebutted the

 State’s circumstantial evidence of Roland Davis as the perpetrator.

 636. But for counsel’s deficient performance, there is a reasonable probability

 that, having been provided evidence to challenge the state’s evidence and theory of

 guilt, at least one juror would have had a reasonable doubt respecting guilt, or that

 death was the appropriate punishment.

 637. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

           6.    Counsel failed to investigate and subsequently call Damien
                 Turner to testify.
 638. Counsel had a duty to investigate and present all available legal claims and

 defenses. See, e.g., ABA Guidelines, Guidelines 10.7, 10.8.

 639. Counsel failed to investigate and subsequently call Damien Turner as a

 witness. Turner’s testimony would have undercut the weight and credibility of the

 prosecution’s witness, Richard Hummel, who testified that he met Davis in the

 Licking County Jail and that Davis informed him that Davis stabbed and killed

 Sheeler. (Tr. at 1389; 1391; 1393–96.)

 640. During his testimony, Hummel implied that he did not receive any benefit

 from the State of Ohio in exchange for his testimony against Davis.

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 641. Hummel was a key witness. His credibility was questionable. See

 Seventeenth Ground for Relief, supra; Twenty-First Ground for Relief, infra.

 Davis could have challenged Hummel’s credibility with Turner’s testimony. (See

 Post Conviction Pet., Ex. A.)

 642. Davis informed trial counsel that Turner had told Davis that Det. Vanoy

 offered to make “some of Turner’s charges go away if Turner testified that [Davis]

 confessed to killing Mrs. Sheeler.” (Id. at ¶14.)

 643. Trial counsel failed to investigate Turner, and then failed to call Turner to

 testify in Davis’ defense.

 644. Counsel’s failures were unreasonable, and could not have been reasoned trial

 strategy, especially because Turner’s testimony would have impeached the

 credibility of one of the prosecution’s main witnesses.

 645. Davis was prejudiced by trial counsel’s unreasonable failure to investigate

 thoroughly and to call Turner as a witness because counsel’s failures deprived

 Davis of the opportunity to challenge Hummel’s character for truthfulness. See,

 e.g., Davis v. Alaska, 415 U.S. 308, 316 (1974) (“The partiality of a witness is

 subject to exploration at trial, and is ‘always relevant as discrediting the witness

 and affecting the weight of his testimony.’”) (internal citation omitted).




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 646. But for counsel’s deficient performance in failing to investigate Turner,

 there is a reasonable probability that at least one juror would have had a reasonable

 doubt respecting guilt, or that death was the appropriate punishment.

 647. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

           7.    Counsel failed to object to numerous instances of prosecutorial
                 misconduct at both the trial and penalty phases.51
 648. Claims of prosecutorial misconduct require courts to assess both the

 culpability of the prosecutor, that is, whether the conduct was intentionally

 prejudicial, as well as whether that prejudice was realized. See Boyle v. Million,

 201 F.3d 711, 717–18 (6th Cir. 2000). Here, there can be no question that the

 prosecutor’s misconduct was intentional or that Davis was prejudiced by the

 prosecutor’s misconduct.

 649. Although prosecutorial misconduct may occur at any point in the trial, it is

 especially dangerous during closing argument. See Donnelly v. DeChristoforo,


 51
   Davis has raised the misconduct of the prosecutor as separate substantive
 Grounds for Relief. See Thirteenth and Sixteenth Grounds for Relief, supra,
 Rather than repeat the entire substantive prosecutorial misconduct argument here,
 Davis relies on the argument contained in the Thirteenth and Sixteenth Grounds for
 Relief. To the extent that counsel failed to object or request curative instructions
 for this prosecutorial misconduct as outlined in the Thirteenth and Nineteenth
 Grounds for Relief. Davis was deprived of the effective assistance of counsel.

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 416 U.S. 637, 646–47 (1974) (capital defendant is entitled to a determination of his

 guilt and sentence which is free from prosecutorial misconduct that renders the

 proceeding fundamentally unfair). The prosecutor here engaged in what can only

 be described as deliberate and repeated misconduct. To the extent that counsel

 failed to object and failed to request curative instructions, counsel’s performance

 fell far below prevailing professional norms. See Washington v. Hofbauer, 228

 F.3d 689, 698 (6th Cir. 2000). Davis was prejudiced by the jury being exposed to

 the prosecutor’s inflammatory evidence and arguments.

 650. But for counsel’s deficient performance in failing to object to the

 prosecutorial misconduct, there is a reasonable probability that at least one juror

 would have had a reasonable doubt respecting guilt, or that death was the

 appropriate punishment.

 651. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

           8.    Counsel failed to object to Detective Vanoy’s commentary
                 about his interrogation and his opinion testimony.
 652. Counsel failed to object to the improper testimony of Det. Vanoy. See Fifth

 Ground for Relief, supra. Detective Vanoy was not qualified to present the entire

 thought process of the Newark Police Department behind the investigation and

 interrogation. Detective Vanoy was not qualified to give his opinion about the

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 truthfulness of Davis’ statements or his opinion of Davis’ thought processes during

 the interrogations. This testimony was beyond the scope of any purported

 expertise of Det. Vanoy and usurped the role of the jury to make such

 determinations. Counsel’s failure to object to Det. Vanoy giving his dissertation

 and opinion on the interrogation of Roland Davis fell far below prevailing

 professional norms and prejudiced Davis by permitting the jury to hear Det.

 Vanoy’s unqualified opinion testimony about Davis’ veracity and his guilt.

 653. But for counsel’s deficient performance in failing to prevent the unqualified

 opinion testimony of Det. Vanoy, there is a reasonable probability that at least one

 juror would have had a reasonable doubt respecting guilt, or that death was the

 appropriate punishment.

 654. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

           9.    Counsel failed to object to improper jury instructions.
 655. Counsel had a duty to investigate and raise all available legal claims, know

 the law, and advocate for correct or favorable jury instructions. See, e.g., ABA

 Guidelines, Guidelines 10.7, 10.8.

 656. The trial court in its trial phase instructions failed to give an instruction

 forbidding the jury from stacking inferences; failed to instruct the jurors to find


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 unanimously that Davis either committed kidnapping, aggravated robbery or

 aggravated burglary; gave incorrect purpose and causation instructions; and gave

 an instruction of “beyond a reasonable doubt” that relieved the state of its burden

 of proof. See Fifteenth Ground for Relief, supra.

 657. Counsel failed to object to these faulty instructions.

 658. Counsel’s failure to object to these incorrect instructions and failure to offer

 correct instructions fell below the prevailing professional norms and was therefore

 unreasonable.

 659. Davis was prejudiced when his jury was instructed to deliberate his guilt or

 innocence based on incorrect and misleading instructions.

 660. But for counsel’s deficient performance, there is a reasonable probability

 that at least one juror would have had a reasonable doubt respecting guilt.

 661. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

    C.     Davis was denied the effective assistance of counsel at the penalty
           phase.

           1.    Counsel failed to investigate, develop, present, and explain
                 compelling mitigating evidence at the penalty phase.
 662. Trial counsel had a duty under the prevailing professional norms to conduct

 a thorough investigation of Davis’ background for mitigating evidence, and to


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 present relevant mitigating evidence, especially when that mitigation evidence was

 compelling. See Porter, 130 S. Ct. at 452–53 (citing Williams, 529 U.S. at 396 (in

 turn citing the ABA Guidelines)).

 663. Counsel had a duty to thoroughly investigate any mitigation evidence arising

 from Davis’ psychosocial history and elsewhere, in order to prepare and present

 the comprehensive and compelling mitigation theory that should have been readily

 apparent from the abusive childhood that Roland Davis endured. See Wiggins, 539

 U.S. at 521–22.

 664. This duty included an obligation to develop a comprehensive and

 compelling mitigation theory before the start of voir dire, and to advance that

 theory at every opportunity throughout the duration of the trial.

 665. Counsel also had a duty to humanize Davis before the jury. See Lockett v.

 Ohio, 438 U.S. 586, 602–05 (1978); Woodson v. North Carolina, 428 U.S. 280,

 304 (1976).

 666. Counsel also had a duty to present expert testimony and/or argument to

 explain the evidence in mitigation and its significance to explaining Davis’

 development and participation in these offenses. See Johnson v. Bagley, 544 F.3d

 592, 600–01 (6th Cir. 2008).

 667. It was only after a full investigation of all the mitigating circumstances that

 counsel could make a reasoned, informed, tactical decision about which

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 information should be presented in the penalty phase. Wiggins, 539 U.S. at 525;

 Strickland, 466 U.S. at 690–91. Any decisions related to mitigation that counsel

 reached without any prior investigation or based on an unreasonably truncated

 investigation are not informed strategic trial decisions. See Wiggins, 539 U.S. at

 536.

 668. Counsel’s investigation, development, presentation and explanation of

 mitigation evidence fell far below the prevailing professional norms, and were not

 informed strategic trial decisions.

                 a.     Counsel failed to thoroughly investigate the vast ocean of
                        mitigation evidence that presented blatant red flags for
                        investigation.
 669. A number of witnesses had important information that could have been

 presented at the penalty phase, but counsel either failed to ask important questions

 when interviewing the witnesses, or failed to ask the appropriate questions during

 the penalty phase. Had they thoroughly investigated, counsel could have presented

 compelling mitigation evidence:

           1)    Due to the abuse inflicted on her, Davis’ mother could
                 not develop a bond with Davis or her kids which
                 affected Davis later in life.

           2)    Davis had a long history of head trauma. He often
                 had self-inflicted injuries from banging his head on
                 the head board. Davis’ mother ignored the loud
                 sounds created by Davis banging his head. Davis’
                 father would often beat him about the head with his
                 hands and a stick.

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           3)    Davis had a perforated ear drum which was very
                 painful. His parents failed to obtain prompt medical
                 treatment for him, which resulted in further damage to
                 his ear and his hearing. It also exaggerated and/or
                 caused his speech impediment. Other children in
                 school often made fun of Davis because of this,
                 causing him psychological damage that also went
                 untreated. Davis had limited social skills and as a
                 result, few or no friends.

           4)    Davis’ father told his children they did not need to go
                 school and refused to help Davis or the other children
                 with their school work.

           5)     Davis often took physical abuse from his father in an
                 effort to get him to stop beating Davis’ mother.

 (See Post Conviction Pet., Exs. K, L, S, W.)

 670. But counsel failed to investigate any of this compelling mitigation evidence,

 and/or failed to develop the significance of this evidence and how any and all of it

 affected Davis’ development such that it made him less culpable than necessary for

 the death penalty.

 671. Counsel likewise failed to present evidence of, or any argument about, the

 significance of the fact that Davis was abandoned in a Children’s Home at a young

 age when his mother left his father. Critically, there was virtually no discussion of

 the impact of such a devastating event on the development of a young person.

 672. The “red flags” inherent in an abusive childhood such as Davis’ could not be

 reasonably ignored by counsel, but instead required counsel’s independent

 investigation. See Porter, 130 S. Ct. at 453; Wiggins, 539 U.S. at 524-26; 534–36.

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 This only made counsel’s failures to fully investigate the compelling mitigating

 evidence that much more egregious.

 673. These failures were unreasonable and thus could not have been based on

 reasonable strategic considerations. Counsel did not properly investigate to present

 a complete defense at sentencing. This was not a legitimate trial “strategy.” See

 Wiggins, 539 U.S. at 521–22.

 674. But for counsel’s deficient performance in failing to present compelling

 mitigating evidence, there is a reasonable probability that at least one juror would

 have had a reasonable doubt respecting whether death was the appropriate

 punishment, and would have voted for a sentence less than death.

 675. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

                  b.    Counsel failed to obtain the expert and investigative
                        assistance that was reasonably necessary to investigate
                        and present the compelling mitigating details of Davis’
                        life history.
 676. Counsel failed to obtain all of the expert and investigative assistance that

 was reasonably necessary to investigate and present the compelling story of Roland

 Davis’ life history.




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 677. For example, counsel failed to investigate, consult with, or present evidence

 from a mental health expert, even though the court authorized the expenditure of

 funds for such an expert to help prepare for the penalty phase.

 678. Although a wealth of relevant mitigating evidence could have been

 presented through an experienced mental health professional, see Eighteenth

 Ground for Relief, supra/infra, no mental health expert testified at the penalty

 phase.

 679. Testimony from a competent forensic psychologist or other mental health

 expert would have provided the jury and the trial court with insight into Davis’

 background and a scientific explanation of how this background affected his

 psychological makeup as an adult.

 680. Testimony from a competent forensic psychologist or other mental health

 expert also would have provided the jury and the trial court with insight into how

 Davis’ psychological makeup contributed to this crime.

 681. This would have provided powerful mitigating evidence contrary to the

 prosecutor’s repeated assertions that Davis’ background had no mitigation value to

 this offense because it did not explain or excuse the crime. (Tr. at 2273–78; Sent.

 Hr’g Tr. at 32.)

 682. In addition to failing to consult with or provide testimony from a mental

 health expert, counsel failed to consult with or provide testimony from other

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 experts necessary to conduct a full investigation and then present and explain the

 strongest mitigation picture to the jury.

 683. These failures were unreasonable and thus could not have been based on

 reasonable strategic considerations. Counsel did not properly investigate to present

 a complete defense at sentencing. This was not a legitimate trial “strategy.” See

 Wiggins, 539 U.S. at 521–22.

 684. But for counsel’s deficient performance in failing to present this type of

 compelling mitigating evidence, there is a reasonable probability that at least one

 juror would have had a reasonable doubt respecting whether death was the

 appropriate punishment, and would have voted for a sentence less than death.

 685. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

                  c.    Counsel failed to develop a comprehensive mitigation
                        theory before trial that could be advanced through all
                        stages of the trial.
 686. Counsel failed to develop, in advance of voir dire, a comprehensive

 mitigation theory that could be advanced through all stages of the trial, despite an

 obligation to do so under the prevailing professional norms.

 687. Indeed, the trial transcript demonstrates that counsel had no comprehensive

 mitigation theory even at the start of the sentencing phase, let alone at the start of


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 the trial phase. (See, e.g., Tr. at 2025 (“Perhaps, through the evidence that you will

 be presented, we have witnesses that we will call to the stand, you will find

 something that suggests that death would be inappropriate to this defendant in this

 case.”).)

 688. This absence of a theme or strategy became more apparent throughout the

 penalty phase when trial counsel stipulated much of the evidence, failed to offer

 any explanation of the relevance of the evidence, and failed to object to the

 repeated instances of prosecutorial misconduct which acted to improperly limit the

 mitigation and to focus the jury on non-statutory aggravating circumstances.52

 689. These failures were unreasonable and thus could not have been based on

 reasonable strategic considerations. Counsel did not properly investigate to present

 a complete defense at sentencing. This was not a legitimate trial “strategy.” See

 Wiggins, 539 U.S. at 521–22.

 690. But for counsel’s deficient performance in failing to present this type of

 compelling mitigating evidence, there is a reasonable probability that at least one

 juror would have had a reasonable doubt respecting whether death was the

 appropriate punishment, and would have voted for a sentence less than death.


 52
   As noted above, Davis has raised the misconduct of the prosecutor as a separate
 substantive Ground for Relief. See Sixteenth Ground for Relief, supra. Rather
 than repeat the entire substantive claim relevant to the penalty phase, it is
 incorporated by reference here.

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 691. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, and the effective assistance of counsel

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

                 d.     Counsel failed to effectively humanize Davis for the jury,
                        and failed to effectively present and explain the wealth of
                        mitigation evidence so that the jury could properly
                        consider and give effect to the evidence in deliberations.
 692. Counsel failed to investigate, develop, and/or present available mitigation

 evidence to the jury that would have humanized Davis. Relevant and compelling

 information about Davis’ social history was not discovered, presented and/or

 sufficiently explained to the jury.

 693. Relatedly, counsel failed to effectively present and explain the

 overwhelming mitigation evidence so that the jury could properly consider and

 give effect to the mitigation evidence in their deliberations.

 694. Despite the critical importance of objective mitigation evidence such as the

 various records from Davis’ background, counsel stipulated to a variety of records

 in the penalty phase. (See Joint Stipulation No. 11, Medical records; Joint

 Stipulation No. 12, Licking County Children’s Home Records; Joint Stipulation

 No. 13, Licking County Jail records; Joint Stipulation No.14, Newark Public

 School records; Tr. at 2221–24.)

 695. For example, Joint Stipulation 14 established that Davis’ IQ was tested at 81

 in 1970, which places Davis in the Borderline Intellectual functioning range. This

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 is a significant factor that should have been explained to the jury. But counsel

 offered only the records containing this information, and offered no further

 information or explanation about what that score meant, expert or otherwise.

 696. Counsel offered no testimony or explanation about the content or meaning of

 the records to properly establish the most favorable context for the jury’s

 consideration of this vital mitigation evidence, or to help the jury understand the

 meaning of the evidence. This minimized the impact of the compelling mitigating

 evidence contained in these records.

 697. Counsel’s failure was compounded when counsel failed to present any

 psychologist, psychiatrist or mental health expert to discuss the contents of these

 records or the significance of the information contained in the records to Davis’

 development or to explaining the crime.

 698. Counsel also did not explain the content or meaning of these records in

 closing argument. Without a mental health expert or counsel explaining the

 contents of these records as well as the significance of the record, or the events

 documented in the records, this critical evidence was meaningless to the jury. See

 Johnson v. Bagley, 544 F.3d 592, 600–01 (6th Cir. 2008).

 699. It was unreasonable and could not have been a reasoned trial strategy to

 simply obtain a pile of records, then dump them in the jury’s hands without

 organizing the files or explaining to the jury how or why they are relevant. See id.

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 700. It was similarly unreasonable to expect the jury to review the records on

 their own, identify those that were significant to explaining or understanding

 Davis’ background and the nature and extent of his developmental problems, and

 then synthesize the implication of those elements with a complex issue like

 whether Davis was deserving of the death penalty. See id.

 701. These failures were unreasonable and thus could not have been based on

 reasonable strategic considerations.

 702. Each of these distinct but related failures by counsel, individually and in the

 aggregate, prejudiced Davis.

 703. Davis was prejudiced by counsel’s failures because the jury was deprived of

 hearing compelling mitigating evidence of the type that juries often rely on in

 imposing a sentence less than death.

 704. He was also prejudiced because the jury, without expert testimony or any

 explanation from counsel to establish the context and significance of the mitigation

 evidence including the objective records evidence, was unable to give full

 consideration and effect to all of his mitigation evidence.

 705. Had counsel fulfilled their obligations to thoroughly and completely

 investigate Davis’ background, to develop a comprehensive mitigation theory that

 was presented to the jury at every opportunity from the start of trial, to consult with

 and present testimony from experts to help explain the context and import of the

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 information about Davis’ background, to humanize Davis for the jury, and to

 present and explain the entire mitigation picture, the picture the jury ultimately

 considered would have been substantially different.

 706. The jury would have been presented with not only an outline of Davis’

 childhood but also the compelling details as well as an explanation of how this

 brutal and abusive upbringing affected his development, and may have contributed

 to his behavior here.

 707. Given the compelling nature of the available mitigation evidence that

 counsel failed to uncover for lack of sufficient investigation, there is a reasonable

 probability that at least one juror hearing this compelling mitigating evidence

 would have concluded that a sentence less that death was appropriate.

 708. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, the chance to have his sentencing jury

 give full consideration and effect to his mitigation evidence, and the effective

 assistance of counsel under the Fifth, Sixth, Eighth, and Fourteenth Amendments.

           2.    Counsel failed to investigate and present compelling mitigation
                 evidence from a mental health expert.
 709. Trial counsel had a duty to conduct a thorough investigation of Davis’

 background for mitigating evidence, and to present relevant mitigating evidence,

 especially when that mitigation evidence was compelling. See Porter, 130 S. Ct. at

 452–53 (citing Williams, 529 U.S. at 396 (in turn citing the ABA Guidelines)).

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 710. Counsel had a duty to thoroughly investigate any mitigation evidence arising

 from Davis’ psychosocial history and elsewhere, in order to prepare and present

 the comprehensive and compelling mitigation theory that should have been readily

 apparent from the abusive childhood that Roland Davis endured. See Wiggins, 539

 U.S. at 521–22. This included a duty to investigate Davis’ mental health history

 for potential mitigating factors.

 711. Counsel also had a duty to employ experts in investigating and developing

 mitigation evidence right, and to present expert testimony at the penalty phase to

 assist the jury in understanding the import of the mitigating evidence. See, e.g.,

 ABA Guidelines, Guideline 10.11.F.2.

 712. Counsel’s investigation, development, presentation and explanation of

 mitigation evidence fell far below the prevailing professional norms, and were not

 informed strategic trial decisions.

 713. Counsel failed to investigate and present mitigation evidence from a mental

 health expert, despite the fact that the trial court approved funds for such an expert

 to assist in Davis’ defense. Relevant and highly persuasive mitigation evidence

 could have been presented had counsel investigated and presented readily available

 testimony from a mental health expert.

 714. Similarly, Davis’ mitigation evidence, including the additional mitigation

 evidence, could have been presented to the jury in a way that would have allowed

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 the jury to understand the evidence’s context and import had counsel called a

 mental health expert to testify. (Post Conviction Pet., Ex. V.)

 715. Specifically, Davis’ background and mental health history could have been

 explained to the jury:

           1)    A culmination of his early, adolescent, and adulthood
                 experiences has shaped the person Davis is today and
                 was at the time the offenses occurred.

           2)    The witnessing of violence during childhood and
                 adolescence from his father against his mother has
                 significantly affected Davis, creating greater risk for
                 violent behavior in his adult life.

           3)    The ongoing difficulties with interpersonal
                 relationships is likely due to a psychological and
                 emotional struggle between [Davis’] father’s violent
                 behavior and his mother’s passive behavior.
                 Distressing sentiment has ensued, which his history
                 has shown has manifested itself externally against
                 others at times as domestic violence and internally
                 with regard to his apparently genuine desire to help
                 others.

           4)    [Davis’] dependency on others for decision-making is
                 likely due to insecurities and self-esteem issues
                 developed throughout his life, as a result of
                 unsupportive experiences with his father and others.

           5)    Experiences Davis had and the way he processed
                 them are independent of those of his siblings and
                 further seemingly affected him in some similar, but
                 also very different ways.

 (Post Conviction Pet., Ex. V, ¶ 92.)




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 716. Testimony from a mental health expert would have provided the sentencer

 with insight into Davis’ background and record relevant to his family, medical,

 educational, psychological and employment histories, his positive character traits,

 his ability to adjust to incarceration, and the abuse and neglect he experienced in

 his formative years.

 717. The testimony of a mental health expert would also have provided a

 reasoned connection between the childhood abuse that Davis suffered and the

 crime. (Post Conviction Pet., Ex. V, ¶¶ 72–86, 92–94.)

 718. This would have rebutted the prosecutor’s penalty phase argument—and the

 conclusion of the trial court—that the abuse Davis endured as a youth had no

 mitigating value because it was too remote in time from the offense, and that it had

 no connection to the offense. (See, e.g., Tr. at 2273–78; see also Sent. Hr’g Tr. at

 32.)

 719. A mental health expert would have demonstrated that the evidence indeed

 provided a causal connection for the crime. (Post Conviction Pet., Ex. V, ¶¶ 72–

 86, 92–94.)

 720. Employing a mental health expert from the inception of their representation

 of Davis would have allowed counsel to conduct a thorough background

 investigation and then to exercise their reasonable professional judgment in

 determining the mitigation evidence to present during the penalty phase of the trial.

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 Conversely, failing to employ a mental health expert rendered counsel’s

 investigation, if any, into myriad avenues of mitigation evidence insufficient.

 721. Davis’ counsel unreasonably failed to investigate, develop, and/or present to

 the jury any of this critical mitigation evidence from a mental health expert. Given

 the importance of Davis’ mental health and psychosocial background to

 understanding the crime and to accurately painting a compelling mitigation picture,

 which counsel failed to investigate and present for lack of employing a mental

 health expert, there is a reasonable probability that a competent attorney aware of

 the evidence would have introduced it at sentencing.

 722. Furthermore, but for counsel’s deficient investigation, development,

 presentation and explanation of mitigation evidence through a mental health

 expert, there is a reasonable probability that all of the aforementioned evidence

 would have provided at least one juror with sufficient mitigating circumstances

 upon which to vote for a sentence less than death.

 723. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, the chance to have his sentencing jury

 give full consideration and effect to his mitigation evidence, and the effective

 assistance of counsel under the Fifth, Sixth, Eighth, and Fourteenth Amendments.




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           3.    Counsel failed to object to improper jury instructions.
 724. Counsel had a duty to pursue all legal claims and objections, to know the

 law, and to advocate for correct or favorable jury instructions, and to object to

 improper jury instructions. See, e.g., ABA Guidelines, Guidelines 10.8, 10.11.

 725. The trial court in its penalty phase instructions failed to limit consideration

 of the trial phase evidence in the penalty phase; failed to properly allocate the

 burden of proof; failed to properly define the burden of proof; refused to instruct

 on residual doubt and mercy; and gave incorrect parole instructions. See Fifteenth

 Ground for Relief, supra.

 726. Counsel failed to object to these faulty instructions.

 727. Counsel’s failure to object to these incorrect instructions and failure to offer

 correct instructions fell below the prevailing professional norms and was therefore

 unreasonable. See, Ohio R. Crim. P. 30.

 728. Davis was prejudiced when his jury, in deciding between a sentence of life

 and death, was instructed to deliberate that momentous decision under incorrect

 and misleading instructions.

 729. But for counsel’s deficient performance, there is a reasonable probability

 that at least one juror would have voted for a sentence less than death.




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    D.     Conclusion

 730. Counsel repeatedly failed to put the state’s case to any adversarial testing.

 Their performance suggested acquiescence in any tool or procedure that shortened

 the trial and made things go smoothly—hardly a legitimate goal in a system that

 relies on adversarial testing. For all of the reasons set forth above, individually and

 cumulatively, Davis was denied the effective assistance of counsel throughout the

 trial and penalty phases.

 731. But for counsel’s deficient performance at the trial phase, there is a

 reasonable probability that all of the aforementioned evidence and advocacy would

 have provided at least one juror with reasonable doubt respecting guilt.

 732. Furthermore, but for counsel’s deficient performance at the penalty phase,

 there is a reasonable probability that all of the aforementioned evidence and

 advocacy would have provided at least one juror with sufficient mitigating

 circumstances upon which to vote for a sentence less than death.

 733. Counsel’s errors rendered Davis’ trial fundamentally unfair and denied

 Davis a defense, due process, a fair trial, the chance to have his sentencing jury

 give full consideration and effect to his mitigation evidence, and the effective

 assistance of counsel under the Fifth, Sixth, Eighth, and Fourteenth Amendments

 734. To the extent that the Ohio courts adjudicated the federal constitutional

 merits of these claims, their adjudications were contrary to, or unreasonable


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 applications of, clearly established federal law, and/or based on unreasonable

 determinations of the facts.

 735. This Court should issue the writ.




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                      SYSTEMIC GROUNDS FOR RELIEF

 Nineteenth Ground for Relief:

 THE DEATH SENTENCE IMPOSED ON ROLAND DAVIS IS DISPROPORTIONATE IN
 VIOLATION OF THE FIFTH, SIXTH, EIGHTH, AND FOURTEENTH AMENDMENTS.

 736. The sentence of death imposed on Roland Davis compared to others

 convicted of similar crimes is disproportionately severe and therefore arbitrary and

 capricious under the Fifth, Sixth Eighth and Fourteenth Amendments.

    A.     Davis’ substantive Eighth Amendment right to a death sentence that
           was not imposed in an arbitrary or capricious manner was violated.

 737. The guiding principal underlying Eighth Amendment jurisprudence is that

 sentences of death may not be imposed in an arbitrary and capricious manner.

 Furman v. Georgia, 408 U.S. 239, 249 (1972) (Douglas, J., concurring). The death

 sentence imposed on Roland Davis could not be more arbitrary or capricious. This

 is a fundamentally unfair outcome. The Fifth, Sixth, Eighth, and Fourteenth

 Amendments require that there must be a meaningful basis upon which to

 distinguish between those few cases in which the death penalty is justified and the

 many cases in which it is not. Gregg v. Georgia, 428 U.S. 153, 188–89 (1976);

 Furman, 408 U.S. at 313 (White, J., concurring). Here, no such rational basis

 exists.

 738. Sentences must be proportional and not disparate, a requirement that is most

 stringently imposed in capital cases. Harmelin v. Michigan, 501 U.S. 957, 997


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 (1991) (Kennedy, J., concurring); see also Gregg, 428 U.S. at 187 (“When a

 defendant’s life is at stake, the Court has been particularly sensitive to ensure that

 every safeguard is observed.”). The proportionality of a given death sentence is

 subject to review by the federal courts. Godfrey v. Georgia, 446 U.S. 420, 428

 (1980) (plurality opinion).

 739. A state may not leave the decision of whether a defendant lives or dies to the

 unfettered discretion of the jury because such a scheme inevitably results in death

 sentences that are “wantonly and . . . freakishly imposed” and “are cruel and

 unusual in the same way that being struck by lightning is cruel and unusual.”

 Furman, 408 U.S. at 309–10 (Stewart, J., concurring). Therefore, some form of

 meaningful review is required to prevent potentially arbitrary imposition of the

 death penalty.

    B.     The Ohio Supreme Court’s refusal to consider life sentences in
           Davis’ proportionality review denied him due process.

 740. The sentence imposed on Roland Davis is disproportionately severe in

 comparison to the sentences imposed on others similarly situated.

 741. The Supreme Court of Ohio has refused to consider life sentences when

 conducting proportionality review. See, e.g., State v. Eley, 672 N.E.2d 640, 651

 (Ohio 1996); State v. Steffen, 509 N.E.2d 383, 395 (Ohio1987). The Supreme

 Court of Ohio also failed to consider life sentences in conducting Davis’

 proportionality review. See State v. Davis, 880 N.E.2d 3186 (Ohio 2008). The
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 failure to correct a grossly disproportionate and therefore arbitrary and capricious

 death sentence violates clearly established federal law, and deprived Davis of his

 rights under the Fifth, Sixth, Eighth and Fourteenth Amendments.

    C.     Ohio has created a liberty interest in proportionality review.

 742. In enacting its death penalty scheme in 1981, the Ohio Legislature included

 Ohio Rev. Code § 2929.05, requiring the state reviewing courts to conduct

 proportionality review.

 743. While state court proportionality review is not constitutionally required,

 Pulley v. Harris, 465 U.S. 37, 42–43 (1984), Ohio has required proportionality

 review as part of the appellate review process, Ohio Rev. Code § 2929.05(A). The

 state thereby created a liberty interest that cannot be ignored or administered in an

 arbitrary manner. See Evitts v. Lucey, 469 U.S. 387, 395–96 (1985). Therefore, all

 required components of the appellate review system for death penalty cases—

 including this statutorily mandated proportionality review—must be enforced

 within the requirements of due process and equal protection. Evitts, 469 U.S. at

 403–04.

 744. The Supreme Court of Ohio has generally limited its proportionality review

 to a comparison to other “similar” cases where the death sentence was imposed,

 see Steffen, 509 N.E.2d at 394–95, and did so in Davis’ case as well, see Davis,

 880 N.E.2d at 186. The Supreme Court of Ohio did not conduct any comparison to


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 “similar” cases where death was not imposed. Instead, it merely listed cases where

 similar aggravating circumstances were found, ignoring whether those so-called

 “similar” cases also had additional aggravating circumstances, or whether some or

 substantial mitigating evidence had been presented, or whether there was in fact

 any similarity between the cases.

 745. The failure to compare this case to cases where death was not imposed did

 not provide the “meaningful appellate review [that] ensur[es] that the death penalty

 is not imposed arbitrarily or irrationally.” Parker v. Dugger, 498 U.S. 308, 321

 (1991). The Ohio Supreme Court’s limitation of its review to other cases where

 death had also been imposed has resulted in zero death sentences being found

 disproportionate—out of more than two hundred cases reviewed. This method

 makes it impossible for the court to determine if this is the only case in which

 death was imposed out of the hundreds where death was not imposed. State v.

 Marshall, 613 A.2d 1059, 1071 (N.J. 1992).

 746. While the Supreme Court of Ohio has lauded the proportionality review of

 Ohio Rev. Code § 2929.05(A) as a “meaningful function which reduces the

 arbitrary and capricious imposition of death sentences,” State v. Jenkins, 473

 N.E.2d 264, 279 (Ohio 1984), it has failed to conduct such a proportionality review

 and therefore has failed to correct the clearly disproportionate arbitrary and

 capricious sentence imposed here. The Supreme Court of Ohio ignored the

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 fundamental purpose of proportionality review, return to the pre-Furman era of

 arbitrary and capricious death sentences, and permitting the indiscriminate

 imposition of a disproportionate sentence on Roland Davis in violation of the Fifth,

 Sixth, Eighth, and Fourteenth Amendments.53

      D.   Conclusion

 747. The death sentence imposed on Roland Davis is constitutionally

 disproportionate and cannot stand as compared to others similarly situated. It is

 this type of irrational, arbitrary, and disproportionate application of the death

 penalty that has been roundly condemned since Furman.

 748. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 749. This Court should issue the writ.




 53
    Ohio’s proportionality statutes specifically require that the Ohio Supreme Court
 “shall” create a data base, and that it “shall” conduct proportionality review using
 that data base. Ohio Rev. Code §§ 2929.021 & 2929.03. See Jenkins, 473 N.E.2d
 at 302–04. Thus in Ohio, as compared to the Tennessee statute at issue in Coe v.
 Bell, 161 F.3d 320, 351–52 (6th Cir. 1998), the Legislature has created a specific
 liberty interest by requiring the Supreme Court of Ohio to conduct a rational
 proportionality review by statute as well as by federal constitutional mandate.

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 Twentieth Ground for Relief:

 THE OHIO SENTENCING REVIEW PROCESS AS IMPLEMENTED DENIED ROLAND
 DAVIS AN ADEQUATE SAFEGUARD AGAINST THE ARBITRARY AND CAPRICIOUS
 IMPOSITION OF THE DEATH PENALTY. THE DEATH PENALTY IN THIS CASE IS
 INAPPROPRIATE UNDER THE FIFTH, SIXTH, EIGHTH AND FOURTEENTH
 AMENDMENTS.

 750. When it re-enacted the death penalty in 1981, the Ohio Legislature,

 established safeguards to ensure that the death penalty was not arbitrarily and

 capriciously imposed. These safeguards include: 1) a separate weighing by the

 trial court of the statutory aggravating circumstances against the mitigating factors

 and a written explanation of why death was appropriate in a separate sentencing

 opinion, Ohio Rev. Code § 2929.03(F), and 2) a separate and independent review

 by the Supreme Court of Ohio to ensure that the statutory aggravating

 circumstances outweigh the mitigating factors beyond a reasonable doubt and that

 the sentence was appropriately and proportionately applied. Ohio Rev. Code

 § 2929.05.

 751. Neither court complied with the statutory mandates, permitting an arbitrary

 and capricious imposition of a sentence of death on Roland Davis, under the Fifth,

 Sixth, Eighth, and Fourteenth Amendments.

 752. Ohio Rev. Code § 2929.03(F) requires the trial court to review the statutory

 aggravating circumstances that the jury had found proven beyond a reasonable

 doubt; the mitigating factors that have been presented and that appear in the


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 evidence; the mitigating factors found to exist by the trial court; and the reasons

 why the aggravating circumstances outweigh the mitigating factors beyond a

 reasonable doubt and that death is the appropriate sentence.

 753. The trial court failed to explain why the aggravating circumstances

 outweighed the mitigating factors beyond a reasonable doubt. The trial court

 simply stated that it was affording “great weight” to the aggravating circumstances.

 It then proceeded to state, in great detail, facts that do not constitute statutory

 aggravating circumstances, specifically, including the fact that the victim was 86

 years old, that Davis apparently took advantage of his prior relationship with the

 victim, and that the theft offense have taken a “not insignificant amount of time.”

 None of these constitute or are even relevant to the statutory aggravating

 circumstances that had been found by the jury and that the trial court was permitted

 to consider. Ohio Rev. Code § 2929.03(F); Ring v. Arizona, 536 U.S. 584, 609

 (2002).

 754. The trial court inappropriately gave much less weight to Davis’ tragic

 childhood because he was 47 years old. The court minimized Davis’ limited

 intellectual ability because he was able to remain employed, again an inappropriate

 conclusion. The court also found that Davis’ low educational ability did not carry

 much weight because it was related to his poor family environment in his

 childhood. This is not only speculative, it is irrelevant to whether his low IQ

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 constitutes a mitigating factor. See Atkins v. Virginia, 536 U.S. 304, 320–21

 (2002). The trial court did not explain why very little or no weight was given to

 any particular piece of mitigation (other than that Davis was 47 years old) or why

 the mitigation as a whole was outweighed by the statutory aggravating

 circumstances.

 755. The trial court’s opinion virtually ignored the presence of substantial

 mitigating factors such as Davis’ abandonment for months by both parents and his

 grandparents although his grandparents had taken one of the children, his being

 bullied and made fun of by other children due to his stuttering, his father abusing

 him verbally by calling him a “retard”, and the compelling additional mitigating

 evidence presented concerning the deplorable conditions of his childhood and the

 effects of these events on his development.

 756. The trial court failed to ensure that there was an individualized sentencing

 determination or to ensure that no arbitrary and capricious factors had entered into

 the jury’s decision making process. Due to the trial court’s inadequate review of

 the statutory and constitutional requirements to ensure against the arbitrary and

 capricious misapplication of the death penalty, no proper appellate review can now

 be conducted.

 757. The evidence presented on Davis’ behalf is the type of evidence that courts

 have recognized as mitigating. See Rompilla v. Beard, 545 U.S. 374, 390–91

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 (2005); Wiggins v. Smith, 539 U.S. 510, 534–35 (2003). Family history and

 background or a poor family environment is a mitigating factor. The cumulative

 weight of these factors outweighs the statutory aggravating circumstances in this

 case. The sentence of death is thus inappropriate.

 758. Ohio’s statutes do not require the court imposing life imprisonment to

 identify the mitigating factors or to explain how the statutory aggravating

 circumstances outweigh the mitigating factors. Without this information, no

 relevant comparison of cases is possible and thus no meaningful appellate review

 can be effected. See State v. Murphy, 747 N.E.2d 765, 813 (2001) (Pfeifer, J.,

 dissenting) (“When we compare a case in which the death penalty was imposed

 only to other cases in which the death penalty was imposed, we continually lower

 the bar of proportionality. The lowest common denominator becomes the

 standard.”).

 759. The review of Davis’ death sentence by the Supreme Court of Ohio pursuant

 to Ohio Rev. Code § 2929.05 was no more thorough or complete. The Court

 reviewed the aggravating factors and the evidence presented in mitigation, but then

 concluded that his was a “horrific crime” before rejecting summarily the

 significance of all of the mitigating evidence presented.

 760. The court gave some mitigating weight to his abusive childhood and his

 limited intellectual functioning and his lack of disciplinary infractions while

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 incarcerated. State v. Davis, 880 N.E.2d 31, 86 (Ohio 2008). The Court rejected

 giving this factor any significant weight, however, because “there was no evidence

 of any significant connection between Davis’ childhood abuse and his murder of

 Sheeler.” Id. The Court concluded without further explanation: “we find that the

 aggravating circumstances outweigh the mitigating factors beyond a reasonable

 doubt. Davis’ murder of Sheeler during the course of a burglary, robbery, and

 kidnapping are grave circumstances. In contrast Davis’ mitigating evidence has

 little significance.” Id. at 87.

 761. The review by the Supreme Court of Ohio failed to give appropriate weight

 to the compelling mitigating factors presented and gave unwarranted weight to the

 statutory aggravating circumstance as “grave circumstances.” The review of the

 Supreme Court of Ohio failed to provide any check on the arbitrary and capricious

 imposition of the death penalty under the Fifth, Sixth, Eighth and Fourteenth

 Amendments.

 762. The sentence of death imposed on Roland Davis is inappropriate. The

 history, character and background of Roland Davis do not excuse the death of

 Elizabeth Sheeler, but they do operate to mitigate the appropriate sentence.

 Imposing the death sentence on Roland Davis is inappropriate because of the




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 existence of these compelling mitigating factors.54 Reweighing of the aggravating

 circumstances against the strong mitigating evidence, the inevitable conclusion is

 that the death is inappropriate under the Fifth, Sixth, Eighth and Fourteenth

 Amendments.

 763. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 764. This Court should issue the writ.




 54
   While some mitigating factors were presented, additional compelling mitigating
 factors were not presented, because counsel failed to investigate, failed to
 adequately present mitigating factors, and failed to present an explanation of the
 records or the history of Roland Davis through a mental health professional or
 otherwise. See Eighteenth Ground for Relief, supra. Davis was denied the
 effective assistance of counsel at the penalty phase.

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 Twenty-First Ground for Relief:

 DAVIS WAS DENIED DUE PROCESS AND EQUAL PROTECTION BECAUSE OHIO’S
 POST CONVICTION PROCEDURES DID NOT PROVIDE HIM WITH AN ADEQUATE
 CORRECTIVE PROCESS TO FULLY AND FAIRLY VINDICATE HIS FEDERAL
 CONSTITUTIONAL CLAIMS IN THE STATE COURTS UNDER PRINCIPLES OF COMITY
 AND FEDERALISM.

 765. It is well-settled that “when a State opts to act in a field where its action has

 significant discretionary elements, it must nonetheless act in accord with the

 dictates of the Constitution—and, in particular, in accord with the Due Process

 Clause.” Evitts v. Lucey, 469 U.S. 387, 401 (1985). Specifically, when a State

 creates a corrective process, the same should be “swift and simple and easily

 invoked,” should “eschew rigid and technical doctrines of forfeiture, waiver, or

 default,” and should “provide for full fact hearings to resolve disputed factual

 issues.” Case v. Nebraska, 381 U.S. 336, 346–47 (1965) (Brennan, J., concurring).

 766. Under principles of comity and federalism, Ohio defendants such as Davis

 are required to provide the Ohio courts the first opportunity to correct federal

 constitutional violations. Accordingly, Ohio has chosen to act in the field of post

 conviction relief in part to provide state prisoners with some “defined method by

 which they may raise claims of denial of federal rights.” State v. Calhoun, 714

 N.E.2d 905, 909 (Ohio 1999) (quoting Young v. Ragen, 337 U.S. 235, 239 (1949)).

 While this type of review is not constitutionally mandated, see Murray v.




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 Giarratano, 492 U.S. 1 (1989), nevertheless, the post conviction procedure must,

 in accordance with Evitts, comport with, and be enforced to effectuate due process.

 767. In Ohio, every aspect of post conviction relief is discretionary. An

 evidentiary hearing on the petition is not automatic; instead the trial court must

 first determine “whether there are substantive grounds for relief.” Ohio Rev. Code

 § 2953.21(C). This requires the petitioner to “set forth sufficient operative facts to

 establish substantive grounds for relief.” Calhoun, 714 N.E.2d at 905. To

 determine if substantive grounds for relief exist, the Ohio statute requires the trial

 court to consider “supporting affidavits, and the documentary evidence, all the files

 and records pertaining to the proceedings against the Davis, including, but not

 limited to, the indictment, the court’s journal entries, the journalized records of the

 clerk of the court, and the court reporter’s transcript.” Ohio Rev. Code

 § 2953.21(C). The trial court can deny a petition without even holding an

 evidentiary hearing if the trial court does not find grounds for granting relief. Ohio

 Rev. Code § 2953.21(E); Calhoun, 714 N.E.2d at 905.

 768. In sum, the Ohio post conviction process does not automatically require an

 evidentiary hearing, or any other form of discovery, and yet the process places a

 heavy burden on an inmate such as Davis to set forth “operative facts” warranting

 further review. Indigent inmates face the insurmountable burden of collecting

 evidence in support of valid claims prior to the filing of a petition without the

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 means to collect information critical to their claims. Absent funds for the

 reasonable and necessary expert and investigative assistance to properly

 investigate, prepare, and litigate the post conviction petition in the abbreviated

 period of time available provided by the statute of limitations, Ohio Rev. Code

 § 2953.21, it was impossible for Davis to fully and fairly develop the factual bases

 for his claims and to fully and fairly present those claims to the state courts.

 769. After filing his post conviction petition, Davis attempted to further meet his

 burden by requesting a full and fair opportunity to be heard by moving for

 discovery, an evidentiary hearing, and expert assistance, all of which were

 reasonably necessary to developing the factual bases and supporting affidavits and

 other documentary evidence for the trial court to consider. (See Licking County

 Case No. 2004 CR 00464, Motion for Discovery and Evidentiary Hearing filed

 7/20/2006; Motion for DNA Test filed 7/20/2006; and Motion for Appropriation of

 Funds for Dr. Robert L. Smith, Clinical Psychologist filed 7/20/2006.)

 770. Davis requested authorization to depose his trial attorneys to more fully

 develop his numerous claims of the denial of effective assistance of counsel under

 Strickland v. Washington, 466 U.S. 668 (1984), see Eighteenth Ground for Relief,

 supra, Twenty-Second Ground for Relief, infra, and his claim of undisclosed

 exculpatory and impeachment information under Brady v. Maryland, 373 U.S. 83

 (1963), see Seventh Ground for Relief, Sixteenth Ground for Relief, Seventeenth

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 Ground for Relief, Eighteenth Ground for Relief, supra, and Twenty-Second

 Ground for Relief, infra. Davis also requested authorization to depose the state’s

 witness Richard Hummel to further develop his Brady claim. Furthermore, Davis

 requested authorization to depose Damien Turner on the question of whether the

 Newark police solicited testimony from Turner incriminating Davis while Turner

 was incarcerated. See Seventeenth Ground for Relief, Eighteenth Ground for

 Relief, supra. Davis stated that he gave this information to trial counsel, but

 counsel did not investigate this claim, another reason Davis requested leave to

 depose his trial counsel. A deposition of Turner could have lead to evidence

 bolstering Davis’ Brady claim related to Turner.

 771. Davis requested leave to depose Licking County Sheriff’s Deputies Marcus

 Ramsey and Anthony Phillips to fully develop his claim that he was required to

 wear an electric shocking device during the trial. Likewise, Davis requested leave

 to depose law enforcement personnel responsible for the custody and care of the

 electric shocking device. See First Ground for Relief, supra.

 772. Consultation with clinical psychologist Dr. Robert Smith would have

 permitted Davis to prove the psychological effects on Davis resulting from his

 being forced to wear the electrical shocking device at trial. (Post Conviction Pet.,

 Exs. N, O, P, Q, R.) See First Ground for Relief, supra.




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 773. Additionally, Davis requested leave to discover records that may have

 entitled him to relief on the merits of his claims. Specifically, he requested leave

 to obtain records maintained by Tari Paxson, which would have bolstered his

 actual innocence claim by demonstrating that he could not have been present at a

 restaurant where he was supposedly identified on the date of the purported

 identification. See Eighteenth Ground for Relief, supra.

 774. If Davis was permitted to obtain records of the manuals and documents

 regarding the electrical shocking device, the records could have bolstered his

 claims related to being forced to wear an electrical shocking device. See First

 Ground for Relief, supra.

 775. Finally, the requested DNA testing of Davis’ brother’s blood sample, the

 same brother Davis offered as an alternative suspect at trial, was needed to fully

 develop Davis’ claims of ineffective assistance of counsel and actual innocence.

 See Sixth Ground for Relief, Sixteenth Ground for Relief, Seventeenth Ground for

 Relief, and Eighteenth Ground for Relief, supra; Twenty-Second Ground for

 Relief, infra.

 776. Discovery was necessary to develop the factual bases for Davis’ claims.

 Nevertheless, the trial court denied all of his discovery requests and ultimately

 denied Davis’ petition, criticizing the lack of evidence submitted by Davis.

 (Licking County Case No. 2004 CR 00464, 11/14/2007 Judgment Entry, ¶¶ 11,

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 15.) In upholding the trial court’s decision, the Fifth District Court of Appeals

 routinely emphasized that the only evidence Davis submitted was his own

 affidavits, or documents that were not authenticated. State v. Davis, 2008 Ohio

 App. LEXIS 5718, 2008-Ohio-6841, at ¶¶ 40, 51, 94, 115–20, 139, 150 (Ohio Ct.

 App. Dec. 23, 2008). Authorizing funds for expert and investigative assistance and

 permitting Davis to conduct depositions and conduct other discovery would have

 provided the necessary tools for Davis to develop the factual bases for his federal

 constitutional claims.

 777. In essence, the Ohio courts’ conclusions that Davis was required to prove the

 effect or prejudice of his claims, without permitting him to conduct discovery, or

 obtain expert or investigative assistance, emphasizes the flaws in Ohio’s post

 conviction process. As a result, Davis was denied equal protection, due process,

 and a full and fair opportunity to present and litigate his federal constitutional

 claims in state post conviction proceedings, in violation of the Fifth, Sixth, Eighth

 and Fourteenth Amendments, as well as constitutional principles of comity and

 federalism. Ohio’s post conviction process did not provide Davis an adequate and

 independent means by which to vindicate his federal constitutional rights in the

 state court system. The amended post conviction petition and supporting exhibits,

 if fully developed through discovery, would have been sufficient to entitle him to

 relief. See Bracy v. Gramley, 520 U.S. 899, 908–09 (1997).

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 778. While Davis’ post conviction claims could have benefited from further

 development through discovery, Davis, at a minimum, pleaded sufficient operative

 facts supported by credible evidence dehors the record to entitle him to a hearing.

 See Calhoun, 714 N.E.2d at 910 (quoting State v. Jackson, 413 N.E.2d 819, 823

 (Ohio 1980)). Accordingly, the trial court’s refusal to hold an evidentiary hearing

 when Davis met his burden denied him due process and a full and fair opportunity

 to adjudicate the merits of his federal constitutional claims.

 779. The Ohio post conviction statute denied Davis due process and equal

 protection in violation of the Fifth, Sixth, Eighth, and Fourteenth Amendments

 because the statute fails to provide an adequate corrective process to fully and

 fairly vindicate Davis’ federal constitutional rights in state court. Davis requests a

 full and fair opportunity to present all of his claims to this Court in habeas corpus

 and to have the opportunity to conduct discovery, the opportunity to amend the

 petition, the opportunity (and the ability) to fully investigate the claims and to

 present evidence in support of his claims to this Court without any deference being

 given to the factual findings of the state courts.

 780. To the extent that the Ohio courts adjudicated the federal constitutional

 merits of these claims, their adjudications were contrary to, or unreasonable

 applications of, clearly established federal law, and/or based on unreasonable

 determinations of the facts.

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 781. This Court should issue the writ.




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 Twenty-Second Ground for Relief:

 DAVIS WAS DENIED DUE PROCESS BECAUSE THE TRIAL COURT IMPROPERLY
 DENIED HIS MOTION FOR LEAVE TO FILE A NEW TRIAL MOTION, THUS DENYING
 HIM ANY OPPORTUNITY TO DEMONSTRATE HIS ACTUAL INNOCENCE BASED ON
 NEWLY DISCOVERED EVIDENCE.

 782. Under Ohio Rule of Criminal Procedure 33(B), a new trial motion based on

 newly discovered evidence must be filed within 120 days of the verdict, unless:

              It is made to appear by clear and convincing proof that
              the defendant was unavoidably prevented from the
              discovery of the evidence upon which he must rely, such
              motion shall be filed within seven days from an order of
              the court finding that he was unavoidably prevented from
              discovering the evidence within the one hundred twenty
              day period.

 See also State v. Petro, 76 N.E.2d 370 (Ohio 1947); Ohio Rev. Code

 §§ 2945.79(F); 2945.80.

 783. On October 31, 2008, Davis moved the trial court for leave to file a Motion

 for a New Trial. He argued under Rule 33(B) that he was unavoidably prevented

 from discovering his new evidence within 120 days of the jury verdict. Davis also

 proffered his substantive new-trial motion with requests for discovery and an

 evidentiary hearing to demonstrate his actual innocence. Davis supported his

 motion with an affidavit from Dr. Laurence Mueller, an expert in DNA science.

 See Ohio R. Crim. P. 33(A)(6). Dr. Mueller concluded that the State’s DNA

 evidence was questionable, overstated, and based on a flawed statistical database.



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 (Motion for New Trial, Ex. 1.) Davis argued in his Motion that Dr. Mueller’s

 newly discovered evidence would demonstrate his actual innocence.

 784. On January 30, 2009, the trial court denied Davis’ Motion for Leave to File

 a Motion for a New Trial, finding that Davis was not unavoidably prevented from

 discovering his new evidence within the 120-day limit of Rule 33(B). (Licking

 County Case No. 2004 CR 00464, 1/30/2009 Judgment Entry, p.4.)

 785. The Fifth District Court of Appeals subsequently concluded that the trial

 court did not have jurisdiction to consider Davis’ motion after his direct appeal was

 final. The Supreme Court of Ohio has accepted jurisdiction to review the Fifth

 District’s decision. State v. Davis, 922 N.E.2d 227 (Mar. 3, 2010) (Table). The

 case remains pending as of the filing of this petition.

 786. Davis’ new trial motion alleged that he was denied the effective assistance

 of counsel because counsel failed to properly challenge the state’s DNA evidence

 and that had they challenged the DNA evidence with experts such as Dr. Mueller’s

 evidence, there was a reasonable probability that the outcome would have been

 different because he was actually innocent.

 787. Davis could not raise this claim at trial because his trial counsel could not be

 expected to present evidence of their own deficient performance. Massaro v.

 United States, 538 U.S. 500, 503 (2003); Fautenberry v. Mitchell, 515 F.3d 614,

 640 (6th Cir. 2008).

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 788. Davis could not have raised this claim in his direct appeal to the Supreme

 Court of Ohio, as the new evidence was not in the record on appeal. This claim

 depended upon the affidavit of Dr. Mueller. His affidavit is evidence outside the

 record which could not be considered on direct appeal. See State v. Ishmail, 377

 N.E.2d 500, 502 (1978); see also State v. Hawkins, 612 N.E.2d 1227, 1235 (1993)

 (new trial motion is proper when new evidence “has been discovered since the

 trial”) (citation omitted).

 789. The availability of post conviction review under Ohio Rev. Code § 2953.21

 et seq. presented no bar to the trial court’s review of Davis’ claims. Ohio Rule of

 Criminal Procedure 33 has a 120-day deadline. The post conviction statute

 requires that the defendant’s petition must be filed within 180 days after the record

 is filed in the direct appeal. Ohio Rev. Code § 2953.21(A)(2). Thus, even a timely

 post conviction petition may be properly filed outside the 120-day window

 provided in Rule 33.

 790. Additionally, Davis was entitled to further review because trial counsels’

 error resulted in a wrongful conviction. As the State asserted in its brief opposing

 Davis’ post conviction appeal, under Ohio law, “[a] claim of actual innocence is

 not a ground for post conviction proceedings.” State v. Roland Davis, No. 08-CA-

 16 (Ohio Ct. App. Aug. 19, 2008) (Brief of Plaintiff-Appellee State of Ohio, at 26).

 Accordingly, Ohio provided no vehicle for vindicating his claim of actual

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 innocence based on newly discovered evidence. Davis was unavoidably prevented

 from presenting this new evidence to support his actual innocence claim within

 120 days of the verdict. Likewise, Davis was entitled to further review of his new

 trial motion because his new evidence demonstrated that his convictions and death

 sentence resulted in a miscarriage of justice as the result of counsel’s complete

 abdication of their duty to challenge the state’s critical DNA evidence––a failure

 that resulted in the conviction of an innocent man in violation of the Fifth, Sixth,

 Eighth and Fourteenth Amendments. See Schlup v. Delo, 513 U.S. 298, 326–27

 (1995).

 791. “When a State opts to act in a field where its action has significant

 discretionary elements, it must nonetheless act in accord with the dictates of the

 Constitution—and, in particular, in accord with the Due Process Clause.” Evitts v.

 Lucey, 469 U.S. 387, 401 (1985). Ohio has adopted Ohio Rule of Criminal

 Procedure 33. The rule provides a vehicle whereby an actually innocent defendant

 can seek a new trial to vindicate his innocence upon the discovery of new

 evidence. Absent the ability to raise his actual innocence under Rule 33, Davis

 would be foreclosed from any means of vindicating his innocence.

 792. To comport with due process, Rule 33must be interpreted to permit a trial

 court to consider a motion for a new trial where a claim of actual innocence based

 on newly discovered evidence is raised. See Evitts, 469 U.S. at 401.

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 793. Davis presented the trial court with new evidence that undermined the

 reliability of his conviction. Without the ability to vindicate his actual innocence

 under Rule 33, Davis would have no remedy for vindicating his wrongful

 convictions and unconstitutional sentences in violation of the constitutional

 guarantees of due process.

 794. To the extent that the Ohio courts adjudicated the federal constitutional

 merits of these claims, its adjudications were contrary to, or unreasonable

 applications of, clearly established federal law, and/or based on unreasonable

 determinations of the facts.55

 795. This Court should issue the writ.




 55
    As noted, this claim remains pending before the Supreme Court of Ohio, which
 accepted jurisdiction to hear the claim. Upon that court’s final determination of
 the claim, Davis will amend this petition to reflect the Supreme Court of Ohio’s
 decision, in accordance with the agreement between the Court and the parties noted
 at ECF 11.

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 Twenty-Third Ground for Relief:

 OHIO’S DEATH PENALTY LAW IS UNCONSTITUTIONAL. OHIO REV. CODE ANN.
 §§ 2903.01, 2929.02, 2929.021, 2929.022, 2929.023, 2929.03, 2929.04, 2929.05,
 AND 2929.06 ARE UNCONSTITUTIONAL ON THEIR FACE AND AS APPLIED TO
 ROLAND DAVIS UNDER THE FIFTH, SIXTH, EIGHTH AND FOURTEENTH
 AMENDMENTS OF THE UNITED STATES CONSTITUTION. FURTHER, OHIO’S
 DEATH PENALTY STATUTE VIOLATES THE UNITED STATES’ OBLIGATIONS UNDER
 INTERNATIONAL LAW.

 796. The Eighth Amendment to the United States Constitution prohibits the

 infliction of cruel and unusual punishment. The Eighth Amendment’s protections

 are applicable to the states through the Fourteenth Amendment. Robinson v.

 California, 370 U.S. 660, 667 (1962). Punishment that is “excessive” constitutes

 cruel and unusual punishment. Coker v. Georgia, 433 U.S. 584, 591–92 (1977).

 The underlying principle of governmental respect for human dignity is the

 guideline to determine whether this statute is constitutional. See Rhodes v.

 Chapman, 452 U.S. 337, 361 (1981); Furman v. Georgia, 408 U.S. 238, 274

 (1972) (Brennan, J., concurring); Trop v. Dulles, 356 U.S. 86, 100 (1958). The

 Ohio death sentencing scheme violates this bedrock principle.

    A.     Davis’ death sentence represents arbitrary and unequal punishment.

 797. The Fourteenth Amendment guarantees equal treatment of similarly situated

 persons, including the protection against cruel and unusual punishment. Furman,

 408 U.S. at 249 (Douglas, J., concurring). A death penalty imposed in violation of




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 the equal protection guarantee is a cruel and unusual punishment. Id. Any

 arbitrary imposition of the death penalty also offends the Eighth Amendment. Id.

 798. Ohio’s scheme allows the death penalty to be imposed in an arbitrary and

 discriminatory manner because prosecutors have virtually uncontrolled charging

 discretion which has resulted in the discriminatory imposition of death throughout

 the state. Mandatory death penalty statutes are impermissible because they lack

 standards for seeking or imposing death sentences and have no provision for

 judicial review of the charging decision. Woodson v. North Carolina, 428 U.S.

 280, 301–02 (1976). Ohio’s prosecutors likewise have uncontrolled discretion

 removed from judicial review—a scheme which likewise violates this

 constitutional check on arbitrariness.

 799. Ohio’s system imposes death in a racially discriminatory manner. Blacks

 and those who kill white victims are much more likely to be sentenced to death.

 While African-Americans constitute around twelve percent of Ohio’s population,

 see U.S. Census Bureau, Ohio Profile of General Demographic Characteristics:

 2000, at 1 (2000)56, over fifty-one percent of Ohio’s death row inmates are

 African-American, see Ohio Pub. Defender Office, Death Penalty Proportionality



 56
   available at http://factfinder.census.gov/servlet/QTTable?_bm=y&-
 geo_id=04000US39&-qr_name=DEC_2000_SF1_U_DP1&-
 ds_name=DEC_2000_SF1_U

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 Statistics, at 1 (May 14, 2010)57; see also Supreme Court of Ohio, The Report of

 the Ohio Commission on Racial Fairness at 37–38 (1999). While few Caucasians

 are sentenced to death for killing African-Americans, nearly forty African-

 Americans sit on Ohio’s death row for killing a Caucasian. Ohio Pub. Defender

 Office, Death Penalty Proportionality Statistics, supra, at 1.

 800. Ohio courts have not evaluated the implications of these racial disparities.

 While the General Assembly created an appellate review process for post

 conviction review of this disparity, this Court has never implemented a plan to

 track the race of the offender or the victims as is required by Ohio Rev. Code

 § 2953.21(A)(2). In short, Ohio law provides no check against race discrimination

 in capital sentencing. See Second Ground for Relief, Third Ground for Relief,

 Fourth Ground for Relief, supra.

 801. Due process prohibits the taking of life unless the state can show a legitimate

 and compelling state interest. State v. Pierre, 572 P.2d 1338, 1357–58 (Utah 1977)

 (Maughan, J., concurring and dissenting); Commonwealth v. O’Neal, 339 N.E.2d

 676, 678 (Mass. 1975) (Tauro, C.J., concurring). Where fundamental rights are

 involved, personal liberties cannot be broadly stifled “when the end can be more

 narrowly achieved.” Shelton v. Tucker, 364 U.S. 479, 488 (1960). To take a life,



 57
      available at http://www.opd.ohio.gov/DP_ResidentInfo/dp_Proportionality.pdf

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 the state must show that it is the “least restrictive means” to a “compelling

 governmental end.” O’Neal, 339 N.E.2d at 678–79.

 802. The death penalty is neither the least restrictive nor an effective means of

 deterrence. Both isolation of the offender and retribution can be effectively served

 by less restrictive means. Society’s interests do not justify the death penalty.

    B.     Ohio’s system employs unreliable sentencing procedures.

 803. Due process and equal protection prohibit arbitrary and capricious

 imposition of the death penalty. Gregg v. Georgia, 428 U.S. 153, 188, 193–95

 (1976); Furman, 408 U.S. at 255, 274. Ohio’s scheme does not require the state to

 prove that death is the only appropriate penalty.

 804. The unconstitutionally vague language “that the aggravating

 circumstances . . . outweigh the mitigating factors” invites arbitrary and capricious

 jury decisions. “Outweigh” permits juries to decide life and death questions based

 on the lesser standard of proof by a preponderance of the evidence. The statute

 requires only that the sentencing body be convinced beyond a reasonable doubt

 that the aggravating circumstances were marginally greater than the mitigating

 factors. This creates an unacceptable risk of arbitrary or capricious sentencing.

 805. Additionally, the jury is not given “specific and detailed guidance” and be

 provided with “clear and objective standards” for the consideration of mitigating




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 circumstances. Godfrey v. Georgia, 446 U.S. 420, 428 (1980); Gregg, 428 U.S. at

 198.

 806. The weight to be assigned to a given mitigating factor is within the

 individual decision-maker’s discretion. State v. Fox, 631 N.E.2d 124, 132 (1994).

 Permitting so much discretion inevitably leads to arbitrary and capricious

 judgments. The scheme further permits juries to ignore constitutionally relevant

 mitigating factors: youth or childhood abuse, mental disease or defect, level of

 involvement in the crime, or lack of criminal history. While the federal

 constitution may allow states to shape consideration of mitigation, Ohio’s capital

 scheme fails to provide adequate guidelines to the sentencer, and therefore, fails to

 assure against arbitrary, capricious, and discriminatory results.

    C.     The Ohio scheme impermissibly burdened Davis’ right to a jury.

 807. The Ohio scheme imposes an impermissible risk of death on capital

 defendants who choose to exercise their right to a jury trial. A defendant who

 pleads guilty or no contest benefits from a trial judge’s discretion to dismiss the

 specifications “in the interest of justice.” Ohio R. Crim. P. 11(C)(3). Accordingly,

 a capital indictment may be dismissed regardless of aggravating circumstances.

 There is no corresponding provision for a capital defendant who elects to proceed

 to trial before a jury. This disparity needlessly burdens the defendant’s exercise of

 his right to a trial by jury. Lockett v. Ohio, 438 U.S. 586, 617 (1978) (Blackmun,


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 J., concurring). Since Lockett, this infirmity has not been cured and Ohio’s statute

 remains unconstitutional.

    D.     Ohio Rev. Code §§ 2929.03 (D)(1) and 2929.04 are unconstitutionally
           vague.

 808. The reference in Ohio Rev. Code § 2929.03(D)(1) to “the nature and

 circumstances of the aggravating circumstance” necessarily incorporates the nature

 and circumstances of the offense into the factors to be weighed in favor of death.

 The “nature and circumstances of the offense” are, however, statutory mitigating

 factors under Ohio Rev. Code § 2929.04(B). Ohio Rev. Code § 2929.03(D)(1)

 makes Ohio’s death penalty weighing scheme unconstitutionally vague because it

 gives the sentencer unfettered discretion to weigh a statutory mitigating factor as

 an aggravator.

 809. Ohio Rev. Code § 2929.04(B) tells the sentencer that “the nature and

 circumstances of the offense” are factors that must be weighed only as mitigation.

 See State v. Wogenstahl, 662 N.E.2d 311, 321–22 (Ohio 1996). However, the

 clarity and specificity of Ohio Rev. Code § 2929.04(B) is eviscerated by Ohio Rev.

 Code § 2929.03(D)(1) because factors that are strictly mitigating become part and

 parcel of the aggravating circumstances.

 810. Despite wide latitude, Ohio has carefully circumscribed its selection factors

 into mutually exclusive categories. See Ohio Rev. Code § 2929.04(A) & (B);

 Wogenstahl, 662 N.E.2d at 321–22. Ohio Rev. Code § 2929.03(D)(1) makes Ohio
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 Rev. Code § 2929.04(B) vague because it incorporates the nature and

 circumstances of an offense as an aggravating circumstances contrary to the clear

 language of § 2929.03(D)(1). The “nature and circumstances” of any offense

 become “too vague” to guide the jury in its weighing or selection process. Ohio

 Rev. Code § 2929.03(D)(1) therefore makes Ohio Rev. Code § 2929.04(B)

 unconstitutionally vague and thereby arbitrary.

 811. Ohio Rev. Code § 2929.03(D)(1) is also unconstitutional on its face because

 it makes the selection factors in § 2929.04(A) too vague. § 2929.04(A) give clear

 guidance as to the selection factors that may be weighed against the defendant’s

 mitigation. Only these statutory aggravating circumstances that were proven

 beyond a reasonable doubt may be weighed against the factors in mitigation.

 However, Ohio Rev. Code § 2929.03(D)(1) eviscerates the narrowing achieved.

 By referring to the “nature and circumstances of the aggravating circumstance,”

 § 2929.03(D)(1) gives the sentencer “open-ended discretion” to impose the death

 penalty. See Cartwright, 486 U.S. at 362. That reference allows the sentencer to

 impose death based on these factors plus any other fact in evidence arising from

 the nature and circumstances of the offense that the sentencer considers

 aggravating. This eliminates the guided discretion provided by Ohio Rev. Code

 § 2929.04(A). See Stringer v. Black, 503 U.S. 222, 232 (1992).




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    E.     Ohio’s scheme impermissibly lacks individualized sentencing.

 812. The Ohio sentencing scheme also requires proof of aggravating

 circumstances at the trial phase with no separation from the question of

 determination of guilt or innocence of the underlying murder. The failure to divide

 the determination of guilt/innocence from the determination of aggravating

 circumstances upon which the death penalty may be premised prohibits a

 sufficiently individualized determination of sentence under the Fifth, Sixth, Eighth

 and Fourteenth Amendments. Zant v. Stephens, 462 U.S. 862, 878–79 (1983);

 Barclay v. Florida, 463 U.S. 939, 958 (1983); Woodson, 428 U.S. at 304–05.

    F.     The Ohio system unconstitutionally creates a mandatory death
           penalty and impermissibly fails to require a thorough
           appropriateness analysis.

 813. The Ohio scheme precludes the jury and the judge from exercising their

 mercy and imposing a life sentence even if they find that the aggravating

 circumstances outweigh the mitigating factors. Ohio Rev. Code §§ 2929.03 and

 2929.04 require death. The sentencer is prohibited from exercising discretion to

 impose a life sentence. The Eighth Amendment places substantive and procedural

 restrictions on the ability to impose death sentence, but the state may place none on

 the authority to impose a life sentence. Gregg, 428 U.S. at 199. (“[T]o minimize

 the risk that the death penalty would be imposed on a capriciously selected group

 of offenders, the decision to impose it had to be guided by standards so that the


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 sentencing authority would focus on the particularized circumstances of the crime

 and the defendant.”) Gregg requires that the state must establish constitutionally

 sufficient guidelines for determining when a sentence of death may be appropriate.

 Nothing requires the sentencing authority to actually impose a sentence of death.

 Any such requirement would run afoul of the ban on mandatory death sentences.

 Woodson, 428 U.S. at 301–02.

 814. To adequately assure individualized sentencing, a capital sentencing scheme

 must provide a “mercy” option even in the absence of any mitigating

 circumstances. The sentencer must retain the authority to determine that the death

 sentence is not appropriate for any given defendant under any given set of

 circumstances. The jury must be free to “determine whether death is the

 appropriate punishment.” Barclay, 463 U.S. at 950.

 815. The Ohio statutes do not permit the jury to make an appropriateness

 determination and thus deny the authority to exercise mercy for any reason. If the

 sentencer determines that the aggravating circumstances outweigh the mitigating

 factors, the sentencer is mandated to impose a death sentence. Ohio Rev. Code

 § 2929.03(D). While the Supreme Court of Ohio has observed that a “jury is not

 precluded from extending mercy to a defendant,” State v. Zuern, 512 N.E.2d 585,

 593 (Ohio 1987), the jurors were not informed of this authority.




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    G.     Ohio’s statutory death penalty scheme violates international law.

 816. International law binds each of the states that comprise the United States.

 Ohio is bound by international law whether found in treaty or in custom. Because

 the Ohio death penalty scheme violates international law, Davis’ capital

 convictions and sentences cannot stand.

           1.    International law binds the state of Ohio.
 817. “International law is a part of our law[.]” The Paquete Habana, 175 U.S.

 677, 700 (1900). A treaty made by the United States is the supreme law of the

 land. U.S. Const. art. VI. Where state law conflicts with international law, it is the

 state law that must yield. See Zschernig v. Miller, 389 U.S. 429, 440 (1968); Clark

 v. Allen, 331 U.S. 503, 508 (1947); United States v. Pink, 315 U.S. 203, 230

 (1942); Kansas v. Colorado, 206 U.S. 46, 48 (1907); The Paquete Habana, 175

 U.S. at 700; The Nereide, 13 U.S. (9 Cranch) 388, 422 (1815); Asakura v. Seattle,

 265 U.S. 332, 341 (1924). In fact, international law creates remediable rights for

 United States citizens. Filartiga v. Pena-Irala, 630 F.2d 876, 877–88 (2nd Cir.

 1980); Forti v. Suarez-Mason, 672 F. Supp. 1531, 1539–40 (N.D. Cal. 1987).

           2.    Ohio has obligations under international charters, treaties, and
                 conventions.
 818. The United States’ membership and participation in the United Nations

 (U.N.) and the Organization of American States (OAS) creates obligations in all

 fifty states. Through the U.N. Charter, the United States committed itself to

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 promote and encourage respect for human rights and fundamental freedoms. U.N.

 Charter art. 1, para. 3. The United States bound itself to promote human rights in

 cooperation with the United Nations. Id. at art. 55–56. The United States again

 proclaimed the fundamental rights of the individual when it became a member of

 the OAS. OAS Charter, art. 3.

 819. The United Nations has sought to achieve its goal of promoting human

 rights and fundamental freedoms through the creation of numerous treaties and

 conventions. The United States has ratified several of these including: the

 International Covenant on Civil and Political Rights (ICCPR) ratified in 1992, the

 International Convention on the Elimination of All Forms of Racial Discrimination

 (ICERD) ratified in 1994, and the Convention against Torture and Other Cruel,

 Inhuman or Degrading Treatment or Punishment (CAT) ratified in 1994.

 Ratification of these treaties by the United States expressed its willingness to be

 bound by these treaties. Pursuant to the Supremacy Clause, the ICCPR, the

 ICERD, and the CAT are the supreme laws of the land. As such, the United States

 must fulfill the obligations incurred through ratification.

 820. Ohio is not fulfilling the United States’ obligations under these conventions.

 Rather, Ohio’s death penalty scheme violates each convention’s requirements and

 thus must yield to the requirements of international law.




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           3.     Ohio’s statutory scheme violates the ICCPR’s and ICERD’s
                  guarantees of Equal Protection and Due Process.
 821. Both the ICCPR and the ICERD guarantee equal protection of the law.

 ICCPR art. 2, paras. 1, 3, 14, 26; ICERD art. 5(a). The ICCPR further guarantees

 due process via Articles 9 and 14, which include numerous considerations: a fair

 hearing, (ICCPR art. 14, para.1), an independent and impartial tribunal (id. at

 para. 1), the presumption of innocence (id. at para. 2), adequate time and facilities

 for the preparation of a defense (id. at para. 3(a)), legal assistance (id. at para.

 3(d)), the opportunity to call and question witnesses (id. at para. 3(e)), the

 protection against self-incrimination (id. at para. 3(g)), and the protection against

 double jeopardy (id. at para. 7). However, Ohio’s statutory scheme fails to provide

 equal protection and due process to capital defendants as contemplated by the

 ICCPR and the ICERD.

 822. Ohio’s statutory scheme denies equal protection and due process in several

 ways. It allows for arbitrary and unequal treatment in punishment. Ohio’s

 sentencing procedures are unreliable. Ohio’s statutory scheme fails to provide

 individualized sentencing. Ohio’s statutory scheme burdens a defendant’s right to

 a jury. Ohio’s requirement of mandatory submission of reports and evaluations

 precludes effective assistance of counsel. Ohio Rev. Code § 2929.04(B)(7)

 arbitrarily selects certain defendants who may be automatically eligible for death

 upon conviction. Ohio’s proportionality and appropriateness review is wholly

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 inadequate. As a result, Ohio’s statutory scheme violates the ICCPR’s and the

 ICERD’s guarantees of equal protection and due process. This is a direct violation

 of international law and of the Supremacy Clause of the United States Constitution.

           4.    Ohio’s statutory scheme violates the ICCPR’s protection
                 against arbitrary execution.
 823. The ICCPR speaks explicitly to the use of the death penalty. The ICCPR

 guarantees the right to life and provides that there shall be no arbitrary deprivation

 of life. ICCPR art. 6, para. 1. It allows the imposition of the death penalty only for

 the most serious offenses. Id. at para. 2. Juveniles and pregnant women are

 protected from the death penalty. Id. at para 5. Moreover, the ICCPR

 contemplates the abolition of the death penalty. Id. at para. 6.

 824. Several aspects of Ohio’s statutory scheme allow for the arbitrary

 deprivation of life. Punishment is arbitrary and unequal. Ohio’s sentencing

 procedures are unreliable. Ohio’s statutory scheme lacks individualized

 sentencing. The (A)(7) aggravator maximizes the risk of arbitrary and capricious

 action by singling out one class of murders who may be eligible automatically for

 the death penalty. The vagueness of Ohio Rev. Code §§ 2929.03(D)(1) and

 2929.04 similarly render the sentencing process arbitrary and unreliable. Ohio’s

 proportionality and appropriateness review fails to distinguish those who deserve

 death from those who do not. As a result, executions in Ohio result in the arbitrary

 deprivation of life and thus violate the ICCPR’s death penalty protections. This is

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 a direct violation of international law and a violation of the Supremacy Clause of

 the United States Constitution.

           5.    Ohio’s statutory scheme violates the ICERD’s protections
                 against race discrimination.
 825. The ICERD, speaking to racial discrimination, requires that each state take

 affirmative steps to end race discrimination at all levels. ICERD art. 2. It requires

 specific action and does not allow states to sit idly by when confronted with

 practices that are racially discriminatory. However, Ohio’s statutory scheme

 imposes the death penalty in a racially discriminatory manner. A scheme that

 sentences blacks and those who kill white victims more frequently and that

 disproportionately places African-Americans on death row is in clear violation of

 the ICERD. Ohio’s failure to rectify this discrimination is a direct violation of

 international law and of the Supremacy Clause.

           6.    Ohio’s statutory scheme violates the ICCPR’s and the CAT’s
                 prohibitions against cruel, inhuman or degrading punishment.
 826. The ICCPR prohibits subjecting any person to torture or to cruel, inhuman or

 degrading treatment or punishment. ICCPR art. 7. Similarly, the CAT requires

 that states take action to prevent torture, which includes any act by which severe

 mental or physical pain is intentionally inflicted on a person for the purpose of

 punishing him for an act committed. See CAT arts. 1–2. As administered, Ohio’s

 death penalty inflicts unnecessary pain and suffering, in violation of both the


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 ICCPR and the CAT. Thus, there is a violation of international law and the

 Supremacy Clause of the United States Constitution.

           7.    Ohio’s obligations under the ICCPR, the ICERD, and the CAT
                 are not limited by the reservations and conditions placed on
                 these conventions by the Senate.
 827. While conditions, reservations, and understandings accompanied the United

 States’ ratification of the ICCPR, the ICERD, and the CAT, those conditions,

 reservations, and understandings cannot stand for two reasons. Article 2, § 2 of the

 United States Constitution provides for the advice and consent of two-thirds of the

 Senate when a treaty is adopted. However, the United States Constitution makes

 no provision for the Senate to modify, condition, or make reservations to treaties.

 The Senate is not given the power to determine what aspects of a treaty the United

 States will and will not follow. Its role is to simply advice and consent.

           8.    Ohio’s obligations under the ICCPR are not limited by the
                 Senate’s declaration that it is not self-executing.
 828. The Senate indicated that the ICCPR is not self-executing. However, the

 question of whether a treaty is self-executing is left to the judiciary. Frolova v.

 Union of Soviet Socialist Republics, 761 F.2d 370, 373 (7th Cir. 1985) (citing

 Restatement (Second) of Foreign Relations Law of the United States, § 154(1)

 (1965)). It is the function of the courts to say what the law is. See Marbury v.

 Madison, 5 U.S. (1 Cranch) 137, 146–48 (1803).



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           9.     Ohio has obligations under customary international law.
 829. International law is not merely discerned in treaties, conventions and

 covenants. International law “may be ascertained by consulting the works of

 jurists, writing professedly on public law; or by the general usage and practice of

 nations; or by judicial decision recognizing and enforcing that law.” United States

 v. Smith, 18 U.S. 153, 160–61 (1820). Regardless of the source “international law

 is a part of our law[.]” The Paquete Habana, 175 U.S. at 700.

 830. The judiciary and commentators recognize the Universal Declaration of

 Human Rights (DHR) as binding international law. The DHR “no longer fits into

 the dichotomy of ‘binding treaty’ against ‘non-binding pronouncement,’ but is

 rather an authoritative statement of the international community.” Filartiga, 630

 F.2d at 883 (internal citations omitted); see also William A. Schabas, The Death

 Penalty as Cruel Treatment and Torture (Northeastern Univ. Press 1996).

 831. The DHR guarantees equal protection and due process (arts. 1, 2, 7, 11),

 recognizes the right to life (art. 3), prohibits the use of torture or cruel, inhuman or

 degrading punishment (art. 5) and is largely reminiscent of the ICCPR. Each of

 the guarantees found in the DHR are violated by Ohio’s statutory scheme. See

 discussion infra §§ 1–8. Thus, Ohio’s statutory scheme violates customary

 international law as codified in the DHR and cannot stand.




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 832. However, the DHR is not alone in its codification of customary international

 law. Courts must look to “the works of jurists, writing professedly on public law;

 or by the general usage and practice of nations; or by judicial decision recognizing

 and enforcing that law” in ascertaining international law. Smith, 18 U.S. at 160–

 61. Ohio must be cognizant of the fact that its statutory scheme violates numerous

 declarations and conventions drafted and adopted by the United Nations and the

 OAS, which may, because of the sheer number of countries that subscribe to them,

 codify customary international law. See id. Included among these are:

           1)    The American Convention on Human Rights, drafted
                 by the OAS and entered into force in 1978. It
                 provides numerous human rights guarantees,
                 including: equal protection (arts. 1, 24), the right to
                 life, (art. 4, para 1), prohibition against arbitrary
                 deprivation of life (id.), imposition of the death
                 penalty only for the most serious crimes (art. 4,
                 para. 2), no re-establishment of the death penalty once
                 abolished (id. at para .3), prohibits torture, cruel,
                 inhuman or degrading punishment (art. 5, para. 2),
                 and guarantees the right to a fair trial (art. 8).

           2)    The United Nations Declaration on the Elimination of
                 All Forms of Racial Discrimination proclaimed by
                 United Nations General Assembly resolution 1904
                 (XVIII) in 1963. It prohibits racial discrimination and
                 requires that states take affirmative action in ending
                 racial discrimination.

           3)    The American Declaration of the Rights and Duties of
                 Man adopted by the Ninth International Conference of
                 American States in 1948. It includes numerous
                 human rights guarantees: the right to life (art. 1),


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                 equality before the law (art. 2), the right to a fair trial
                 (art. 16), and due process (art. 26).

           4)    Declaration on the Protection of All Persons from
                 Being Subjected to Torture and Other Cruel, Inhuman
                 or Degrading Treatment or Punishment adopted by the
                 United Nations General Assembly in Resolution 3452
                 (XXX) in 1975. It prohibits torture, defined to
                 include severe mental or physical pain intentionally
                 inflicted by or at the instigation of a public official for
                 a purpose including punishing him for an act he has
                 committed, and requires that the states take action to
                 prevent such actions. See id. at arts. 1, 4.

           5)    Safeguards Guaranteeing Protection of the Rights of
                 Those Facing the Death Penalty adopted by the
                 United Nations Economic and Social Council in
                 Resolution 1984/50 in 1984. It provides numerous
                 protections to those facing the death penalty,
                 including: permitting capital punishment for only the
                 most serious crimes, with the scope not going beyond
                 intentional crimes with lethal or other extremely grave
                 consequences (1), requiring that guilt be proved so as
                 to leave no room for an alternative explanation of the
                 facts (4), due process, and the carrying out of the
                 death penalty so as to inflict the minimum possible
                 suffering (9).

           6)    The Second Optional Protocol to the ICCPR, aiming
                 at the abolition of the death penalty, adopted and
                 proclaimed by the United Nations General Assembly
                 in Resolution 44/128 in 1989. This prohibits
                 execution (art. 1, para. 1) and requires that states
                 abolish the death penalty (id. at para. 2)).

 833. These documents are drafted by the people Smith contemplates and are

 subscribed to by a substantial segment of the world. As such they are binding on

 the United States as customary international law. A comparison of §§ 1–9 clearly

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 demonstrates that Ohio’s statutory scheme is in violation of customary

 international law.

    H.     Lethal Injection.

 834. The judgment requiring that Roland Davis be executed violates the Fifth,

 Sixth, Eighth and Fourteenth Amendments because the death penalty as

 administered by lethal injection violates his constitutional right to protection from

 cruel and unusual punishment.

 835. The death penalty in Ohio is carried out by means of lethal injection. Ohio

 Rev. Code § 2949.22(B). “[T]he mere fact that the Legislature has spoken on the

 issue of the method of execution does not preclude or in any manner limit [a]

 court’s evaluation of the selected method to determine whether it comports with

 the constitutional prohibition against cruel and unusual punishment.” Dawson v.

 Georgia, 554 S.E.2d 137, 139 (Ga. 2001). In addition, prior rulings by a court

 regarding the constitutionality of a method of execution cannot be deemed

 determinative of the issue, since the Supreme Court has recognized that

 considerations of cruel and unusual punishment “must draw meaning from

 evolving standards of decency that mark progress of a maturing society.” Trop,

 356 U.S. at 101. This was illustrated in Ohio with the enactment of H.B. 362, in

 2001, outlawing electrocution as a method of execution in Ohio, even though the

 Ohio Supreme Court had repeatedly declared electrocution to be constitutional.


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 836. Death by lethal injection violates the due process protection of life, and

 constitutes cruel and unusual punishment because it inflicts torturous, gratuitous,

 and inhumane pain, suffering, and anguish upon the person executed by these

 means.

 837. As a form of execution, while seemingly less violent than electrocution

 when one envisions a “being-put-to-sleep” effect, lethal injection is itself fraught

 with painful and torturous effects on the executed. “. . . .The much-vaunted and

 increasingly popular technique of lethal injection may well improve upon hanging,

 electrocution, and the gas chamber, in the same way as these improved upon

 burning at the stake, disemboweling, and drawing and quartering. But such

 improvement if it exists, is only incremental.” William A. Schabas, The Death

 Penalty as Cruel Treatment and Torture at 200–10 (Northeastern Univ. Press

 1996).

 838. Lethal injection, in Ohio, consists of two alternative methods of

 administrating drugs. Under the state’s primary execution method, sodium

 thiopental (an anesthetic) is injected intravenously to execute the prisoner.

 Alternatively, under the state’s new and singular method, hydromorphone and

 midazolam are administered intramuscularly to cause death. These methods have

 not been proven to be more humane or less painful methods of execution, and

 instead present a substantial risk of serious pain to the condemned inmate..In the

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 first method, the drug is fed intravenously into the prisoner, who is strapped down.

 The Ohio Department of Rehabilitation and Corrections has steadfastly refused to

 use trained physicians or nurses to establish IV access as part of their written

 execution policy, although a physician has participated in at least one recent

 execution attempt in Ohio. This results in medically untrained executioners

 responsible for inserting intravenous tubes into prisoners whose veins are often

 difficult to locate, even for medically trained personnel. 58 These same medically

 untrained executioners are likewise responsible for administering the fatal dose or

 doses of lethal chemical, although they are prohibited from administering

 anesthetic under the terms of their licensure. The state does not consistently follow

 its own execution policy, and indulges substantial deviations from the policy

 during administration of executions, creating a substantial risk of the condemned

 inmate suffering a substantial risk of severe pain.

 839. The issue of pain experienced by the executed individual has been addressed

 by the Supreme Court, which has ruled, under the Eighth Amendment, that the

 death penalty must result in “the mere extinguishment of life” and that “torture or a

 lingering death” is unconstitutional. In Re Kemmler, 136 U.S. 436, 447 (1890).

 58
   The recent executions of Joseph Clark and Romell Broom, inter alia,
 demonstrated the difficulties of untrained personnel botching the job and causing
 serious pain and suffering to the inmate and those in attendance. Clark’s execution
 took almost two hours to complete. Broom’s execution was halted after two hours
 by a reprieve from the Governor.

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 The jurisprudence of the Eighth Amendment has been consistent in its prohibition

 against all unnecessary cruelty. Wilkerson v. Utah, 99 U.S. 130, 135–36 (1878)

 and Louisiana ex rel. Francis v. Reswebeer, 329 U.S. 459, 463 (1947).

 840. Roland Davis’ death sentence entails execution by a method that violates his

 constitutional rights under the Fifth, Sixth, Eighth and Fourteenth Amendments.

 See Baze v. Rees, 553 U.S. 35, 47–52 (2008).

    I.     Conclusion

 841. Ohio’s death penalty scheme fails to ensure that arbitrary and discriminatory

 imposition of the death penalty will not occur. The procedures actually promote

 the imposition of the death penalty and, thus, are constitutionally intolerable.

 Ohio’s death sentencing scheme therefore violates the Fifth, Sixth, Eighth and

 Fourteenth Amendments and international law.

 842. To the extent that the Supreme Court of Ohio adjudicated the federal

 constitutional merits of these claims, its adjudications were contrary to, or

 unreasonable applications of, clearly established federal law, and/or based on

 unreasonable determinations of the facts.

 843. This Court should issue the writ.




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                             PRAYER FOR RELIEF

       WHEREFORE, Roland Davis requests that this court consider his Petition

 for Writ of Habeas Corpus and grant the following remedies and such other relief

 as the court deems appropriate:

 1.    That this Court declare Roland Davis’ convictions to have been obtained in
       violation of the Fifth, Sixth, Eighth, and Fourteenth Amendments and other
       provisions of the United States Constitution as well as the various treaties
       and charter obligations of the United States;

 2.    That this Court declare that Roland Davis’ sentence of death was obtained in
       violation of the Fifth, Sixth, Eighth, and Fourteenth Amendments and other
       provisions of the United States Constitution as well as the various treaties
       and charter obligations of the United States;

 3.    That this Court grant Davis leave to amend this petition;

 4.    That this Court grant Davis leave to conduct discovery pursuant to Rule 6 of
       the Rules Governing 28 U.S.C. § 2254 Cases to more fully develop the
       factual bases demonstrating the constitutional infirmities in his convictions
       and sentences;

 5.    That this Court grant Davis the authority to obtain subpoenas in forma
       pauperis for witnesses and documents necessary to prove the facts asserted
       in this petition;

 6.    That this Court order that the Warden provide and file a complete copy of
       the state court record pursuant to Rule 5 of the Rules Governing 28 U.S.C.
       § 2254 Cases;

 7.    That this Court permit expansion of the Record with any documents
       necessary to resolution of the Petition for Habeas Corpus;

 8.    That this Court order that the Warden file an answer pursuant to Rule 5 of
       the Rules Governing 28 U.S.C. § 2254 Cases;

 9.    That this Court grant Davis an evidentiary hearing pursuant to Rule 8 of the
       Rules Governing 28 U.S.C. § 2254 Cases;


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 10.   That this Court grant such other relief as law and justice require.



                                           Respectfully submitted,

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                                     VERIFICATION
          Pursuant to 28 U.S.C. § 2242, I, Roland I)avi$, petitioner herein, hereby

    veri fy that the allegations contained herein are tlue and accurate to the best of

    my knowledge.


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                                     R.oland Davis, If. 499-211       Date




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                             CERTIFICATE OF SERVICE

        I hereby certify that on June 15, 2010, I electronically filed the foregoing
 Petitioner Roland T. Davis’ Petition for Writ of Habeas Corpus Pursuant to 28
 U.S.C. § 2254 with the Clerk Court using the CM/ECF system, which will send
 notification of such filing to the following at their e-mail addresses on file with the
 Court:

       Charles.wille@ohioattorneygeneral.gov
       Seth.kestner@ohioattorneygeneral.gov


                                            /s/David C. Stebbins
                                            Counsel for Petitioner
